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            EXHIBIT F TO SPITZER
               DECLARATION
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                                             EXHIBIT F

                             LICENSE AND LICENSING LAWS
   ALABAMA

   Harry Toulmin, A Digest of the Laws of the State of Alabama : Containing the Statutes and
   Resolutions in Force at the End of the General Assembly in January, 1823. To which is Added
   an Appendix; Containing the Declaration of Independence; the Constitution of the United States;
   the Act authorizing the People of Alabama to form a Constitution and State Government; and the
   Constitution of the State of Alabama Page 627, Image 655 (1823) available at The Making of
   Modem Law: Primary Sources. 1805
   Negroes and Mulattoes, Bond and Free - 1805, Chapter I, An Act respecting Slaves. - Passed
   March 6,1805: Sec. 4. And be it further enacted, that no slave shall keep or carry any gun,
   powder, shot, club, or other weapon whatsoever, offensive or defensive, except the tools given
   him to work with, or that he is ordered by his master, mistress, or overseer, to carry the said
   articles from one place to another, but all and every gun, weapon, or ammunition, found in the
   possession or custody of any slave, may be seized by any person, and upon due proof made
   thereof, before any justice of the peace of the county or corporation where such seizure shall be
   made, shall, by his order, be forfeited to the seizer, for his own use; and moreover, every such
   offender shall have and receive, by order of such justice, any number of lashes, not exceeding
   thirty-nine, on his bare back for every such offense : Provided nevertheless, That any justice of
   the peace may grant, in his proper county, permission in writing to any slave, on application of
   his master or overseer, to carry and use a gun and ammunition within the limits of his said
   master’s or owner’s plantation, for a term not exceeding one year, and revocable at any time
   within such term, at the discretion of the said justice, and to prevent the inconveniences arising
   from the meeting of slaves.

   [REGULATORY TAX] The Revised Code of Alabama Page 169, Image 185 (1867) available at
   The Making of Modem Law: Primary Sources. 1867
   Taxation, § 10. On All pistols or revolvers in the possession of private persons not regular
   dealers holding them for sale, a tax of two dollars each; and on all bowie knives, or knives of the
   like description, held by persons not regular dealers, as aforesaid, a tax of three dollars each; and
   such tax must be collected by the assessor when assessing the same, on which a special receipt
   shall be given to the tax payer therefor, showing that such tax has been paid for the year, and in
   default of such payment when demanded by the assessor, such pistols, revolvers, bowie knives,
   or knives of like description, must be seized by him, and unless redeemed by payment in ten
   days thereafter, with such tax, with an additional penalty of fifty per cent., the same must be sold
   at public outcry before the court house door, after five days notice; and the overplus remaining, if
   any, after deducting the tax and penalty aforesaid, must be paid over to the person from whom
   the said pistol, revolver, bowie knife, or knife of like description, was taken, and the net amount
   collected by him must be paid over to the collector every month, from which, for each such
   assessment and collection, the assessor shall be entitled to fifty cents, and when the additional
   penalty is collected, he shall receive fifty per cent, additional thereto.
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     J. M. Falkner, The Code of Ordinances of the City Council of Montgomery, with the Charter
     PagelSl, Image 151 (1879) available at The Making of Modem Law: Primary Sources. 1879
     [Ordinances of the City of Montgomery,] § 449. Any person who fires or discharges, or causes to
     be fired or discharged, any pistol, gun, cannon, anvil, or anything of like kind or character; or
     who lets off or discharges any rocket, fire-crackers, squib or other fire-works, without first
     having obtained permission of the Mayor, who shall designate the place where such firing may
     be done, must, on conviction, be fined not less than one nor more than one hundred dollars.

     William Logan Martin, Commissioner, The Code of Alabama, Adopted by Act of the General
     Assembly of the State of Alabama, Approved February 16, 1897, Entitled “An Act to Adopt a
     Code of Laws for the State Alabama ” with Such Statutes Passed at the Session of 1896-97, as
     are Required to be Incorporated Therein by Act Approved February 17, 1897; and with Citations
     to the Decisions of the Supreme Court of the State Construing or Mentioning the Statutes Page
     1137, Image 1154 (Vol. 1, 1897) available at The Making of Modem Law: Primary Sources.
     1892
     [License Taxes; From Whom and For What Business Required; Prices; County Levy,] Taxation,
     § 27. For dealers in pistols, or pistol cartridges, or bowie-knives, or dirk-knives, whether
     principal stock in trade or not, three hundred dollars. Any cartridges, whether called rifle or
     pistol cartridges, or by any other name, that can be used in a pistol, shall be deemed pistol
     cartridges within the meaning of this subdivision. Any person or firm who orders for another, or
     delivers any cartridges within this state, shall be deemed a dealer under this provision.

     1898 Ala. Acts 190, An Act To Amend The Revenue Laws Of The State Of Alabama, pt. 66-67.
     66th. For dealers in pistol, bowie or dirk knives, whether principal stock in trade or not, one
     hundred dollars. 67th. For wholesale dealers in pistol or rifle cartridges in towns or cities of
     twenty thousand or more inhabitants, ten dollars. In all other places, five dollars: Provided, That
     the wholesale dealers license shall entitle them to sell at retail.

     ARKANSAS

     Revised Statutes of the State of Arkansas, Adopted at the October Session of the General
     Assembly of Said State, A. D. 1837, in the Year of Our Independence the Sixty-second, and of
     the State of Second Year Page 587, Image 602 (1838) available at The Making of Modem Law:
     Primary Sources. 1838
     Negroes and Mulattoes, § 17. No free negro shall be suffered to keep or carry any gun or rifle, or
     weapon of any kind, or any ammunition without a license first had and obtained, for that
     purpose, from some justice of the peace of the county in which such free negro or mulatto
     resides, and such license may be granted and revoked by any justice of the peace of the county.
     §18. Every gun, rifle, or weapon of any kind, or ammunition, found in the possession or custody
     of any free negro or mulatto, not having a license as required by the preceding section, may be
     seized by any person, and upon due proof thereof made before some justice of the peace of the
     county in which such seizure was made, shall by order of such justice be forfeited to the use of
     the person making the seizure, and such justice shall also impose a fine on such negro or mulatto,
     for the use of the county, not exceeding twenty dollars.
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     George Eugene Dodge, A Digest of the Laws and Ordinances of the City of Little Rock, with the
     Constitution of State of Arkansas, General Incorporation Laws, and All Acts of the General
     Assembly Relating to the City Page 231, Image 231 (1871) available at The Making of Modem
     Law: Primary Sources. 1871
     [Offenses Affecting the Public Safety, § 288. No person shall fire or discharge any cannon, gun,
     fowling piece, pistol, or fire-arms, of any description, or fire, explode, or set off any squibs,
     cracker, or other thing containing powder or other combustible or explosive material, without
     permission from the may which permission shall limit the time of such firing, and shall be
     subject to be revoked by the mayor at any time after it has been granted. Any violation hereof
     shall subject the party to a fine of not less than two nor more than ten dollars.]

     John H. Kerry, Digest of the Laws and Ordinances of the City of Little Rock, with the
     Constitution of the State of Arkansas; General Incorporation Laws; and All Acts of the General
     Assembly Relating to the City; in Force March 10, 1882 Page 149, Image 334 (1882) available at
     The Making of Modem Law: Primary Sources. 1882
     [Ordinances of the] City of Little Rock, [§ 344. That it shall be unlawful for any person to
     engage in, exercise or pursue any of the following avocations or business without first ha ving
     obtained and paid for a license therefor from the proper city authorities the amount of which
     licenses are hereby fixed as follows, to wit:... ]§ 27. Shooting galleries, or pistol galleries, $25
     per annum, in advance.

     CALIFORNIA

     Ordinances and Joint Resolutions of the City of San Francisco; Together with a List of the
     Officers of the City and County, and Rules and Orders of the Common Council Page 220, Image
     256 (1854) available at The Making of Modem Law: Primary Sources. 1854
     Ordinances of the [City of San Francisco], § 13. Every person, house, or firm engaged in keeping
     a pistol or rifle shooting gallery, shall pay for a license to carry on the same, the sum of ten
     dollars per quarter, in addition to the amount of the powder license.

     General orders of the Board of Supervisors providing regulations for the government of the City
     and County of San Francisco. 1869
     [Discharge of Cannon: Permit to be given by Mayor, and filed in office of Chief of Police.
     Discharge of Fire Arms prohibited within certain limits.] Sec. 22. No person shall discharge any
     cannon within that portion of this city and county lying between Larkin and Ninth Streets and the
     outer line of the streets forming the water-front, except by special permission, in writing, from
     the Mayor, which permit shall designate the time and particular locality of the firing, and the
     number of discharges which are authorized. A copy of such permit shall be filed by the person
     obtaining the same, in the office of the Chief of Police, at least two hours before the time of such
     firing; and the person or persons engaged in the discharge of such cannon, shall, on the demand
     of any citizen or peace officer, exhibit the permit by which such firing is authorized; and no
     person shall discharge any fire-arm of any other description in that portion of the city and county
     bounded by Devisadero, Ridley, Market, and Ninth streets, and the outer line of the streets
     forming the water-front, or within three hundred yards of any public highway, or upon any
     ground set apart as a cemetery, or public square, or park, or within three hundred yards of any
     dwelling-house. But this section shall not be construed so as to prohibit any person from
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     shooting destructive animals within or upon his own inclosure. Any person who shall violate any
     of the provisions of this section shall be deemed guilty of a misdemeanor; and upon conviction
     thereof, shall be punished by a fine of not less than one hundred dollars, or by imprisonment in
     the county jail out more than thirty days.

     1883 Cal. Stat. 156, § 153.
     The Municipal Council shall provide by ordinance, for the payment into a “Fireman’s Charitable
     Fund” of such city, or city and county, of all moneys received for licenses for the storage,
     manufacture, or sale of gunpowder, blasting powder, gun cotton, fireworks, nitro-glycerine,
     dualine, or any explosive oils or compounds, or as a municipal tax upon the same; also all fines
     collected in the police court for violations of fire ordinances.

     Nathan Newmark, The Political Code of the State of California. As Enacted in 1872, and
     Amended in 1889. With Notes and References to the Decisions of the Supreme Court Page 963
     (1889) available at The Making of Modem Law: Primary Sources. 1889
     [Political Code of the State of California,] Charitable Fund, §153. The Municipal Council shall
     provide, by ordinance, for the payment into a “Fireman’s Charitable Fund” of such city, or city
     and county, of all moneys received for licenses for the storage, manufacture, or sale of
     gunpowder, blasting powder, gun cotton, fireworks, nitro-glycerine, dualine, or any explosive
     oils or compounds, or as a municipal tax upon the same; also, all fines collected in the Police
     Court for violations of fire ordinances. Said fund shall be under the direction and control of and
     subject to such regulations as may be prescribed by the Board of Fire Commissioners.

     Fred L. Button, ed., General Municipal Ordinances of the City of Oakland, California (Oakland,
     CA; Enquirer, 1895), p. 218, Sec. 1, An Ordinance to Prohibit the Carrying of Concealed
     Weapons, No. 1141. 1890
     Section 1 . It shall be unlawful for any person in the City of Oakland, not being a public officer
     or a traveler actually engaged in making a journey, to wear or carry concealed about his person
     without a permit, as hereinafter provided, any pistol, slung-shot, brass or iron knuckles, sand
     club, dirk or bowie knife, or iron bar or other dangerous or deadly weapon, or any sling or other
     contrivance by which shot or other missiles are or may be hurled or projected. A written permit
     may be granted by the Mayor for a period of not to exceed one year to any peaceable person
     whose profession or occupation may require him to be out at late hours of the night to carry a
     concealed deadly weapon upon his person.

     Charter and Ordinances of the City of Stockton (Stockton, CA: Stockton Mail Printers and
     Bookbinders, 1908), p. 240, Ordinance No. 53. 1891
     Be it ordained by the City Council of the City of Stockton as follows:
     One-Concealed Weapons, Burglars’ Tools.
     Section 1. It shall be unlawful and a misdemeanor: 1. For any person not being a peace officer or
     actually prosecuting a journey to or from the town, city or county of his residence, to wear or
     carry concealed about his person any pistol, dirk, bowie-knife, slungshot, sand-club, metallic
     knuckles or any other deadly or dangerous weapon, except he first have a written permit to so do
     from the Mayor of the City of Stockton.
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     L. W. Moultrie, Charter and Ordinances of the City of Fresno Page 30, Image 28 (1896)
     available at The Making of Modem Law: Primary Sources. 1896
     Ordinances of the City of Fresno, § 8. Any person excepting peace officers and travelers, who
     shall carry concealed upon his person any pistol or firearm, slungshot, dirk or bowie-knife, or
     other deadly weapon, without a written permission (revocable at any time) from the president of
     the board of trustees, is guilty of a misdemeanor.

      1917 Cal. Sess. Laws 221-225, An act relating to and regulating the carrying, possession, sale or
     other disposition of firearms capable of being concealed upon the person; prohibiting the
     possession, carrying, manufacturing and sale of certain other dangerous weapons and the giving,
     transferring and disposition thereof to other persons within this state; providing for the
     registering of the sales of firearms; prohibiting the carrying or possession of concealed weapons
     in municipal corporations; providing for the destruction of certain dangerous weapons as
     nuisances and making it a felony to use or attempt to use certain dangerous weapons against
     another, §§3-4.
     SEC. 3. Every person who carries in any city, city and county, town or municipal corporation of
     this state any pistol, revolver, or other firearm concealed upon his person, without having a
     license to carry such firearm as hereinafter provided in section six of this act, shall be guilty of a
     misdemeanor, and if he has been convicted previously of any felony, or of any crime made
     punishable by this act, he is guilty of a felony.
     SEC 4. The unlawful possessing or carrying of any of the instruments, weapons, or firearms
     enumerated in section one to section three inclusive of this act, by any person other than those
     authorized and empowered to carry or possess the same as hereinafter provided, is a nuisance,
     and such instruments, weapons or firearms are hereby declared to be nuisances, and when any of
     said articles shall be taken from the possession of any person the same shall be surrendered to the
     magistrate before whom said person shall be taken, except that in any city, city and county, town
     or other municipal corporation the same shall be surrendered to the head of the police force, or
     police department thereof. The officers to whom the same may be so surrendered, except upon
     certificate of a judge of a court of record, or of the district attorney of any county that the
     preservation thereof is necessary or proper to the ends ofjustice, shall proceed at such time or
     times as he deemds proper, and at least once in each year to destroy or cause to be destroyed
     such instruments, weapons, or other firearms in such manner and to such extent that the same
     shall be and become wholly and entirely ineffective and useless for the purpose for which it was
     manufactured.
     SEC 6. It shall be lawful for the board of police commissioners, chief of police, city marshal,
     town marshal, or other head of the police department of any city, city and county, town, or other
     municipal corporation of this state, upon proof before said board, chief, marshal or head, that the
     person applying therefor is of good moral character, and that good cause exists for the issuance
     thereof, to issue to such person a license to carry concealed a pistol, revolver or other fire-arm;
     provided, however, that the application to carry concealed such firearm shall be filed in writing
     and shall state the name and residence of the applicant, the nature of applicant’s occupation, the
     business address of applicant, the nature of the weapon sought to be carried and the reason for
     the filing of the application to carry the same.

     1923 Cal. Stat. 696, An Act to Control and Regulate the Possession, Sale and Use of Pistols,
     Revolvers, and Other Firearms Capable of Being Concealed Upon the Person; To Prohibit the
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     Manufacture, Sale, Possession or Carrying of Certain Other Dangerous Weapons Within this
     State; To Provide for Registering All Sales of Pistols, Revolvers or Other Firearms Capable of
     Being Concealed Upon the Person; To Prohibit the Carrying of Concealed Firearms Except by
     Lawfully Authorized Persons; To Provide for the Confiscation and Destruction of Such Weapons
     in Certain Cases; To Prohibit the Ownership, Use or Possession of Any of Such Weapons by
     Certain Classes of Persons; To Prescribe Penalties for Violations of This Act and Increased
     Penalties for Repeated Violations Hereof; To Authorize, In Proper Cases, The Granting of
     Licenses or Permits to Carry Firearms Concealed Upon the Person; To Provide for Licensing
     Retail Dealers in Such Firearms and Regulating Sales Thereunder; And To Repeal Chapter One
     Hundred Forty-Five of California Statutes of 1917, Relating to the Same Subject, ch. 339, § 3, 8.
     Sec. 2. On and after the date upon which this act takes effect, no unnaturalized foreign born
     person and no person who has been convicted of a felony against the person or property of
     another or against the government of the United States or of the State of California or of any
     political subdivision thereof shall own or have in his possession or under his custody or control
     any pistol, revolver or other firearm capable of being concealed upon the person. The terms
     “pistol,” “revolver,” and “firearms capable of being concealed upon the person” as used in this
     act shall be construed to apply to and include all firearms having a barrel less than twelve inches
     in length. Any person who shall violate the provisions of this section shall be guilty of a felony
     and upon conviction thereof shall be punishable by imprisonment in a state prison for not less
     than one year nor for more than five years.
     Sec. 3. If any person shall commit or attempt to commit any felony within this state while armed
     with any of the weapons mentioned in section one hereof or while armed with any pistol,
     revolver or other firearm capable of being concealed upon the person, without having a license or
     permit to cany such firearm as hereinafter provided, upon conviction of such felony, he shall in
     addition to the punishment prescribed for the crime of which he has been convicted, be
     punishable by imprisonment om a state prison for not less than five nor more than ten years...
     Sec. 8. It shall be lawful for the sheriff of a county, and the board of police commissioners, chief
     of police, city marshal, town marshal, or other head of the police department of any city, city and
     county, town, or other municipal corporation of this state, upon proof before said board, chief,
     marshal or other police head, that the person applying therefor is of good moral character, and
     that good cause exists for the issuance thereof, to issue such person a license to carry concealed a
     pistol, revolver or other firearm for a period of one year from the date of such license...

     1923 Cal. Stat. 698-99, An Act to Control and Regulate the Possession, Sale and Use of Pistols,
     Revolvers, and Other Firearms Capable of Being Concealed Upon the Person; To Prohibit the
     Manufacture, Sale, Possession or Carrying of Certain Other Dangerous Weapons Within this
     State; To Provide for Registering All Sales of Pistols, Revolvers or Other Firearms Capable of
     Being Concealed Upon the Person; To Prohibit the Carrying of Concealed Firearms Except by
     Lawfully Authorized Persons; To Provide for the Confiscation and Destruction of Such Weapons
     in Certain Cases; To Prohibit the Ownership, Use or Possession of Any of Such Weapons by
     Certain Classes of Persons; To Prescribe Penalties for Violations of This Act and Increased
     Penalties for Repeated Violations Hereof; To Authorize, In Proper Cases, The Granting of
     Licenses or Permits to Carry Firearms Concealed Upon the Person; To Provide for Licensing
     Retail Dealers in Such Firearms and Regulating Sales Thereunder; And To Repeal Chapter One
     Hundred Forty-Five of California Statutes of 1917, ch. 339, § 8.
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     Sec. 8. It shall be lawful for the sheriff of a county, and the board of police commissioners, chief
     of police, city marshal, town marshal, or other head of the police department of any city, city and
     county, town, or other municipal corporation of this state, upon proof before said board, chief,
     marshal or other police head, that the person applying therefor is of good moral character, and
     that good cause exists for the issuance thereof, to issue such person a license to carry concealed a
     pistol, revolver or other firearm for a period of one year from the date of such license...

     1931 Cal. Stat. 2317, An Act to Control and Regulate the Possesion, Sale and Use of Pistols,
     Revolvers and Other Firearms Capable of Being Concealed Upon the Person, eh. 1098, §9.
     Every person in the business of selling, leasing, or otherwise transferring a pistol, revolver or
     other firearm, of a size capable of being concealed upon the person, whether such seller, lessor or
     transferor is a retail dealer, pawnbroker, or otherwise, except as hereinafter provided, shall keep
     a register in which shall be entered the time of sale, the date of sale, the name of the salesman
     making the sale, the place where sold, the make, model, manufacturer’s number, caliber, or other
     marks of identification on such pistol, revolver or other firearm. Such register shall be prepared
     by and obtained from the state printer and shall be furnished by the state printer to such dealers
     on application at a cost of three dollars per one hundred leaves in triplicate ... [t]he purchaser of
     any firearm capable of being concealed upon the person shall sign, and the dealer shall require
     him to sign his name and affix his address to said register in triplicate, and the salesman shall
     affix his signature in triplicate as a witness to the signature of the purchaser. .. [t]his section
     shall not apply to wholesale dealers in their business intercourse with retail dealers.

     COLOLRADO

    Thomas M. Patterson, The Charter and Ordinances of the City of Denver, as Adopted Since the
    Incorporation of the City and Its Organization, November, 1861, to the First Day of February,
    A.D., 1875, Revised and Amended, Together with an Act of the Legislature of the Territory of
    Colorado, in Relation to Municipal Corporations, Page 78, Image 78 (1875) available at The
    Making of Modem Law: Primary Sources. 1875
    [City of Denver,] Charter and Ordinances: Offenses Affecting Public Safety, § 1. If any person
    shall, within this city, fire or discharge any cannon, gun, fowling piece, pistol or fire arms of any
    description, or fire, explode or set off any squib, cracker, or other thing containing powder or
    other combustible or explosive material, without permission from the Mayor (which permission
    shall limit the time of such firing, and shall be subject to be revoked by the Mayor or City
    Council at any time after the same has been granted), every such person shall, on conviction, be
    fined in a sum not less than one dollar and not exceeding one hundred dollars: Provided, that no
    permission shall be granted to any person or persons to hold or conduct any shooting match or
    competitive trial of skill with fire arms within the limits of this city.

    1911 Colo. Sess. Laws 408
    Section 3. Every individual, firm or corporation engaged, within this commonwealth, in the-
    retail sale, rental or exchange of firearms, pistols or revolvers, shall keep a record of each pistol
    or revolver sold, rented or exchanged at retail. Said record shall be made at the time of the
    transaction in a book kept for that purpose and shall include the name of the person to whom the
    pistol or revolver is sold or rented, or with whom exchanged; his age, occupation, residence,
    and., if residing in a city, the street and number therein where he resides; the make, calibre and
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    finish of said pistol, or revolver, together with its number and serial letter, if any; the date of the
    sale, rental or exchange of said revolver; and the name of the employee or other person making
    such sale, rental or exchange. Said record- book shall be open at all times to the inspection of any
    duly authorized police officer.
    Section 4. Every individual, firm or corporation fail- ng to keep the record provided for in the
    first section of this act, or who shall refuse to exhibit such record when requested by a police
    officer, and any purchaser, lessee or exchanger of a pistol or revolver, who shall, in connection
    with the making of such record, give false information, shall be guilty of a Misdemeanor, and
    shall, upon conviction, be punished by a fine of not less than twenty-five, nor more than one
    hundred dollars, or by imprisonment in the county jail for a term not exceeding one year, or by
    both such fine and imprisonment.

    CONNECTICUT

    The Public Records Of The Colony Of Connecticut, Prior To The Union With New Haven
    Colony, May, 1665 Page 79, Image 91 (1850) available at The Making of Modem Law: Primary
    Sources. 1665
    It is ordered, that no man within this Jurisdiction shall directly or indirectly amend, repair, or
    cause to be amended or repaired, any gun small or great belonging to any Indian, nor shall
    endure the same, nor shall sell or give to any Indian, directly or indirectly, any such gun or
    gunpowder, or shot, or lead, or mold, or military weapons, or armor, nor shall make any arrow
    heads, upon pain of a ten pound fine for every offense at least, nor sell nor barter any guns,
    powder, bullets or lead, whereby this order might be evaded, to any person inhabiting out of this
    Jurisdiction, without license of this or the particular court, or some two magistrates, upon pain of
    ten pound for every gun, five pound for every pound of powder, 40s for every pound of bullets or
    lead, and so proportionately for any greater or lesser quantity.

    The Public Records Of The Colony Of Connecticut. Hartford, 1890 Page 190-192, Image 194-
     196, available at The Making of Modem Law: Primary Sources. 1775
    An Act for Encouraging the Manufacture of Salt Petre and Gun Powder.. .Be it enacted, That no
    salt petre, nitre or gun-powder made and manufactured, or that shall be made and manufactured
    in this Colony, shall be exported out of the same by land or water without the license of the
    General Assembly or his Honor the Governor and Committee of Safety, under the penalty of
    twenty pounds for every hundred weight of such salt petre, ntire or gun-powder, and
    proportionately for a greater or lesser quantity so without license exported; to be recovered by
    bill, plaint, or information, in any court of record in this Colony by law proper to take cognizance
    thereof... Be it further enacted by the authority aforesaid, That no powder-mill shall be erected
    in this Colony for the manufacture of gun-powder without the license of the general assembly, or
    in their recess the Governor and Council, first had and obtained under the penalty of thirty
    pounds for every such offence; to be recovered as the other forgoing personalities in this act are
    above directed to be recovered.

    Charter and By-Laws of the City of New Haven, November, 1848 Page 48-49, Image 48-49
    (1848) available at The Making of Modem Law: Primary Sources. 1827
    A By-Law Relative to the Storage and Sale of Gunpowder. Be it ordained by the Mayor,
    Aldermen, and Common Council of the city of New Haven, in Court of Common Council
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   assembled, 1st. That hereafter no person or persons shall, within the limits hereafter described,
   either directly or indirectly, sell and deliver any gunpowder, or have, store, or keep any quantity
   of gunpowder greater than one pound weight, without having obtained a license for that purpose
   from said Court of Common Council, in the manner herein prescribed. Provided, that nothing in
   this by-law contained shall be construed to prevent any person or persons from having or
   keeping in his or their possession, a greater quantity of powder than one pound weight, during
   any military occasion or public celebration, while acting under any military commander, and in
   obedience to his orders, or under permission and authority therefor, first had and obtained of the
   Mayor or some one of the Aldermen of said city. Provided also, That any person or persons
   purchasing gunpowder, shall be allowed between the rising and setting of the sun, sufficient time
   to transport the same from any place without said limits, through said limits to any place without
   the same. 2d. The Court of Common Council aforesaid, shall have power, on application to them
   made, to grant and give any meet person or persons a license to sell gunpowder, and for that
   purpose to have, store, and keep gunpowder in quantity not exceeding at any one time seven
   pounds weight, and that well secured in a tin canister or canisters, and at such place or places
   within said limits and for such term of time, not exceeding one year, as said Court shall deem fit;
   which license shall be signed by the Clerk of said Court, and shall be in the form following, viz
   — Whereas the Mayor, Aldermen, and Common Council of the City of New Haven, in Court of
   Common Council convened, have approved of___, as a suitable and proper person to keep,
   store, and sell gunpowder within the City of New Haven: We do therefore give license to said
   ____, to sell gunpowder at (describe the place) and for the purpose aforesaid, to have, keep, and
   store in said building any quantity of gunpowder not exceeding at any one time seven pounds
   weight, until the___day of___ . Dated, Signed per order, A.B., Clerk. For which license the
   person receiving the same shall pay the City Clerk twenty-five cents; and the same shall be by
   said Clerk recorded at full length. And before any license shall be given as aforesaid, the person
   or persons receiving the same shall pay to the Clerk aforementioned, for the use of said city, a
   sum after the rate of five dollars per annum. 3d. Before any shall proceed to sell or to store or
   keep gun-powder by virtue of any such license so given as aforesaid, such person shall put in a
   conspicuous place upon the front part of the building in which such powder is to be stored or
   sold, a sign, with the following words plainly and legibly inscribed thereon, viz., “Licensed to
   keep Powder,” and shall continue the same during the time he shall keep, store, or sell
   gunpowder in said building. 4th section repealed. 5th. That no person or persons shall put or
   receive or have any quantity of gunpowder on board of any steamboat, for transportation therein
   in any of the waters within the limits of said city. 6th. If any person shall sell, keep, or store any
   gunpowder within the limits aforesaid, contrary to the true intent and spirit of this by-law, or
   without complying with all the pre-requisites enjoined thereby; or if any person or persons shall
   put or receive, or have on board of any steamboat for transportation on any of the waters within
   the limits of said city, any quantity of gunpowder, such person or persons shall forfeit and pay
   the sum of thirty-four dollars, one half to him who shall give information, and the other half to
   the use of the city.

   The By-Laws of the City of New London, with the Statute Laws of the State of Connecticut
   Relative to Said City Page 47-48, Image 47-48 (1855) available at The Making of Modem Law:
   Primary Sources. 1835
   Chapter 26. A ByLaw in relation to the Firing of Guns and Pistols, within the limits of the city of
   New-London, and making parents and guardians, and masters, liable for breaches of by-laws by
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   minors and apprentices. Be it ordained by the mayor and aldermen, and common council and
   freemen of the city of New-London, That no gun or pistol shall be fired at any time within the
   limits of said city, unless on some public day of review, and then by order of the officers of the
   military companies of said city, or by permission of the mayor, or one of the aldermen of said
   city; and whosoever shall fire any gun or pistol, contrary to the form and effect of this by-law,
   shall for every such offence, forfeit and pay the sum of two dollars, to be recovered by due
   process in any court in said city, proper to try the same. § 2. And whereas the firing of guns and
   pistols, crackers, or other fire works is most frequently done by apprentices and minors under
   age, who are unable to pay the forfeiture incurred by the by-law of this city - be it also ordained
   that where any minor or apprentice shall be guilty of any breach of the by-laws relating to the
   firing of guns, pistols, crackers, or other fire-works, the parent, guardian, or master of such minor
   or apprentice, shall be liable to pay the forfeitures incurred by said by-law, and the same shall be
   recoverable of any parent, guardian or master, by action of debt brought on said by law, before
   any court in said city proper to try the same. And it shall be the duty of the city attorney and
   lawful for any other person to prosecute for said penalty; and one-half of said penalty shall go to
   the informer, or the person prosecuting for the same, and the other half to the use of the city.

   1845 Conn. Acts 10, An Act Prohibiting the Firing of Guns and Other Fire Arms in the City of
   New Haven, chap. 10.
   [E]very person who shall fire any gun or other fire-arm of any kind whatever within the limits of
   the city of New Haven, except for military purposes, without permission first obtained from the
   mayor of said city, shall be punished by fine not exceeding seven dollars, or by imprisonment in
   the county jail not exceeding thirty days.

   Charles L. Upham, The Charter and By-Laws of the City of Meriden. With Extracts from the
   Public and Private Acts of the State of Connecticut, Applicable to the City of Meriden; Together
   with Certain Votes of the Common Council; the Rules and Regulations of the Board of Water
   Commissioners, and of the Police Department; and the Rules of Order of the Common Council
   of the City of Meriden Page 135, Image 140 (1875) available at The Making of Modem Law:
   Primary Sources. 1869
   A by-law concerning the discharge of fire-arms and fire-works [, City of Meriden, Conn.], § 1.
   Be it enacted by the Court of Common Council of the City of Meriden, § 1. That no person shall
   discharge any pistol, gun, cannon, or other fire-arm of any sort or description, within the limits of
   said city, unless on occasion of some public festivity, and then by permission of the mayor or
   one of the aldermen of said city, or unless on occasion of military exercises and parade, and then
   by order of some military officer; and whoever shall discharge any pistol, gun, cannon, or other
   fire-arm of any sort, contrary to the form and effect of this by-law, shall, for every such offense,
   forfeit and pay, for the use of the treasury of said city, a fine of five dollars.

   Charter and Ordinances of the City of Bridgeport: as Amended and Adopted Page 194 (1874)
   available at The Making of Modem Law: Primary Sources. 1874
   An Ordinance Relative to Gunpowder and Explosive Substances. Be it ordained by the Common
   Council of the City of Bridgeport, § 1. No person shall have, or keep for sale or for any other
   purpose, within the limits of this city, any quantity of gunpowder or gun-cotton, exceeding one
   pound in weight; no person shall have, keep for sale, use, or other purpose, within the city limits,
   any quantity of nitro-glycerine, or other explosive substances or compounds exceeding six
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   ounces, without special license thereof from the common council. No person shall transport any
   gunpowder through said city without a permit first had and obtained from the fire marshal, and in
   accordance with such rules and regulations as may be established by said fire marshal. No person
   shall, within said city, place, receive, or have any gunpowder on board of any steamboat used for
   the carrying of passengers, with intent to transport the same therein.

   J. M. Meech, Charter and Revised Ordinances of the City of Norwich With the Amendments
   Thereto, and Statutes of the State Relating to Municipal Corporations, in Force January 1st, 1877
   Page 178, Page 185 (1876) available at The Making of Modem Law: Primary Sources. 1877
   Ordinances of Norwich. § 15. No person or persons shall fire any swivel, musket, fowling-piece,
   pistol, or other gun of any description within said city at a less distance than fifty rods from any
   dwelling house, or public highway, or street without written permission from the Mayor or one
   of the aldermen of said city; and every person so offending shall, for every such offence, forfeit
   and pay for the use of said city the sum of three dollars: Provided always, that nothing herein
   contained shall be construed to extend to the members of any military company when under the
   command of any military officer, not to prevent the firing of any gun or guns for the destruction
   of any noxious birds or animals by any person or persons upon his or their premises.

   Charles Stoers Hamilton, Charter and Ordinances of the City of New Haven, Together with
   Legislative Acts Affecting Said City Page 164, Image 167 (1890) available at The Making of
   Modem Law: Primary Sources. 1890
   Good Order and Decency § 192. Every person who shall carry in said City, any steel or brass
   knuckles, pistol, or any slung shot, stiletto or weapon of similar character, or shall carry any
   weapon concealed on his person without permission of the Mayor or Superintendent of Police in
   writing, shall, on conviction, pay a penalty of not less than five, nor more than fifty dollars for
   every such offense.

   1901 Conn. Pub. Acts 602, § 20.
   The warden and burgesses, when assembled according to law, shall have power to make, alter,
   repeal, and enforce such bylaws, orders, ordinances, and enactments as they deem suitable and
   proper, not inconsistent with this resolution or contrary to the laws of this state or of the United
   States, for the following purposes:... to license, regulate, or prohibit the manufacture, keeping
   for sale, or use of fireworks, torpedoes, firecrackers, gunpowder, petrolemn, dynamite, or other
   explosive or inflammable substance, and the conveyance thereof through any portion of the
   borough....

   1923 Conn. Acts 3707, An Act Concerning the Possession Sale and Use of Pistols and
   Revolvers, ch. 252, §2.
   No person shall advertise, sell, deliver, offer or expose for sale or delivery or have in his
   possession with intent to sell or deliver any pistol or revolver at retail without having a permit
   therefor issued as hereinafter provided.

   1930 Conn. Stat. 903, Dealing in Explosives; License., ch. 147, § 2644. 1909
   No person shall manufacture, store, sell, or deal in gunpowder or any material or compound ...
   unless he shall first obtain from the commissioner of state police or the fire marshal of the town
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   where such business is conducted a written license therefor ... which license shall specify the
   building where such business is to be carried on or such material deposited or used.

    1923 Conn. Pub. Acts 3707, An Act Concerning the Possession, Sale and Use of Pistols and
   Revolvers, ch. 252, § 2, 3.
   No person shall advertise, sell, deliver, offer or expose for sale or delivery or have in his
   possession with intent to sell or deliver any pistol or revolver at retail without having a permit
   therefor issued as hereinafter provided.
   The chief of police or, where there shall be no chief of police, the warden of the borough of the
   first selectman of the town, as the case may be, may, upon the application of any person, issue a
   permit in such form as may be prescribed by the superintendent of state police for the sale at
   retail of pistols and revolvers within the jurisdiction of the authority issuing such permit. Upon
   the application of any person having a bona fide residence or place of business within the
   jurisdiction of any such authority or, upon the application of any bona fide resident of the United
    States having a permit or license to carry any firearm issued by the authority of any state or sub­
   division of the United States, such chief of police, warden or selectmen may issue a permit to
   such person to carry a pistol or revolver within the jurisdiction of the authority issuing the same,
   provided such authority shall find that such applicant intends to make no use of the pistol or
   revolver thereunder other than a proper use and that such person is a suitable person to receive
   such permit. The superintendent of state police may, upon application, issue to any holder of any
   permit to carry any pistol or revolver hereinbefore provided for, a permit to carry a pistol or a
   revolver within the state ....
   Sec. 5. No sale of any pistol or revolver shall be made except in the room, store or place
   described in the permit for the sale of pistols and revolvers, and such permit or a copy thereof
   certified by the authority issuing the same shall be exposed to view within the room, store or
   place where pistols or revolvers shall be sold or offered or exposed for sale, and no sale or
   delivery of any pistol or revolver shall be made unless the purchaser or person to whom the same
   is to be delivered shall be personally known to the vendor of such pistol or revolver or the person
   making delivery thereof or unless the person making such purchase or to whom delivery thereof
   is to lie made shall provide evidence of his identity. The vendor of any pistol or revolver shall
   keep a record of every pistol or revolver sold in a book kept for that purpose, which record shall
   be in such form as shall be prescribed by the superintendent, of state police and shall include the
   date of the sale, the caliber, make, model and manufacturer’s number of such pistol or revolver
   and the name, address and occupation of the purchaser thereof, which record shall be signed by
   the purchaser and by the person making the sale, each in the presence of the other, and shall be
   preserved by the vendor of such pistol or revolver for a period of at least six years.
   Sec. 7. No person, firm or corporation shall sell at retail, deliver or otherwise transfer any pistol
   or revolver to any alien, nor shall any person deliver any pistol or revolver at retail except upon
   written application therefor and no sale or delivery of any pistol or revolver shall be mode upon
   the date of the filing or receipt of any written application for the purchase thereof, and when any
   pistol or revolver shall b delivered in connection with the sale or purchase, such pistol or
   revolver shall be enclosed in a package, the paper or wrapping of which shall be securely
   fastened, and no pistol or revolver when delivered on tiny sale or purchase shall be loaded or
   contain therein any gunpowder or other explosive or any bullet, ball or shell. Upon the delivery
   of any pistol or revolver the purchaser shall sign in triplicate a receipt for such pistol or revolver
   which shall contain the name, address and occupation of such purchaser, the date of sale, caliber,
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   make, model and manufacturer’s number and a general description thereof. One of such triplicate
   receipts shall, within twenty-four hours thereafter, be forwarded by the vendor of such pistol or
   revolver to the superintendent of state police and one to the authority issuing the permit for the
   sale of such pistol or revolver and the other shall be retained by such vendor for at least six years.
   Sec. 8. No person shall make any false statement or give any false information connected with
   any purchase, sale or delivery of any pistol or revolver, and no person shall sell, barter, hire,
   lend, give or deliver to any minor under the age of eighteen years any pistol or revolver.


   DELAWARE

   1797 Del. Laws 104, An Act For the Trial Of Negroes, ch. 43, §6.
   And be it further enacted by the authority aforesaid, That if any Negro or Mulatto slave shall
   presume to carry any guns, swords, pistols, fowling pieces, clubs, or other arms and weapons
   whatsoever, without his master’s special license for the same, and be convicted thereof before a
   magistrate, he shall be whipped with twenty-one lashes, upon his bare back.

    1832 Del. Laws 208, A Supplement to an Act to Prevent the Use of Firearms by Free Negroes
   and Free Mulattoes, and for Other Purposes, chap. 176, § 1.
   ... it shall not be lawful for free negroes and free mulattoes to have, own, keep or possess any
   gun, pistol, sword or any warlike instruments whatsoever: Provided however, that if upon
   application of any such free negro or free mulatto to one of the justices of the peace of the county
   in which such free negro or free mulatto resides, it shall satisfactorily appear upon the written
   certificate of five or more respectable and judicious citizens of the neighborhood, that such free
   negro or free mulatto is a person of fair character, and that the circumstances of his case justify
   his keep and using a gun, then and in every such case it shall and may be lawful for such justice
   to issue a license or permit under his hand and authorizing such free negro or free mulatto to
   have use and keep in his posession a gun or fowling piece.

   1841 Del. Laws 430, An Act Concerning Fees, ch. 368, § 1.
   Justices of the Peace shall receive ... For licenses to negroes to keep a gun, twenty five cents.

   9 Del. Laws 552 (1843), A Further Supplement To An Act Entitled “An Act To Prevent The Use
   Of Fire-arms By Free Negroes And Free Mulattoes And For Other Purposes, § 1. 1843
   That the proviso in the first section of the act to which this is a further supplement, and all and
   every the provisions of the said act, or any other supplemental act thereto, which authorizes the
   issuing, by a justice of the peace, of a license or permit to a free negro or free mulatto to have,
   use and keep in his possession, a gun or fowling piece, be and the same are hereby repealed,
   made null and void.

   1909 Del. Laws 577, House Joint Resolution Providing for Increase in Non-Resident Gunners
   License Fee, ch. 271.
   Whereas, there are numerous gunners from other States who make it a practice to gun in this
   State, and under existing laws a license fee of Five Dollars is collected from them. And Whereas,
   our neighboring States charge non-resident gunners a license fee of more than Five Dollars.
   Therefore be it resolved by the Senate and House of Representatives of the State of Delaware in
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   General Assembly met: That from and after the passage of this Resolution up to and including
   April 30th, 1911, all non-resident gunners shall be required to pay a license fee of Ten Dollars
   per annum, said license fee to be collected in the same manner and by the same agency as non­
   resident gunners’ licenses are now collected.

   Vol. 26 Del. Laws 28, 28- 29 (1911)
   Section 1. That from and after the first day of June, in the year of our Lord, one thousand nine
   hundred and eleven, it shall be unlawful for any person or persons, firm, company or
   corporation, to sell, or expose to sale, any pistol or revolver, or revolver or pistol cartridges,
   stiletto, steel or brass knuckles, or other deadly weapons made especially for the defense of one’s
   person, without first having obtained a license therefor, which license shall be known as “Special
   License to Sell Deadly Weapons;” provided, however, that this provision shall not relate to toy
   pistols, pocket knives, or knives used in the domestic household, or surgical instruments or tools
   of any kind.
   Section 2. Any person or persons, firm, company or corporation, desiring to engage in the
   business of selling revolvers, pistols, or revolver or pistol cartridges, stilettos, steel or brass
   knuckles, or other weapons made for the defense of one’s person, shall, after the above
   mentioned date, apply to the Clerk of the Peace of the County in which it is desired to conduct
   such business and shall obtain a license therefor, for which he, they, or it shall pay the sum of
   twenty-five dollars, which said license shall entitle the holder thereof to conduct said business
   for the term of one year from its date.
   Section 3. It shall be unlawful for any person or per- sons, or a member of any firm, or the agents
   or officers of any corporation to sell to a minor, or any intoxicated person, any revolver, pistol,
   or revolver or pistol cartridges, stiletto, steel or brass knuckles, or other deadly weapons, made
   especially for the defense of one’s person.
   Section 4. It shall be the duty of any person or persons, firm, company or corporation, desiring to
   engage in the business aforesaid, to keep and maintain in his place of business at all times, a
   book which shall be furnished him by the Clerk of the Peace of the County wherein he does
   business in which said book he shall enter the date of the sale, the name and address of the
   person purchasing any such deadly weapon, the number and kind of deadly weapon so pur­
   chased, the color of the person so purchasing the same, and the apparent age of the purchaser;
   and no sale shall be made weapon, etc. until the purchaser has been positively identified. This
   book shall at all times be open for inspection by any Judge, Justice of the Peace, Police Officer,
   Constable, or other Peace Officer of this State.

   DISTRICT OF COLUMBIA

   Washington D.C. 27 Stat. 116 (1892)
   CHAP. 159.-An Act to punish the carrying or selling of deadly or dangerous weapons within the
   District of Columbia, and for other purposes.
   Be it enacted by the Senate and House of Representatives of the United States of America in
   Congress assembled, That it shall not be lawful for any person or persons within the District of
   Columbia, to have concealed about their person any deadly or dangerous weapons, such as
   daggers, air-guns, pistols, bowie-knives, dirk knives or dirks, blackjacks, razors, razor blades,
   sword canes, slung shot, brass or other metal knuckles.
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   SEC. 2. That it shall not be lawful for any person or persons within the District of Columbia to
   carry openly any such weapons as hereinbefore described with intent to unlawfully use the same,
   and any person or persons violating either of these sections shall be deemed guilty of a
   misdemeanor, and upon conviction thereof shall, for the first offense, forfeit and pay a fine or
   penalty of not less than fifty dollars nor more than five hundred dollars, of which one half shall
   be paid to any one giving information leading to such conviction, or be imprisoned in the jail of
   the District of Columbia not exceeding six months, or both such fine and imprisonment, in the
   discretion of the court: Provided, That the officers, non-commissioned officers, and privates of
   the United States Army, Navy, or Marine Corps, or of any regularly organized Militia Company,
   police officers, officers guarding prisoners, officials of the United States or the District of
   Columbia engaged in the execution of the laws for the protection of persons or property, when
   any of such persons are on duty, shall not be liable for carrying necessary arms for use in
   performance of their duty: Provided, further, that nothing contained in the first or second sections
   of this act shall be so construed as to prevent any person from keeping or carrying about his
   place of business, dwelling house, or premises any such dangerous or deadly weapons, or from
   carrying the same from place of purchase to his dwelling house or place of business or from his
   dwelling house or place of business to any place where repairing is done, to have the same
   repaired, and back again: Provided further, That nothing contained in the first or-second sections
   of this act shall be so construed as to apply, to any person who shall have been granted a written
   permit to carry such weapon or weapons by any judge of the police court of the District of
   Columbia, and authority is hereby given to any such judge to grant such permit for a period of
   not more than one month at any one time, upon satisfactory proof to him of the necessity for the
   granting thereof; and further, upon the filing with such judge of a bond, with sureties to be
   approved by said judge, by the applicant for such permit, conditioned to the United States in such
   penal sum as said judge shall require for the keeping of the peace, save in the case of necessary
   self defense by such applicant during the continuance of said permit, which bond shall be put in
   suit by the United States for its benefit upon any breach of such condition.
   SEC. 3. That for the second violation of the provisions of either of the preceding sections the
   person or persons offending shall be proceeded against by indictment in the supreme court of the
   District of Columbia, and upon conviction thereof shall be imprisoned in the penitentiary for not
   more than three years.
   SEC. 4. That all such weapons as hereinbefore described which may be taken from any person
   offending against any of the provisions shall, upon conviction of such person, be disposed of as
   may be ordered by the judge trying the case, and the record shall show any and all such orders
   relating thereto as a part of the judgment in the case.
   SEC. 5. That any person or persons who shall, within the District of Columbia, sell, barter, hire,
   lend or give to any minor under the age of twenty-one years any such weapon as hereinbefore
   described shall be deemed guilty of a misdemeanor, and shall, upon conviction thereof, pay a
   fine or penalty of not less than twenty dollars nor more than one hundred dollars, or be
   imprisoned in the jail of the District of Columbia not more than three months. No person shall
   engage in or conduct the business of selling, bartering, hiring, lending, or giving any weapon or
   weapons of the kind hereinbefore named without having previously obtained from the
   Commissioners of the District of Columbia a special license authorizing the conduct of such
   business by such person, and the said Commissioners are hereby authorized to grant such license,
   without fee therefor, upon the filing with them by the applicant therefor of a bond with sureties,
   to be by them approved, conditioned in such penal sum as they shall fix to the United States for
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   the compliance by said applicant with all the provisions of this section; and upon any breach or
   breaches of said condition said bond shall be put in suit by said United States for its benefit, and
   said Commissioners may revoke said license. Any person engaging in said business without
   having previously obtained said special license shall be guilty of a misdemeanor and upon
   conviction thereof shall be sentenced to pay a fine of not less than one hundred dollars nor more
   than five hundred dollars, of which one half shall be paid to the informer, if any, whose
   information shall lead to the conviction of the person paying said fine. All persons whose
   business it is to sell barter, hire, lend or give any such weapon or weapons shall be and they
   hereby, are, required to keep a written register of the name and residence of every purchaser,
   barterer, hirer, borrower, or donee of any such weapon or weapons, which register shall be
   subject to the inspection of the major and superintendent of Metropolitan Police of the District of
   Columbia, and further to make a weekly report, under oath to said major and superintendent of
   all such sales, barterings, hirings, lendings or gifts. And one half of every fine imposed under this
   section shall be paid to the informer, if any, whose information shall have led to the conviction
   of the person paying said fine. Any police officer failing to arrest any person guilty in his sight or
   presence and knowledge, of any violation of any section of this act shall be fined not less than
   fifty nor more than five hundred dollars.
   SEC 6. That all acts or parts of acts inconsistent with the provisions of this act be, and the same
   hereby are, repealed.

   Washington D.C. 47 Stat. 650, 651-652 (1932)
   CARRYING CONCEALED WEAPONS
    SEC. 4. No person shall within the District of Columbia carry concealed on or about his person,
   except in his dwelling house or place of business or on other land possessed by him, a pistol,
   without a license therefor issued as hereinafter provided, or any deadly or
   dangerous weapon.
   EXCEPTIONS
   SEC. 5. The provisions of the preceding section shall not apply to marshals, sheriffs, prison or
   jail wardens, or their deputies, policemen or other duly appointed law-enforcement officers, or to
   members of the Army, Navy, or Marine Corps of the United States or of the National Guard or
   Organized Reserves when on duty, or to the regularly enrolled members of any organization duly
   authorized to purchase or receive such weapons from the United States, provided such members
   are at or are going to or from their places of assembly or target practice, or to officers or
   employees of the United States duly authorized to carry a concealed pistol, or to any person
   engaged in the business of manufacturing, repairing or dealing in firearms, or the agent or
   representative of any such person having in his possession, using, or carrying a pistol in the usual
   or ordinary course of such business or to any person while carrying a pistol unloaded and in a
   secure wrapper from the place of purchase to his home or place of business or to a place of repair
   or back to his home or place of business or in moving goods from one place of abode or business
   to another.
   ISSUE OF LICENSES TO CARRY
   SEC. 6. The superintendent of police of the District of Columbia may, upon the application of
   any person having a bona fide residence or place of business-within the District of Columbia or
   of any person having a bona fide residence or place of business within the United States and a
   license to carry a pistol concealed upon his person issued by the lawful authorities of any State or
   subdivision of the United States, issue a license to such person to carry a pistol within the
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   District of Columbia for not more than one year from date of issue, if it appears that the applicant
   has good reason to fear injury to his person or property or has any other proper reason for
   carrying a pistol and that he is a suitable person to be so licensed. The license shall be in
   duplicate, in form to be prescribed by the Commissioners of the District of Columbia and shall
   bear the name, address, description, photograph, and signature of the licensee and the reason
   given for desiring a license. The original thereof shall be delivered to the licensee, and the
   duplicate shall be retained by the superintendent of police of the District of Columbia and
   preserved in his office for six years.
   SELLING TO MINORS AND OTHERS
   SEC. 7. No person shall within the District of Columbia sell any pistol to a person who he has
   reasonable cause to believe is not of sound mind, or is a drug addict, or is a person who has been
   convicted in the District of Columbia or elsewhere of a crime of violence or, except when the
   relation of parent and child or guardian and ward exists, is under the age of eighteen years.

   FLORIDA

   Leslie A. Thompson, A Manual or Digest of the Statute Law of the State of Florida, of a General
   and Public Character, in Force at the End of the Second Session of the General Assembly of the
   State, on the Sixth Day of January, 1847 Page 547, Image 582 (1847) available at The Making of
   Modem Law: Primary Sources. 1847
   For the Prevention of Indians Roaming at Large Throughout the State, § 1. From and after the
   passage of this act, if any male Indian of the years of discretion, venture to roam or ramble
   beyond the boundary lines of the reservations, which have been assigned to the tribe or nation to
   which said Indian belongs, it shall and may be lawful for any person or persons to apprehend,
   seize, and take said Indian, and carry him before some Justice of the Peace, who is hereby
   authorized, empowered, and required, to direct (if said Indian have not a written permission from
   the agent to do some specific act) not exceeding thirty-nine stripes, at the discretion of the
   Justice, to be laid on the bare back of said Indian; moreover, to cause the gun of said Indian (if he
   has one) to be taken from him, and deposited with the colonel of the county, or captain of the
   district, in which said Indian may be taken, subject to the order of the superintendent of Indian
   Affairs.

   1887 Fla. Laws 164-165, An Act to Establish the Municipality of Jacksonville Provide for its
   Government and Prescribe it’s jurisdiction and powers, chap. 3775, § 4.
   The Mayor and City Council shall within the limitations of this act have power by ordinance to .
   .. regulate and license the sale of firearms and suppress the carrying of concealed weapons.

  1893 Fla. Laws 71-72, An Act to Regulate the Carrying of Firearms, chap. 4147, §§ 1-4. 1898
  § 1. That in each and every county of this State, it shall be unlawful to carry or own a Winchester
  or other repeating rifle or without first taking out a license from the County Commissioner of the
  respective counties, before such persons shall be at liberty to carry around with him on his
  person and in his manual possession such Winchester rifle or other repeating rifle. § 2. The
  County Commissioners of the respective counties in this State may grant such licenses at any
  regular or special meeting. § 3. The person taking out such license shall give a bond running to
  the Governor of the State in the sum of one hundred dollars, conditioned on the proper and
  legitimate use of the gun with sureties to be approved by the County Commissioners, and at the
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   same time there shall by kept by the County Commissioners granting the same a record of the
   name of the person taking out such license, the name of the maker of the firearm so licensed to
   be carried and the caliber and number of the same. § 4. All persons violating the provisions of
   Section 1 of this Act shall be guilty of a misdemeanor, and on conviction shall be fined not
   exceeding one hundred dollars or imprisonment in the county jail not exceeding sixty days.

   1895 Fla. Laws 14
   Fourteenth. No merchant, store-keeper or dealer shall keep for sale or sell pistols, Springfield
   rifles, repeating rifles, bowie knives or dirk knives, without first paying a license tax of ten
   dollars; Provided, Said pistols, Springfield rifles, repeating rifles, bowie knives or dirk knives,
   shall not be sold to minors. Every violation of this paragraph shall be punished by a fine of fifty
   dollars, or by imprisonment in the county jail not more than six months.

   1931 Fla. Laws 2069, § 7.
   The village shall have the following rights and powers ... To license, tax, regulate, or prohibit,
   within the village or any part thereof... explosives, guns, pistols and other weapons ....

   GEORGIA

   A Digest of the Laws of the State of Georgia. From Its First Establishment as a British Province
   down to the Year 1798, Inclusive, and the Principal Acts of 1799: In Which is Comprehended
   the Declaration of Independence; the State Constitutions of 1777 and 1789, with the Alterations
   and Amendments in 1794. Also the Constitution of 1798 Page 153-154, Image 160-161 (1800)
   available at The Making of Modem Law: Primary Sources. 1768
   Laws of Georgia, An Act to amend and Continue “An Act for the Establishing and Regulating
   Patrols, and for Preventing any Person from Purchasing Provisions or any Other Commodities
   from, or Selling Such to any Slave, Unless Such Slave Shall Produce a Ticket from His or Her
   Owner, Manager or Employer ... Be it enacted, That immediately from and after passing of this
   act, it shall not be lawful for any slave, unless in the presence of some white person, to carry or
   make use of fire arms, or any offensive weapon whatsoever, unless such slave shall have a ticket
   or license in writing from his master, mistress, or overseer, to hunt and kill game, cattle, or
   mischievous birds or beasts of prey, and that such license be renewed every week, or unless there
   be some white person of the age of sixteen years or upwards in the company of such slave when
   he is hunting or shooting, or that such slave be actually carrying his master’s arms to or from his
   master’s plantation by a special ticket for that purpose, or unless such slave be found in the day­
   time, actually keeping off birds within the plantation to which such slave belongs, loading the
   same gun at night, within the plantation to which such slave belongs, loading the same gun at
   night, within the dwelling house of his master, mistress or white overseer: Provided always, That
   no slave shall have liberty to carry any gun, cutlass, pistol, or other offensive weapon, abroad at
   any time between Saturday evening after sunset and Monday morning before sun rise,
   notwithstanding a license or ticket for so doing. II. And be it further enacted, That in case any or
   either of the patrols, established or to be established within this province, by virtues of the said
   act, on searching and examining any negro house for offensive weapons, fire arms and
   ammunition, shall find any such, or in case any person shall find any slave using or carrying fire
   arms or other offensive weapons, contrary to the intent and meaning of this act, such patrol, or
   person or persons, may lawfully seize and take away such offensive weapons, fire arms, and
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   ammunition, but before the property thereof shall be vested in the person or persons who shall
   seize the same, such person or persons shall, within three days next after such seizure, go before
   a justice of the peace, and shall make oath of the manner of taking thereof, and if such justice of
   the peace, after such oath made, or upon due examination, shall be satisfied that the said fire
   arms, offensive weapon, or ammunition, shall have been seized according to the directions, and
   agreeable to the true intent and meaning of this act, the said justice shall, by certificate under his
   hand and seal, declare them forfeited, that the property is lawfully vested in the person or persons
   who seized the same.

   1902 Ga. Laws 434-35, § 16.
   Be it further enacted by the authority aforesaid, That the mayor and aldermen of the said city of
   Forsyth shall have full power to license, regulate and control by ordinance all... gun shops,
   dealers in guns or pistols ....

   Orville Park, Park’s Annotated Code of the State of Georgia 1914, Penal Code, Article 3,
   Carrying pistols without license, § 348(a)-(d). 1910
   § 348 (a). Carrying pistols without license. [It shall be unlawful for any person to have or carry
   about his person, in any county in the State of Georgia, any pistol or revolver without first taking
   out a license from the ordinary of the respective counties in which the party resides, before such
   person shall be at liberty to carry around with him on his person, or to have in his manual
   possession outside of his own home or place of business: Provided that nothing in this law shall
   be construed to alter, affect, or amend any laws now in force in this State relative to the carrying
   of concealed weapons on or about one’s person, and provided further, that this shall not apply to
   sheriffs, deputy sheriffs, marshals, or other arresting officers of this State or United States, who
   are now allowed, by law, to carry revolvers; nor to any of the militia of said State while in
   service or upon duty; nor to any students of military colleges or schools when they are in the
   discharge of their duty at such colleges.] § 348 (b). License, how obtained. [The ordinary of the
   respective counties of this State in which the applicant resides may grant such license, either in
   term time or during vacation, upon the application of party or person desiring to apply for such
   license; provided applicant shall be at least eighteeen years old or over, and shall give a bond
   payable to the Governor of the State in the sum of one hundred dollars, conditioned upon the
   proper and legitimate use of said weapon with a surety approved by the ordinary of said county,
   and the ordinary granting the license shall keep a record of the name of the person taking out ,
   such license, the name of the maker of the fire-arm to be carried, and the caliber and number of
   the same.] § 348 (c). Fee for license. [The person making such application and to whom such
   license is granted, shall pay to the ordinary for granting said license the sum of fifty cents, which
   license shall cover a period of three years from date of granting same.] § 348 (d). Punishment.
   [Any person violating any of the provisions of the three preceding sections shall be punished as
   for a misdemeanor, as prescribed in section 1065 of this Code.]


   HAWAII

   1870 Haw. Sess. Laws 26, An Act to License the Carrying of Fowling Pieces and Other
   Firearms, chap. 20, §§ 1 to 3.
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   Lawrence McCully, Compiled Laws of the Hawaiian Kingdom Page 539, Image 545 (1884)
   available at The Making of Modem Law: Primary Sources. 1870
   An Act to License the Carrying of Fowling Pieces and Other Fire-Arms. Whereas, the Act for the
   protection of Kolea or Plover and other useful birds, approved on the 20th day of April, A.D.
   1859, has proved ineffectual for the purposes intended thereby, and Whereas, The general and
   indiscriminate use of fire-arms, which are frequently used for the destruction of useful, imported
   and migratory insectivorous birds and their progeny, is an injury to the agricultural and pastoral
   interests of this Kingdom, therefore, Be it Enacted by the King and Legislative Assembly of the
   Hawaiian Islands in the Legislature of the Kingdom assembled: § 1. That the Minister of the
   Interior may at any time license for a term of one year, any applicant for such license, to use and
   carry fire-arms for sporting purposes, in the District of Kona, Island of Oahu, on receiving for
   such license the sum of five dollars. § 2. Any person in said district who shall use or carry for
   sporting purposes, any gun, carbine, rifle, pistol, or other fire-arms, without having at first
   obtained a license as hereinbefore provided, shall, upon conviction therefor, before any police or
   district justice, be fined in a sum not to exceed fifty dollars for every such offense, and in default
   of payment of such sum, shall be imprisoned at hard labor, until such fine and costs are paid,
   according to law. § 3. All such licenses shall be signed by the Minister of the Interior, numbered
   according to their respective dates and impressed with the seal of his department, and no such
   license shall be transferable.

   Revised Laws of Hawaii 1925, 791-92 (1925).
   Section 2137. Form or report. It shall be the duty of the sheriff to prepare and furnish to all
   persons applying therefor [meaning applying under Section 18 of 1927 Haw. Sess. Laws 209-
   217], proper blanks upon which such information shall be furnished, in the following form:
   [requiring name of owner, name of possessor, number, description, makers name, factory
   number, and number disposed of and date].

    1927 Haw. Sess. Laws 209-217, AN ACT Regulating the Sale, Transfer and Possession of
   Certain Firearms and Ammunitions, and Amending Sections 2136, 2137, 2138, 2139, 2140,
   2141, 2142, 2143, 2146 and 2147 of the Revised Laws of Hawaii 1925 (the “Small Arms Act”),
   §§10-11, §17.
   Section 1. Definitions. “Pistol” or “revolver” as used in this Act, means any firearm with barrel
   less than twelve inches in length. “Crime of Violence”, as used in this Act means any of the
   following crimes, namely, murder, manslaughter, rape, mayhem, assault to do great bodily harm,
   robbery, larceny, burglary and house-breaking. Section 2. Committing crime when armed. If any
   person, when armed with a pistol or revolver, shall commit or attempt to commit an act
   constituting a crime of violence, he may in addition to the punishment otherwise provided for the
   crime, be punished by imprisonment for not more than one year or by a fine of not more than one
   thousand dollars ($1,000.00) or by both; provided, that the act aforesaid be one which is capable
   of being committed or facilitated by means of a pistol or revolver. Section 3. Being armed prima
   facie evidence of intent. In the trial of a person for committing or attempting to commit a crime
   of violence, the fact that he was armed with a pistol or revolver and had no license to carry the
   same, shall be prima facie evidence of his intention to commit said crime of violence; provided,
   that the criminal act committed or attempted be one which is capable of being committed or
   facilitated by means of a pistol or revolver.
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   Section 5. Carrying or keeping small arms by unlicensed persons. Except as otherwise provided
   in Sections 7 and 11 hereof in respect of certain licensees, no person shall carry, keep, possess,
   or have under his control a pistol or revolver; provided, however, that any person who shall have
   lawfully acquired the ownership or possession of a pistol or revolver may, for purposes of
   protection and with or without a license, keep the same in the dwelling house or business office
   personally occupied by him, and, in case of an unlawful attack upon any person or property in
   said house or office, said pistol or revolver may be carried in any lawful, hot pursuit of the
   assailant.
   Section 6. Exceptions. The provisions of the preceeding section shall not apply to marshals,
   sheriffs, prison or jail wardens or their deputies, policemen, mail carriers, or other duly appointed
   law enforcement officers, or to members of the Army, Navy, or Marine Corps of the United
   States, or of the National Guard, when on duty, or of organizations by law authorized to purchase
   or receive such weapons from the United States or this territory, or to officers or employees of
   the United States authorized by law to carry a concealed pistol or revolver, or to duly authorized
   military organizations when on duty, or to the members thereof when at or going to or from their
   customary places of assembly, or to the regular and ordinary transportation of pistols or
   revolvers as merchandise, or to any person while carrying a pistol or revolver unloaded in a
   wrapper from the place of purchase to his home or place of business, or to a place of repair or
   back to his home or place of business or in moving goods from one place of abode or business to
   another.
   Section 9. Transfers regulated. No person shall transfer by way of sale, gift, loan or otherwise, a
   pistol or revolver unless the prospective transferee, when he applies for the transfer, presents a
   permit duly granted under Section 2141 of the Revised Laws of Hawaii 1925; nor shall he make
   such transfer unless the transferee be a person in respect of whom there is no reasonable cause,
   known to the transferor, for believing that such transferee has committed or attempted, or has
   been convicted of committing or attempting, a crime of violence. No seller shall in any event
   deliver a pistol or revolver on the day when the application to purchase and the statement
   hereinafter mentioned shall be made. When delivered, said pistol or revolver shall be securely
   wrapped and shall be unloaded. Before a delivery be made the purchaser shall sign in triplicate
   and deliver to the seller a statement containing his full name, address, occupation, race,
   nationality, color and place of birth, the date of sale, the caliber, make, model, and
   manufacturer’s number of the weapon, and stating that he has never been convicted of a crime of
   violence. The seller shall promptly sign and forward by registered mail one copy thereof to the
   treasurer of the territory, and one copy thereof to the sheriff of the county or city and county of
   which the seller is a resident, and shall retain the other copy for six years. A statement shall be
   deemed promptly forwarded if it is forwarded within seven days, unless a shorter time is
   provided therefor in regulations established by the Governor.
   Section 10. Dealers to be licensed. No retail dealer or selling agent shall sell or otherwise
   transfer, or expose for sale or transfer, or have in his possession with intent to sell, or otherwise
   transfer, any pistol or revolver without being licensed as hereinafter provided.
   Section 11. Dealers’ Licenses; by whom granted, and conditions thereof. The duly constituted
   licensing authorities of any political subdivision of this territory may grant licenses in form
   prescribed by the treasurer of the territory, effective for not more than one year from date of
   issue, permitting the licensee to sell at retail within the said city or town or political subdivision,
   pistols and revolvers, subject to the following conditions, for breach of any of which the license
   shall be subject to forfeiture:
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    1. The business shall be carried on only in the building designated in the license.
   2. The license or a copy thereof, certified by the issuing authority, shall be displayed on the
   premises where it can easily be read.
   3. No pistol or revolver shall be delivered unless the purchaser either is personally known to the
   seller or shall present clear evidence of his identity.
   4. The seller shall faithfully comply with the requirements of Section 9 hereof and with all other
   provisions of this Act and of Chapter 128, Revised Laws of Hawaii 1925. A copy of the
   statement required by Section 9 hereof shall be entered by the seller in a book of record to be
   kept in his place of business and to be always open to the inspection of the officers and
   authorized representatives of the territorial government, including the police. Said book shall be
   preserved for six years.
   5. No pistol or revolver, or imitation thereof, or placard advertising the sale or other transfer
   thereof, shall be displayed in any part of said premises where it can readily be seen from the
   outside.
   No license to sell at retail shall be granted to anyone except as provided in this section.
   Section 12. False information forbidden. No person shall, in purchasing or otherwise securing
   delivery of a pistol or revolver, or in applying for a license to carry the same, give false
   information or offer false evidence of his identity.
   Section 17. Penalties. Any violation of any provision of this Act shall constitute an offense
   punishable by a fine of not more than one thousand dollars ($1,000.00) or imprisonment for not
   more than one year, or both.
   Section 25. Section 2143 of the Revised Laws of Hawaii 1925, is hereby amended by inserting,
   after the first sentence in said section [“The permit mentioned in section 2141 shall not be issued
   to any alien until the applicant has filed with the sheriff or a deputy sheriff of the county or city
   and county a request in writing, signed by two responsible citizens requesting that such permit be
   issued, and recommending and vouching for the applicant.”], the following: “The request
   aforesaid shall include (1) an expression of the belief of such citizens that the applicant has never
   committed or attempted a crime of violence, as that phrase is defined in the Small Arms Act; that
   he has never been convicted thereof anywhere and that he is not likely to commit or attempt any
   such crime and (2) a brief statement of the facts relating to the age, character, nativity and
   personal history of the applicant, insofar as these facts are within the personal knowledge of such
   responsible citizens. Such facts as are within the personal knowledge of one of them, only, shall
   be included in a supplemental written statement signed by the person having such knowledge.”
   [The rest of Section 2143 reads: “Aliens obtaining a permit as prescribed by the above section
   shall be required to secure an annual license from the treasurer of the county or city and county,
   and to pay to the treasurer an annual license tax of five dollars; provided, however, that to aliens
   who must necessarily use fire-arms in carrying on their business, such as rice planting, such
   license shall be issued free of charge upon a certificate from the sheriff of the county or city and
   county in which they carry on such business to the effect that the fire-arms and ammunition
   mentioned in their permit are necessary to the conduct of their business.”]
   Section 26. Section 2146 of the Revised Laws of Hawaii 1925, is hereby amended to read as
   follows: “Section 2146. Penalties. Any person who shall be found in the possession of any
   firearm or firearms or any ammunition without having complied with the provisions of this
   chapter, or who shall fail to give, file or forward required information, reports or statements, or
   who shall otherwise violate the provisions of this chapter in matters not covered by Section 2142
   hereof, shall be deemed guilty of a misdemeanor and upon conviction thereof, shall be fined by
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   the court of appropriate jurisdiction in a sum of not more than five hundred dollars ($500.00).
   Any person, firm, corporation, copartnership, failing to file any information herein required to be
   filed, shall be deemed guilty of a misdemeanor and upon conviction shall be fined by the court of
   appropriate jurisdiction not more than five hundred dollars ($500.00).
   The divulging of official information recorded or on file in a public office shall be punishable in
   like manner; provided, however, that where the information divulged has not tended, or been
   designed to encourage, or to render formidable armed resistance to the law, the fine shall not
   exceed twenty-five dollars ($25.00).”

    1933 Haw. Sess. Laws 36-37, An Act Regulating the Sale, Transfer, and Possession of Firearms
   and Ammunition, § 3.
   Every person residing or doing business or temporarily sojourning within the Territory on the
   effective date of this Act who possesses a firearm of any description, whether usable or unusable,
   serviceable or unserviceable, modem or antique, not already registered in the name of the present
   possessor, or who possesses ammunition of any kind or description, except shotgun ammunition,
   shall, within ten days of said effective date, register the same with the chief of police of the city
   and county of Honolulu or the sheriff of the county, other than the city and county of Honolulu,
   wherein is his place of business, or if there be no place of business, his residence, or if there be
   neither place of business nor residence, his place of sojourn. Every person arriving in the
   Territory after the effective date of this Act, who brings with him firearms or ammunition of the
   type and description set out in this section, shall register the same in similar manner within forty-
   eight hours after arrival. The registration shall be on such forms as may be designated by the
   bureau of crime statistics and shall include a description of the class of firearm or firearms and
   ammunition owned by him, or in his possession, together with the name of the maker and the
   factory number, if known or ascertainable, and the source from which possession was obtained.
   Within sixty days after the effective date of this Act, the chief of police of the city and county of
   Honolulu and the sheriffs of the several counties, other than the city and county of Honolulu,
   shall furnish the bureau of crime statistics a record of all registrations now on file in their
   respective offices. Within ten days after the end of each month the chief of police of the city and
   county of Honolulu and the sheriffs of the several counties, other than the city and county of
   Honolulu, shall furnish to the bureau of crime statistics duplicate copies of all registrations made
   during the preceding month. No fee shall be charged for such registration. Any person who fails
   to comply with the provisions of this section shall he punished by a fine of not more than two
   hundred and fifty dollars ($250.00).

   1933 Haw. Sess. Laws 37-38, An Act Regulating the Sale, Transfer, and Possession of Firearms
   and Ammunition, § 4.
   § 4. No person residing or doing business or temporarily sojourning within the Territory shall
   take possession of any fire arm of any description, whether usable or unusable, serviceable or
   unserviceable, modem or antique, registered under prior Acts or unregistered, or of any
   ammunition of any kind or description, except shotgun ammunition, either through sale, gift,
   loan, bequest, or otherwise, whether procured in the Territory or imported by mail, express,
   freight, or otherwise, until he shall first have procured from the chief of police of the city and
   county of Honolulu or the sheriff of the county, other than the city and county of Honolulu,
   wherein is his place of business, or if there be no place of business, his residence, or if there be
   neither place of business nor residence, his place of sojourn, a permit to acquire as prescribed
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   herein. The chief of police of the city and county of Honolulu or the sheriffs of the several
   counties, other than the city and county of Honolulu, are hereby authorized, within their
   discretion, to issue permits, within their respective jurisdictions, to acquire rifles, pistols, and
   revolvers to citizens of the United States, of the age of twenty years or more, and to duly
   accredited official representatives of foreign nations. Permits to acquire ammunition for rifles,
   pistols and revolvers acquired prior to the effective date of this Act and registered in accordance
   with the provisions hereof, may be granted persons [sic] of the age of twenty years or more
   irrespective of citizenship. Permits to acquire shotguns may be granted to persons of the age of
   sixteen years or more, irrespective of citizenship. Applications for such permits shall be signed
   by the applicant upon forms to be specified by the bureau of crime statistics, and shall be signed
   by the issuing authority. One copy of such permit shall be retained by the issuing authority, as a
   permanent official record. Such permit shall be void unless used within ten days after the date of
   issue. In all cases where possession is acquired from another person in the Territory the permit
   shall be signed in ink by the holder thereof and shall thereupon he delivered to and taken up by
   the person selling, loaning, giving or delivering the firearm or ammunition, who shall make entry
   thereon setting forth in the space provided therefor the name of the person to whom the firearm
   or ammunition was delivered, and the make, style, caliber, and number, as applicable. He shall
   then sign it in ink and cause it to he delivered or sent by registered mail to the issuing authority
   within forty-eight hours. In case receipt of such firearms or ammunition is had by mail, express,
   freight, or otherwise, from sources outside the Territory, the person to whom such permit has
   been issued, shall make the prescribed entries thereon, sign in ink, and cause it to be delivered or
   sent by registered mail to the issuing authority within forty-eight hours after taking possession of
   the firearms or ammunition. No person shall sell, give, loan, or deliver into the possession of
   another any firearm or ammunition except in accordance with the Provisions of this section. Any
   person acquiring a firearm or ammunition under the provisions of this section shall, within five
   days of acquisition, register same in the manner prescribed by Section 3 of this Act. No fee shall
   be charged for permits under this section. Any person who violates any provision of this section
   shall be punished by a fine of not more than five hundred dollars ($500.00) or imprisonment for
   not more than one year, or by both.

   1933 Haw. Sess. Laws 38, An Act Regulating the Sale, Transfer, and Possession of Firearms and
   Ammunition, § 5. 1933
   Any person who has procured a hunting license under the provisions of Sections 2028-2032,
   inclusive, of the Revised Laws of Hawaii 1925, as amended, shall, while actually engaged in
   hunting or while going to or from the place of hunting, be authorized to carry and use any
   lawfully acquired rifle or shotgun and suitable ammunition therefor.

   1933 Haw. Sess. Laws 39, An Act Regulating the Sale, Transfer, and Possession of Firearms and
   Ammunition, § 8, 10-16.
   § 8. In an exceptional case, when the applicant shows good reason to fear injury to his person or
   property, the chief of police of the city and county of Honolulu or the sheriff of a county, other
   than the city and county of Honolulu, may grant a license to a citizen of the United States or a
   duly accredited official representative of a foreign nation, of the age of twenty years or more, to
   carry concealed on his person within the city and county or the county in which such license is
   granted, a pistol or revolver and ammunition therefor. Unless renewed, such license shall
   automatically become void at the expiration of one year from date of issue. No such license shall
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    issue unless it appears that the applicant is a suitable person to be so licensed, and in no event to
    a person who has been convicted of a felony, or adjudged insane, in the Territory or elsewhere.
    All licenses to carry concealed weapons heretofore issued shall expire at midnight on the
    effective date of this Act. No person shall carry concealed on his person a pistol or revolver or
    ammunition therefor without being licensed so to do under the provisions of this section. For
    each such license there shall he charged a fee often dollars ($10.00), which shall be covered into
    the treasury of the city and county or the county in which such license is granted. Any person
    violating this section shall be punished by a fine of not more than one thousand dollars
    ($1,000.00) or by imprisonment for not more than one year, or by both.

    1933 Haw. Special Sess. Laws 117, An Act... Regulating The Sale, Transfer And Possession
    Of Certain Firearms, Tear Gas And Ammunition: § 2.
    Except as permitted under the provisions of this Act, no person, firm or corporation shall own,
    possess, sell, offer for sale or transport any firearm of the kind commonly known as a machine
    gun or any shell cartridge or bomb containing or capable of emitting tear gas or any other
    noxious gas. Provided, however, that nothing in this Act contained shall prohibit the sale to,
    purchase by, or possession of such firearms by any city and county, county, territorial or federal
    officer where such firearms are required for professional use in the discharge of his duties, nor to
    the transportation of such firearms for or on behalf of police departments and members thereof,
    sheriffs, or the military or naval forces of this Territory or of the United States and “Provided,
    further that nothing in this Act shall prohibit police departments and members thereof, sheriffs,
    or the military or naval forces of the territory or of the United States from possessing or
    transporting such shells, cartridges or bombs for professional use in the discharge of their duties.
    “The term ‘shell, cartridge or bomb’, as used in this Act shall be construed to apply to and
    include all shells, cartridges, or bombs capable of being discharged or exploded through or by
    the use of percussion caps, fuses, electricity, or otherwise, when such discharge or explosion will
    cause or permit the release or emission of tear gases. The term ‘machine gun’ as used in this Act
    shall be construed to apply to and include machine rifles, machine guns and submachine guns
    capable of automatically and continuously discharging loaded ammunition of any caliber in
    which the ammunition is fed to such guns from or by means of clips, disks, drums, belts or other
    separable mechanical device.”

    ILLINOIS

    An Act concerning the Kaskaskia Indians, in Nathaniel Pope, Laws of the Territory of Illinois
    (1815). 1814
    That it shall not be lawful for any person whatever without license from the Governor or some
    sub-agent appointed by him to purchase or receive by gift or other wise of any of the before
    mentioned Indians, any horse, mare, gun, tomohawk, knife, blanket, shrouding, calico, saddle,
    bridle, or any goods wares or merchandize whatever, that all such sales or gifts shall be
    considered as fraudulent on the part of the buyer or receiver and that any white person or free
    person of coulour whatever so buying or receiving any such articles of any one of those Indians
    shall be liable to pay a fine of twenty dollars to be recovered before a justice of the peace ....”
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   Samuel P. Church, The Revised Ordinances of the City of Quincy, 111. to Which are Prefixed the
   Charter of the City of Quincy, and the Amendment Thereto Page 47, Image 47 (1841) available
   at The Making of Modern Law: Primary Sources. 1841
   [An Ordinance Regulating the Police of the City of Quincy], § 5. Be it further ordained by the
   City Council of the City of Quincy, That no person shall, within the limits of said city, fire or
   discharge any cannon, musket, rifle, fowling piece, or other fire arms, or air-gun, except in cases
   of necessity, or in the performance of a public or lawful act of duty, or discharge or set of any
   cracker, rocket, torpedo, squib, or other fire works, within the limits of said city, without
   permission first obtained from the Mayor or one of the Aldermen, or Marshal of said city; and
   every person so offending shall forfeit and pay, for the use of said city, not less than one dollar,
   nor more than three dollars, for every such offense.

   George Manierre, The Revised Charter and Ordinances of the City of Chicago: To Which are
   Added the Constitutions of the United States and State of Illinois Page 123-125, Image 131-133
   (1851) available at The Making of Modem Law: Primary Sources. 1851
   Ordinances of the City of Chicago: Regulating the Keeping and Conveying Gun Powder and
   Gun Cotton; § I. (Be it ordained by the Common Council of the city of Chicago) That no person
   shall keep, sell, or give away gun powder or gun cotton in any quantity without permission of the
   common council or mayor in writing, signed by the mayor and clerk and sealed with the
   corporate seal, under a penalty of twenty-five dollars for every offence. § II. All applications for
   permits shall be addressed to the common council or mayor in writing, signed by the applicant.
   Not exceeding four permits shall be granted in any block. When the number of applications in
   any block shall at any time exceed the number to be granted, the requisite number shall be
   chosen by ballot. When issued the clerk shall make an entry thereof in a register to be provided
   for the purpose which entry shall state the name and place of business and date of permit.
   Persons to whom permits may be issued shall not have or keep at their place of business or
   elsewhere within the city, a greater quantity of gun powder or gun cotton than fifty pounds at one
   time, and the same shall be kept in tin canisters or cases containing not to exceed thirteen pounds
   each, and in a situation remote from fires or lighted lamps, candles or gas from which they may
   be easily removed in case of fire. Nor shall any person sell or weigh any gun powder or gun
   cotton after the lighting of lamps in the evening, unless in sealed canisters or cases. It shall be the
   duty of every person to whom a permit shall be given to keep a sign at the front door of his place
   of business with the words “gun powder and gun cotton” painted or printed theron in large
   letters. A violation of any clause of this section shall subject the offender to a fine of not less
   than ten dollars nor exceeding one hundred dollars. § III. No person shall convey or carry any
   gun or carry any gun powder or gun cotton, (exceeding one pound in quantity), through any
   street or alley in the city, in any cart, carriage, wagon, dray, wheelbarrow, or otherwise, unless
   the gun powder or gun cotton be secured in tight cases or kegs well headed and hooped, and put
   into and entirely covered with a leather bag or case, sufficient to prevent such gun powder or gun
   cotton from being spilled or scattered under a penalty of one hundred dollars. IV. No vessel,
   laden in whole or in part with gun powder or gun cotton, shall land at, or make fast to any dock
   or wharf upon the Chicago river, or either branch thereof, between the south line of the school
   section and Chicago avenue, or to discharge such gun powder or gun cotton within said limits. If
   any master, or owner of any vessel, or other person shall violate any provision of this section, he
   shall be subject to a fine of not less then twenty-five dollars and not exceeding one hundred
   dollars. § V. The mayor shall have power to cause any vessel to be removed form the limits
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    mentioned in the previous section, to any place beyond the same, by a written order, which shall
    be executed by the marshal or some other member of the police. If any person shall neglect or
    refuse to obey such order, or shall resist any officer in the execution of the same, he shall be
    subject to a penalty of one hundred dollars. § VI. A1 permissions granted under this ordinance
    shall expire on the tenth day of June each year. And no permit shall be granted to any retailer of
    intoxicating liquors or to any intemperate person. The clerk shall be entitled to a fee of one dollar
    for every permit so issued. § VII. It shall be the duty of the officers of the police department,
    fire-wardens, and firemen, to report all violations of this ordinance which may come to the
    knowledge of the city attorney for prosecution.

   James M. Cunningham, The City Charter and the Revised Ordinances of the City of Peoria,
   Illinois; Also, the Original City Charter, and the Several Amendments Thereto, and the State
   Laws Relating to the City or Specially Affecting Its Interests; Together with the Rules of Order
   and Business for the Government of the City Council. Arranged, Revised, and Published, Under
   the Authority of the City Council, in the Year 1869 Page 254, Image 284 (1869) available at The
   Making of Modem Law: Primary Sources. 1869
   Revised Ordinances [of the City of Peoria: Public Safety and Convenience], § 1. That it shall not
   be lawful for any person in said city, without permission from the mayor or superintendent of
   police, to fire or discharge any cannon, musket, rifle, fowling-piece, pistol, or other fire-arms or
   air guns, except it is done in cases of necessity, or in the performance of a public act of lawful
   duty, or by military companies when on parade or in the discharge of duty; and every person
   violating the provisions of this section shall, on conviction, forfeit and pay not less than one
   dollar nor more than one hundred dollars for every offense.

   Revised Ordinances of the City of Galesburg, the Charter and Amendments, State Laws Relating
   to the Government of Cities and Appendix Page 122-123, Image 127-128 (1869) available at The
   Making of Modem Law: Primary Sources. 1869
   Revised Ordinances [of Galesburg, 111.], Gunpowder-Fires, Fire-Arms, § 1. The keeping for sale
   or selling gunpowder, without a license therefor, is prohibited, and no license shall be issued
   allowing the keeping in store more than twenty-five pounds of gun powder at any one time,
   unless kept in some secure magazine or fire-proof powder house, located at least one hundred
   feet from any other occupied building, and when kept in a store or place for retail it shall be kept
   in tin or other metallic canisters or cases, and in a part of the building remote from any fire,
   lamp, candle or burning matter liable to produce explosion, and whoever shall violate this
   section, or any provision of it, shall be subject to a penalty of twenty dollars. § 2. Each person
   licensed to sell gunpowder shall keep a sign, with the words “Gunpowder for Sale,” in plain
   letters, in some conspicuous place in the front of the building where such powder is kept. And no
   sales of gunpowder, except in unopened cans shall be sold after night, and any person convicted
   of violation of any of the provisions of this section shall be subject to a penalty of ten dollars. §
   3. Whoever shall bring or cause to be brought into the city any gunpowder concealed in any box
   or other package, or in any package marked as containing other articles, in which such powder is
   contained, shall be subject to a penalty of twenty-five dollars. §4. The carrying gunpowder
   through the streets or other public places, in a careless or negligent manner, or the remaining
   with such powder in any place longer than necessary for the transportation of the same from one
   place to another, shall subject the party offending to a penalty of not less than five dollars...
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    Consider H. Willett, Laws and Ordinances Governing the Village of Hyde Park Together with Its
    Charter and General Laws Affecting Municipal Corporations; Special Ordinances and Charters
    under Which Corporations Have Vested Rights in the Village. Also, Summary of Decisions of
    the Supreme Court Relating to Municipal Corporations, Taxation and Assessments Page 64,
    Image 64 (1876) available at The Making of Modem Law: Primary Sources. 1876
    Misdemeanors, § 39. No person, except peace officers, shall carry or wear under their clothes, or
    concealed about their person, any pistol, revolver, slung-shot, knuckles, bowie-knife, dirk-knife,
    dirk, dagger, or any other dangerous or deadly weapon, except by written permission of the
    Captain of Police.

    Merritt Starr & Russell H. Curtis, Annotated Statutes of the State of Illinois in Force (1885),
    Criminal Code Ch. 38, para. 90.
    All persons dealing in deadly weapons, hereinbefore mentioned, at retail within this State shall
    keep a register of all such weapons sold or given away by them. Such register shall contain the
    date of the sale or gift, the name and age of the person to whom the weapon is sold or given, the
    price of the said weapon, and the purpose for which it is purchased or obtained. The said register
    shall be in the following form. [Form of Register] Said register is to be kept open for inspection
    of the public, and all persons who may wish to examine the same may do so at all reasonable
    times during business hours. A failure to keep such register, or to allow an examination of the
    same, or to record therein any sale or gift of a deadly weapon, or the keeping of a false register,
    shall be a misdemeanor, and shall subject the offender to a fine of not less than twenty-five
    dollars ($25) nor more than two hundred dollars ($200).

   George W. Hess, Revised Ordinances of the City of Evanston : Also Special Laws and
   Ordinances of General Interest Page 131-132, Image 143-144 (1893) available at The Making of
   Modem Law: Primary Sources. 1893
   Concealed Weapons, §531. It shall be unlawful for any person within the limits of the city of
   Evanston to carry or wear under his clothes or concealed about his person, any pistol, colt or
   slung shot, cross knucklet, or knuckles of lead, brass or other metal, or bowie knife, dirk, dagger,
   or any other dangerous or deadly weapon... § 537. The Mayor may grant to so many and such
   persons as he may think proper, licenses to carry concealed weapons, and may revoke any and all
   such licenses at his pleasure. § 538. Applications for such licenses shall be made to the city clerk,
   and when granted, the applicant therefor shall pay to the said clerk, for the use of the city, the
   sum of two dollars. § 539. Every such license shall state the name, age and occupation and
   residence of the person to whom it is granted.

   Samuel A. Ettelson, Opinions of the Corporation Counsel and Assistants from May 1, 1915, to
   June 30, 1916 Page 458-459, Image 458-459 (Vol. 7, 1916) available at The Making of Modem
   Law: Primary Sources. 1914
   Ordinance of May 25,1914, § 4a. It shall be unlawful for any person, firm or corporation to sell,
   barter or give away to any person within the City of Chicago, any pistol, revolver, derringer,
   bowie knife, dirk or other weapon of like character which can be concealed on the person, except
   to licensed dealers and to persons who have secured a permit for the purchase of such articles
   from the general superintendent of police as hereinafter required; provided, this section shall not
   apply to sales made of such articles which are delivered or furnished outside the City of Chicago.
   § 5. It shall be unlawful for any person to purchase any pistol, revolver, derringer, bowie knife,
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    dirk or other weapon of like character, which can be concealed on the person, without first
    securing from the General Superintendent of Police a permit so to do. Before any such permit is
    granted, an application in writing shall be made therefor, setting forth in such application the
    name, address, age, height, weight, complexion, nationality and other elements of identification,
    of the person desiring such permit, and the applicant shall present such evidence of good
    character as the General Superintendent of Police in his discretion may require. § 6. It shall be
    the duty of the General Superintendent of Police to refuse such permit to (a) All persons having
    been convicted of any crime, (b) all minors. “Otherwise, in case he shall be satisfied that the
    applicant is a person of good moral character, it shall be the duty of the General Superintendent
    of Police to grant such permit, upon the payment of a fee of one dollar. § 8. Any person, firm or
    corporation violating any of the provisions of this ordinance, shall be fined not less than Fifty
    Dollars ($50.00) nor more than Two hundred Dollars ($200.00) for each offense, and every
    purchase, sale or gift of any weapon mentioned in this ordinance shall be deemed a separate
    offense.

    Samuel Irwin, Reports of Cases At Law And In Chancery 566 (vol. #278, Chicago, 111, 1917).
    1917
    It shall be the duty of the general superintendent of police to refuse such permit to (a) all persons
    having been convicted of any crime; (b) all minors. Otherwise, in case he shall be satisfied that
    the applicant is a person of good moral character, it shall be the duty of the general
    superintendent of police to grant such permit upon the payment of a fee of one dollar.

    1931 Ill.Laws 453, An Act to Regulate the Sale, Possession and Transportation of Machine
    Guns, § 4.
    Every manufacturer or merchant shall keep a register of all machine guns manufactured or
    handled by him. This register shall show the date of the sale, loan, gift, delivery or receipt of any
    machine gun, the name, address and occupation of the person to whom the machine gun was
    sold, loaned, given or delivered, or from whom it was received, and the purpose for which the
    person to whom the machine gun was sold, loaned, given or delivered, purchased or obtained
    said machine gun. Upon demand, every manufacturer or merchant shall permit any sheriff or
    deputy sheriff, or any police officer to inspect his entire stock of machine guns, parts and
    supplies therefor, and shall produce the register herein required and all written permits to
    purchase oi] possess a machine gun, which he has retained and filed in his place of business for
    inspection by such officer.

    INDIANA

    1847 Ind. Acts 93, An Act to Reduce the Law Incorporating the City of Madison, and the Several
    Acts Amendatory Thereto Into One Act, and to Amend the Same, chap 61, § 8, pt. 4.
    To regulate and license, or provide by ordinance for regulating and licensing ... the keepers of
    gunpowder and other explosive compounds ....

    W. G. Armstrong, The Ordinances and Charter of the City of Jeffersonville Page 15-17, Image
    15-17 (1855) available at The Making of Modem Law: Primary Sources. 1855
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      Ordinances [of Jeffersonville], § 3, Pt. 11. It shall also be a nuisance and unlawful... To
      discharge or cause to be discharged any fire arms, squibs, bombs or fire works of any kind
      without license being first obtained therefor.

     Revision of 1895. The General Ordinances of the City of Indianapolis. Containing also, Acts of
     the Indiana General Assembly so far as they Control Said City, to which Prefixed a
     Chronological Roster of Officers from, 1832 to 1895 and Rules Governing the Common Council
     Page 290-291, Image 372-373 (1895) available at The Making of Modem Law: Primary Sources.
     1895
     Laws and Ordinances [of the City of Indianapolis], An Ordinance Licensing Rifle and Pistol
     Practice in the City of Indianapolis, § 1. Be it ordained by the Common Council and Board of
     Aldermen of the City of Indianapolis, That it shall hereafter be unlawful for any person to
     conduct or carry on any shooting gallery or room where rifle or pistol shooting is practiced, in
     the City of Indianapolis, without first having procured a license so to do, as hereinafter provided.
     § 2. A license fee of twenty-five dollars for six months and fifty dollars for one year shall be paid
     by the person conducting such business. Upon the payment of twenty-five dollars to the City
     Treasurer by any person desiring to carry on such a gallery or room, the City Treasurer shall
     issue to him a receipt therefor, designating therein what said money is paid for; and upon the
     surrender thereof to the City Clerk [Comptroller] that officer shall issue to such person a license
     for the said term of six months; and likewise, upon the payment of fifty dollars, a license for one
     year shall issue. The Clerk [Comptroller] shall be entitled to charge one dollar for the issue of
     every such license. Said license shall be in the usual form. § 3. Any person opening or carrying
     on such a gallery or room without such license shall be fined in any sum not exceeding fifty
     dollars; and every day’s continuance shall constitute a spate offense.

     1925 Ind. Acts 495, 495-98
     Pistols and Revolvers Defined.
     SECTION 1. Be it enacted by the general assembly of the State of Indiana, That the term “pistol
     or revolver,” as used in this act, shall be construed as meaning any firearm with a barrel less than
     twelve inches in length.
     Crime-Committing When Armed With Pistol or Revolver.
     SEc. 2. If any person shall, within the State of Indiana, commit or attempt to commit a crime,
     when armed with a pistol or revolver, and having no permit to carry the same, he shall, in
     addition to the punishment provided for the crime, be guilty of a felony and shall be punished by
     imprisonment for not less than one year and not more than five years.
     Subsequent Offenses.
     SEc. 3. The judge shall have the power to sentence any person who may be convicted for a
     second or third, or other subsequent offense under section 2 of this act, to double or triple the
     penalty imposed thereby.
     Felony-Conviction For-Prohibited From Possessing Pistol.
     SEC. 4. No person who has been convicted of a felony committed against the person or property
     of another shall own or have in his possession or under his control, within the State of Indiana, a
     pistol or revolver. A violation of this section shall constitute a felony and be punishable by
     imprisonment for not less than one year, and not more than five years.
     Pistol or Revolver-Possession Without Permit.
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   SEc. 5. No person shall carry, within the State of Indiana, a pistol or revolver concealed in any
   vehicle or upon his person, except in his dwelling house or place of business, without a permit
   therefor as hereinafter provided. Violations of this section shall constitute a misdemeanor and be
   punished by a line of one hundred dollars ($100.00), to which may be added imprisonment for
   not more than one year, and upon conviction the pistol or revolver shall be confiscated and
   destroyed by the sheriff on order of the court.
   Persons Exempt From Act.
   SEc. 6. The provisions of the preceding section shall not apply to marshals, sheriffs, deputy
   sheriffs, policemen or any other duly appointed peace officers, nor the pistols or revolvers of any
   bank, trust company, or common carriers, or to the officers or employes of any bank, trust
   company, or common carriers, while such officers or employes are guarding money or valuables
   within the line of their duties as such employes, nor to the regular and ordinary transportation of
   pistols or revolvers as merchandise, nor to members of the army, navy, or marine corps or the
   mail service of the United States, or the national guard, when on duty, or organizations by law
   authorized to purchase or receive such weapons from the United States, or the State of Indiana,
   nor to duly authorized military or civil organizations when parading, nor to the members thereof
   when at .or going to or from their customary places of assembly.
   Permits-Clerk of Circuit Court-Application-Form Fee.
   SEC. 7. The clerk of any circuit court of the State of Indiana, shall, upon application of any
   citizen having a bona fide residence or place of business within the State of Indiana, or of any
   person having a bona fide residence or place of business within the United States, and a permit to
   carry a firearm concealed upon his person issued by the authorities of any other state or
   subdivision of the United States, issue a permit to such citizen to carry a pistol or revolver within
   the State of Indiana, during the period of one year or until revoked, as herein provided. Such
   application for permit Shall be signed by two resident householders and freeholders of the county
   in which the applicant lives, and it shall appear from such application that the applicant is a
   suitable person to be granted a
   permit under the law. The permit shall be in duplicate, in form to be prescribed by the adjutant
   general of the State of Indiana, and shall bear the name, address, description and signature of the
   applicant and reason given for desiring a permit. The original thereof shall be delivered to the
   applicant, the duplicate shall be preserved for six years by the clerk of the circuit court issuing
   the same. For each permit so issued, the applicant shall pay the sum of one dollar ($1.00).
   Minors-Sale of Pistols or Revolvers to Prohibited.
   SEc. 8. Any person or persons who shall, within the State of Indiana, sell, barter, hire, lend, or
   give to any minor under the age of twenty-one years, any pistol or revolver shall be deemed
   guilty of a misdemeanor and shall upon conviction thereof be fined not more than one hundred
   dollars ($100.00), or be imprisoned for not more than three months, or both, except for uses as
   hereinbefore provided.
   Sale of Pistols and Revolvers-Record-Penalty.
   SEc. 9. No person shall within the State of Indiana sell, deliver or otherwise transfer a pistol or
   revolver to a person who he has reasonable cause to believe either is not a citizen or has been
   convicted of a felony against the person or property of another, nor in any event shall he deliver
   a pistol or revolver on the day of the application for the purchase thereof, and when delivered
   said pistol or revolver shall be securely wrapped and shall be unloaded. Before a delivery be
   made, the purchaser or his duly authorized agent and the seller or his duly authorized agent shall
   in the presence of each other sign in duplicate a statement containing the purchaser’s full name,
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    age, dress, place of birth, and nationality, the date of sale, the caliber, make, model, and
    manufacturer’s number of the weapon. The seller shall, within seven days, forward by registered
    mail, to the clerk of the circuit court of the county in which the seller resides, one copy thereof
    and shall retain the other copy for six years. This section shall not apply to sales at wholesale.
    Where neither party to the transaction holds a dealer’s license, no person shall sell or otherwise
    transfer a pistol or revolver to any person not personally known to him. Violations of this section
    shall constitute a misdemeanor and shall be punished by a fine of not less than one hundred
    dollars ($100.00), or by imprisonment for not more than one year, or by both such fine and
    imprisonment.
    Pistols and Revolvers-Sale Without License.
    SEC. 10. Whoever, within the State of Indiana, without being licensed as hereinafter provided,
    sells, delivers, transfers, advertises, or exposes for sale, or has in his possession with intent to
    sell, pistols or revolvers, shall be deemed guilty of a felony and upon conviction thereof shall be
    punished by imprisonment for not less than one year nor more than two years.
    Dealers’ Licenses-Conditions on Which Sold-Record Advertisement.
    SEC. 11. The clerk of the circuit court of any county may grant licenses, to any reputable,
    established dealer, on forms to be prescribed by the adjutant general, permitting the licensee to
    sell at retail within the State of Indiana pistols and revolvers, subject to the following conditions,
    for breach of any of which the license shall be subject to forfeiture:
    1. The business shall be carried on only in the building designated in the license.
    2. The license or a copy thereof, certified by the issuing authority, shall be displayed on the
    premises where it can easily be read.
    3. No pistol or revolver shall be delivered: (a) On the day of the application for the purchase, and
    when delivered shall be unloaded and securely wrapped; nor, (b) Unless the purchaser either is
    personally known to the seller or shall present clear evidence of his identity; nor, (c) If the seller
    has reasonable cause to believe that the purchaser is an unnaturalized foreign-bom person or has
    been convicted of a felony against the person or property of another.
    4. A true record, in duplicate, shall be made of every pistol or revolver sold, said record to be
    made in a book kept for the purpose, the form of which shall be prescribed by the adjutant
    general and shall be signed by the purchaser and by the person effecting the sale, and in the
    presence of each other, and shall include the date of sale, the caliber, make, model, and
    manufacturer’s number of the weapon, the name, address, age, place of birth, nationality of the
    purchaser. One copy of said record shall,
    within seven days, be forwarded by registered mail to the clerk of the circuit court of the county
    in which the seller resides, and the other copy shall be retained by the seller for six years.
    5. No pistol or revolver, or placard advertising the sale thereof, or imitation thereof, shall be
    displayed in any part of said premises where it can readily be seen from the outside.
    False Information.
    SEC. 12. If any person in purchasing or otherwise securing delivery of a pistol or revolver or
    applying for a permit to carry same within the State of Indiana shall give false information or
    offer false evidence of his identity he shall be deemed guilty of a felony and upon conviction
    shall be punished by imprisonment for not less than one year nor more than five years.
    Obliteration of Make, Model, Number-Penalty.
    SEC. 13. No person shall within the State of Indiana, change, alter, remove, or obliterate the
    name of the maker, model, manufacturer’s number, or other mark of identification on any pistol
    or revolver. Possession of any such firearms upon which the same shall have been changed,
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  altered, removed, or obliterated, shall be prima facie evidence that such possessor has changed,
  altered, removed, or obliterated the same. Violations of this section shall be a misdemeanor and
  shall be punished by imprisonment for not less than six months nor more than one year.
  Felony-Possession of Revolver Prima Facie Evidence.
  SEC. 14. In the trial of a person charged with committing or attempting to commit a felony
  against the person or property of another while armed with a pistol or revolver, without having a
  permit to carry such firearm as hereinbefore provided, the fact that such person was so armed
  shall be prima facie evidence of his intent to commit such felony.
  Weapons Exempt.
  SEC. 15. This act shall not apply to antique pistols or revolvers incapable of use as a deadly
  weapon.
  Prior Licenses.
  SEC. 16. Any or all licenses heretofore issued to carry or possess revolver or pistol shall be
  revoked and rendered null and void on and after thirty days from the taking effect of this act.
  Revocation of License.
  SEC. 17. Hereafter in any court of record upon trial of any person for a penal offense, and upon a
  showing that such person is not a fit person to carry concealed weapons, the court may enter an
  order revoking such person’s license to carry concealed weapons and such fact shall be
  communicated to the public officer issuing the same.
  Licensed Dealers-Statement-Penalty.
  SEC. 17 1/2. It shall be unlawful from and after the taking effect of this act, for any person, firm
  or corporation to receive or have in his or its possession within the State of Indiana any pistol or
  revolver purchased or acquired after the taking effect of this act, except a licensed dealer, who
  shall not have signed and forwarded to the clerk of the county in which he resides the statements
  provided for in section 9 of this act, before or at the time of taking possession of such pistol or
  revolver. Whoever shall violate the provisions of this section of this act shall be deemed guilty of
  a misdemeanor and shall upon conviction thereof be- fined not more than $100, to which may be
  added imprisonment for not more than sixty days.
  Repeal.
  SEC. 18. All laws and parts of laws in conflict herewith are hereby repealed.
  Unconstitutional Provisions.
  SEC. 19. If any provision or section of this act shall be held void or unconstitutional, all other
  provisions and all other sections of this act, which are not expressly held to be void or
  unconstitutional, shall remain in full force and effect.

   IOWA

  John F. Dillon, The Revised Ordinances of the City of Davenport, Revised and Digested by
  Order of the City Council, Containing the Original and Amended City Charters, with Notes and
  References to Judicial Decisions Page 145, Image 145 (1866) available at The Making of
  Modem Law: Primary. 1855
  [Ordinances of Davenport Iowa,] Chapter 19, An Ordinance to Prohibit the Discharge of fire­
  arms, fire-crackers, and rockets within the city, § 1. No person shall discharge any gun, pistol or
  other fire-arms, or use or discharge any fire-crackers, rockets, or any other description of fire­
  works, within the limits of said city, without permission in writing from the Mayor. § 2. Any
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  person violating any provision of this ordinance, shall pay a fine of not less than two dollars nor
  more than ten dollars for each offense.

  The Code: Containing All the Statutes of the State of Iowa, of a General Nature, Passed at the
  Adjourned Session of the Fourteenth General Assembly Page 76-77, Image 88-89 (1873)
  available at The Making of Modem Law: Primary Sources. 1873
  Cities and Incorporated Towns, Powers, § 456. They shall have power to prevent injury or
  annoyance from anything dangerous offensive or unhealthy, and to cause any nuisance to be
  abated; to regulate the transportation and keeping of gunpowder or other combustible, and to
  provide or license magazines for the same; to prevent and punish fast or immoderate riding
  through the streets; to regulated the speed of trains and locomotives on railways running over the
  streets or through the limits of the city or incorporated town by ordinance, and enforce the same
  by a fine not exceeding one hundred dollars: to establish and regulate markets; to provide for the
  measuring or weighing of hay, coal, or any other article of sale; to prevent any riots, noise,
  disturbance, or disorderly assemblages; to suppress and restrain disorderly houses, houses of ill
  fame, billiard tables, nine or ten pin alleys, or tables and ball alleys, and to authorize the
  destruction of all instruments or devices used for purposes of gaming, and to protect the property
  of the corporation and its inhabitants and to preserve peace and order therein.

  E. E. Aylesworth, Compiled Ordinances of the City of Council Bluffs; Containing the Original
  and Amended City Charter, with Statutes, Notes and References to Judicial Decisions Page 175,
  Image 175 (1880) available at The Making of Modem Law: Primary Sources. 1880
  [Ordinances of the] City of Council Bluffs, [Misdemeanors,] § 16. Whoever shall discharge any
  cannon, gun, pistol or other fire-arms in or across any street or other public place, or in or across
  any private lot, tract of land or other place not of his own property, without first obtaining a
  permit to do so from the Mayor of the city, if in a public place, or from the owner of the lot or
  land if in a private place, shall be deemed guilty of misdemeanor, and on conviction thereof shall
  be punished by a fine of not less than three nor more than thirty dollars.

  Geoffrey Andrew Holmes, Compiled Ordinances of the City of Council Bluffs, and Containing
  the Statutes Applicable to Cities of the First-Class, Organized under the Laws of Iowa Page 168-
  169, Image 171-172 (1887) available at The Making of Modem Law: Primary Sources. 1887
  Ordinances, City of Council Bluffs, Shooting Gallery, § 5. No person shall carry on or take part
  in carrying on any pistol gallery or shooting gallery without license therefor from said city, and
  the charge for such license shall be ten dollars per month, or fifty dollars per annum. §6. No
  licensee or his employee, or any person in charge of any pin alley, ball alley, pistol gallery or
  shooting gallery, shall at any time, without gain or profit, permit or allow any minor to be or
  remain in or about the same to play thereat, under penalty of the same fine and forfeiture as set
  forth in section 2 of this chapter.

  KENTUCKY

  Charter of the City of Covington, and Amendments Thereto up to the Year 1864, and Ordinances
  of Said City, and Amendments Thereto, up to the Same Date Page 148-149, Image 148-149
  (1864) available at The Making of Modem Law: Primary Sources. 1864
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    Ordinances of the City of Covington, An Ordinance Regulating the Sale of Powder in the City of
    Covington, § 1. Be it ordained by the City Council of Covington, That it shall not be lawful for
    any person or persons to erect, within the limits of the corporation, any powder magazine, or any
    other building for the purpose of storing gun powder in greater quantities than is hereinafter
    specified; and any person violating the provision of this section, shall, on conviction before the
    Mayor, forfeit and pay a fine of one hundred dollars, and ten dollars for every twenty-four hours
    said building shall be used or occupied for the storage of more than twenty-five pounds of
    powder. § 2. Be it further ordained, That it shall not be lawful for any person to keep, in storage
    or for sale, more than one hundred pounds of powder in any one house in said city, at any one
    time: and that amount, or any part thereof, shall be securely and carefully kept, and closed up in
    a good and sufficient safe, so that it can not by any means be exposed. A violation of this section
    shall subject the person to a fine, on conviction, of five dollars for every offense. § 3. Be it
    further ordained. That no person or persons shall sell, or keep for sale, in said city, any gun
    powder without having first obtained a permission so to do from the Mayor of said city, who
    shall, before said license is granted, be fully assured and satisfied that the applicant has good and
    sufficient safes to keep powder in, in conformity with the second section of this ordinance; and
    when the Mayor is satisfied that the license may be granted, without too much risk to the
    community at large, he shall issue said license to the applicant, upon his paying into the City
    Treasury the sum of twenty dollars for one year’s license, and to the Mayor fifty cents, and to the
    City Clerk twenty-five cents, for their certificates. Any person who shall sell any gun powder in
    said city from and after the passage of this ordinance, without having first obtained a license
    therefor, shall, for each and every offense, forfeit, pay, on conviction, the sum of five dollars and
    costs.

    1874 Ky. Acts 327, An Act to Revise and Amend the Charter of the City of Newport, § 6.
    To prohibit the manufacture of gunpowder or other explosive, dangerous, or noxious compounds
    or substances in said city, and to regulate their sale and storage by license.

    LOUISIANA

    John C. White, Digest of the Laws and Ordinances of the Parish of East Feliciana, Adopted by
    the Police Jury of the Parish Page 68, Image 70 (1848) available at The Making of Modem Law:
    Primary Sources. 1848
    [Ordinances of the Parish of East Feliciana,] Of Slaves, § 5. No slave shall carry a gun to hunt,
    except on the plantation of his master or mistress; nor then unless accompanied by the overseer
    or some other free white member of the family, or has a written permit from his owner or
    overseer, which permit shall state for what said slave is hunting: Any person having the charge
    of slaves, who shall permit this section to be violated, shall pay a fine of twenty dollars, for the
    use of the parish, upon information to any Justice, whose duty it is to take cognizance of the
    case.

    Henry Jefferson Leovy, The Laws and General Ordinances of the City of New Orleans, Together
    with the Acts of the Legislature, Decisions of the Supreme Court, and Constitutional Provisions,
    Relating to the City Government. Revised and Digested, Pursuant to an Order of the Common
    Council Page 242, Image 268 (1857) available at The Making of Modem Law: Primary Sources.
    1857
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  [Ordinances of the City of New dueOrleans,] Revenue - Taxes and Licenses, § No. 680. Every
  keeper of a pistol gallery, the whole tax being levied on each and every gallery, sixty dollars.

  Henry Jefferson Leovy, The Laws and General Ordinances of the City of New Orleans, Together
  with the Acts of the Legislature, Decisions of the Supreme Court. And Constitutional Provisions
  Relating to the City Government. Revised and Digested, Pursuant to an Order of the Common
  Council Page 257, Image 257 (1870) available at The Making of Modem Law: Primary Sources.
  1870
  [Ordinances of the City of New Orleans,] Offences and Nuisances, § 635. No person shall fire or
  discharge any gun, pistol, fowling piece or fire-arms, within the limits of the city, or set fire to,
  or discharge any rocket, cracker, squib or serpent, or shall throw any lighted rocket, cracker,
  squib or serpent, within the limits of the city, without the license of the common council;
  Provided, that nothing herein contained shall apply to military reviews or to the lawful use of
  weapons in self defense.


  MAINE

  The Revised Ordinances of the City of Portland, 1848 Page 22, Image 22 (1848) available at The
  Making of Modem Law: Primary Sources.
  [Ordinances of the City of Portland,] Of Gunpowder, § 1. No person not licensed to keep and sell
  gunpowder shall keep or have in his shop, store, dwelling house or other tenement, at any one
  time, a larger quantity of gunpowder than one pound. § 2. No person licensed to keep and sell
  gunpowder shall have or keep in his store, shop, dwelling house or in any other tenement or
  place whatever at any one time, a larger quantity of gunpowder then twenty-five pounds. § 3.
  Every person licensed to keep and sell gunpowder shall provide himself with a strongly made
  copper chest or box with a copper cover well secured, with hinges and a lock of the same
  material, and the keg or canister in which said powder may be, shall be kept in said copper chest
  or box, which shall at all times be placed near the outer door of the building in which it is kept,
  in convenient place to remove in case of fire. § 4. No person shall haul unto, or lay at any wharf
  in the city, any vessel having on board a quantity of gunpowder exceeding twenty-five pounds,
  or receive gunpowder on board exceeding twenty-five pounds, without first having obtained a
  permit from the mayor and aldermen, and said permit shall designate the wharf at which said
  powder may be landed, or received on board.

  The Charter, Amendments, and Acts of the Legislature Relating to the Municipal Court, and the
  Ordinances of the City of Lewiston, Together with the Boundaries of the Several Wards,
  Regulations Respecting Gunpowder, and an Abstract of the Laws Relating to the Powers and
  Duties of Cities and Towns Page 43, Image 43 (1873) available at The Making of Modem Law:
  Primary Sources. 1873
  Regulations Relating to Gunpowder, § 1. No person shall keep or have in any shop, store,
  dwelling house or tenement, in the city of Lewiston, at any one time a larger quantity of gun­
  powder than one pound, unless he is licensed by the mayor and aldermen to keep and sell
  gunpowder, or except as hereinafter provided. § 2. It shall not be lawful for any person or
  persons to sell any gunpowder which may at the time be within said city, in any quantity, by
  wholesale or retail, without having first obtained from the mayor and aldermen a license to sell
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  gunpowder, and every license shall be written or printed, and duly signed by the mayor, on a
  paper upon which shall be written or printed a copy of the rules and regulations established by
  the city relative to keeping, selling and transporting gunpowder within said city; and every such
  license shall be in force one year from the date thereof, unless revoked by the mayor and
  aldermen; but such license may, prior to its expiration, be renewed by an endorsement thereon by
  the mayor, for the further term of one year, and so from year to year, provided, always, that it
  may at any time be rescinded or revoked by the mayor and aldermen, for good and sufficient
  reasons. § 3. Every person who shall receive a license to sell gunpowder, as aforesaid, shall pay
  for the same to the treasurer of the city the sum of three dollars, and for each renewal of the
  same, the sum of one dollar.

  A.G. Davis, City Clerk, Charter and Ordinances, and Rules and Orders of the City Council.
  Revised February 1874 Page 52, Image 53 (1874) available at The Making of Modem Law:
  Primary Sources. 1874
  City Ordinances, § 4. No person shall haul unto, or lay at any wharf in the city, any vessel having
  on board more than twenty-five pounds of gun-powder, nor discharge or receive on board
  exceeding that quantity, without having first obtained from the Mayor a permit therefor,
  designating the wharf at which said powder may be landed or received on board.

  MARYLAND

  1806 Md. Laws 44, An Act To Restrain The Evil Practices Arising From Negroes Keeping Dogs,
  And To Prohibit Them From Carrying Guns Or Offensive Weapons, ch. 81
  ...it shall not be lawful for any negro or mulatto within this state to keep any dog, bitch or gun ,
  except he be a free negro or mulatto, and in that case he may be permitted to keep one dog,
  provided such free negro or mulatto shall obtain a license from a justice of the peace for that
  purpose, and that the said license shall be in force for one year, and no longer, and if any dog or
  bitch owned by any negro, not possessed of such license, shall be seen going at large, it shall be
  lawful for any person to kill the same, and in case of any suit instituted therefor, the person or
  persons killing the said dog or bitch may plead the general issue, and give this act in evidence. II.
  ...it shall not be lawful for any free negro or mulatto to go at large with any gun, or other
  offensive weapon; and in case any free negro or mulatto shall be seen going at large carrying a
  gun, or other offensive weapon, he shall be liable to be carried before any magistrate, in virtue of
  a warrant to be issued by any justice of the peace, directed to a constable of the county, and on
  conviction of having violated the provisions of this section of the act, such offender shall
  thereupon forfeit, to the use of the informant, such gun, or other offensive weapon, which shall
  thus have been found in his or her possession, and be subject to the payment of the costs which
  shall have accrued in such prosecution; provided, that nothing in this act shall extend to prevent
  any free negro or mulatto from carrying a gun, or other offensive weapon, who shall, at the time
  of his carrying the same, have a certificate from a justice of the peace, that he is an orderly and
  peacable person, which certificate shall be in force for one year from the date thereof and no
  longer.

  Lewis Mayer, Revised Code of the Public General Laws of the State of Maryland, with the
  Constitution of the State Page 173, Image 202 (1879) available at The Making of Modem Law:
  Primary Sources. 1876
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  Wild Fowl and Game, § 23. The clerk of the Circuit Court for Harford county, and the clerk of
  the Circuit Court for Cecil county, shall upon the application of any resident of the State of
  Maryland, being the owner of any sink-box, craft or sneak-boat, such as is allowed by this act to
  be used and employed in shooting at wild water fowl therefrom; and giving satisfactory evidence
  to said clerk that the said applicant is a resident of the State of Maryland, and is the bona fide
  owner of the sink-box, craft, or sneak-boat, grant a license under the seal of his court, to such
  applicant to gun after and shoot at wild water-fowl from such sink-box or sneak-boat northward
  of the line named and described in first section of this act from the first day of November in each
  and every year to the thirty-first day of March next succeeding thereafter in each and every year;
  provided that such license shall not authorize any person using such sink-box or sneak-boat to
  gun after or shoot at wild water-fowl therefrom within a less distance than half a mile from any
  shore in Harford or Cecil County, or southward of the line particularly described in the first
  section of this act.

  1882 Md. Laws 257, An Act to ... Exempt All That Portion of the Waters of the Chesapeake
  Bay Lying Northward of a Certain Line Therein Described from the Operation and Effect of
  Sections One and Three ..., eh. 180, § 8
  ... the special police appointed by this act are authorized to arrest any person or persons who
  may be discovered in the act of hunting or shooting crippled ducks, or in purloining ducks that
  have been killed by other persons having a proper license to shoot, as well as other persons
  violating the provisions of this section, and upon conviction thereof before any justice of the
  peace of Cecil or Harford Counties, the license of such persons or persons shall be revoked, and
  such persons or persons, whether licensed or not, shall be fined not less than twenty dollars for
  each offense, and shall forfeit the boat and gun or guns, and material so employed in violation of
  the provisions of this section, which boat and gun or guns, and material shall be sold, and the
  proceeds of such fine and sale, after the costs of prosecution have been paid, shall go to the
  officer or officers making the arrest...

   1882 Md. Laws 656
   Section 1. Be it enacted by the General Assembly of Maryland, That it shall be unlawful for any
   person or persons within the State of Maryland to manufacture or sell, barter or give away the
   cartridge toy pistol to any one whomsoever Sec. 2. Be it enacted, That it shall be unlawful for
   any person, be he or she licensed dealer or not, to sell, barter or give away any firearm
   whatsoever or other deadly weapons, except shotgun, fowling pieces and rifles, to any person
   who is a minor under the age of twenty-one years. Any person or persons violating any of the
   provisions of this act shall, on conviction thereof, pay a fine of not less than fifty nor more than
   two hundred dollars, together with the cost of prosecution, and upon failure to pay said fine and
   cost, be committed to jail and confined therein until such fine and costs are paid, or for the period
   of sixty days, whichever shall first occur.

   MASSACHUSETTS

   William Henry Whitmore, The Colonial Laws of Massachusetts: Reprinted From the Edition of
   1672, with the Supplements Through 1686: Containing Also, a Bibliographical Preface and
   Introduction, Treating of All the Printed Laws From 1649 to 1686: Together with the Body of
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  Liberties of 1641, and the Records of the Court of Assistants, 1641-1644 Page 126, Image 330
  (1890) available at The Making of Modern Law: Primary Sources. 1651
  Prescriptions, (1651) § 2. And it is further ordered; that no person (except for the defence of
  themselves and their vessels at Sea) shall transport any gunpowder out of this jurisdiction,
  without license first obtained from some two of the Magistrates, upon penalty of forfeiting all
  such powder as shall be transporting or transported, or the value thereof.

  A Collection Of Original Papers Relative To The History Of The Colony Of Massachusetts-Bay
  Page 492, Image 497 (1769) available at The Making of Modem Law: Primary Sources. 1769
  Laws of the Colony of Massachusetts, That notwithstanding the ancient law of the country, made
  in the year 1633, that no person should sell any arms or ammunition to any Indian upon penalty
  of 101. for every gun, 51. for a pound of powder, and 40s. for a pound of shot, yet the government
  of the Massachusetts in the year 1657, upon the design to monopolize the whole Indian trade did
  publish and declare that the trade of furs and peltry with the Indians in their jurisdiction did
  solely and properly belong to their commonwealth and not to every indifferent person, and did
  enact that no person should trade with the Indians for any fort or peltry, except such as were
  authorized by the court, under the penalty of 1001. for every offence, giving liberty to all such as
  should have license from them to sell, unto any Indian, guns, swords, powder and shot, paying to
  the treasurer 3d. for each gun and for each dozen of swords; 6d. for a pound of powder and for
  every ten pound of shot, by which means the Indians have been abundantly furnished with great
  store of arms and ammunition to the utter ruin and undoing of many families in the neighboring
  colonies to enrich some few of their relations and church members.

  The Revised Ordinances of 1885, of the City of Boston, as Passed and Approved December 14,
  1885. (With Amendments Thereto, Passed and Approved, to May 1, 1886): Being the Ninth
  Revision. To Which are Added the Revised Standing Regulations of the Board of Aldermen. 9th
  Rev. Page 172, Image 182 (1886) available at The Making of Modem Law: Primary Sources.
  1884
  Ordinances of the City of Boston. Of Fire-Arms, Bonfires, and Brick-Kilns. § 4. No person shall
  sell to any child under the age of sixteen years without the written consent of a parent or
  guardian of such child, any cartridge or fixed ammunition of which any fulminate is a component
  part, or any gun, pistol, or other mechanical contrivance arranged for the explosion of such
  cartridge, or of any fulminate. But the provisions of this section shall not apply to paper caps of
  which the only component parts are chlorate of potash and sulphide of antimony, nor to any
  appliance for exploding the same. The provisions of this section shall be inserted in every license
  granted for the sale of gunpowder.

  Revised Ordinances of 1892, of the City of Boston, and the Revised Regulations of 1892, of the
  Board of Aldermen of the City of Boston, Being the Eleventh Revision, Third Edition,
  Containing All Ordinances Passed Between March 3, 1892, and February 1, 1895, and All
  Regulations of the Board of Aldermen Passed Between July 22, 1892, and Febmary 1, 1895 Page
  115, Image 129 (1895) available at The Making of Modem Law: Primary Sources. 1895
  Ordinances of Boston, Prohibitions and Penalties, § 91. No person shall manufacture or sell, or
  expose for sale, any guncotton, nitro-glycerine, or any compounds of the same, nor any fulminate
  or substance, except gunpowder, intended to be used by exploding or igniting it, in order to
  produce a force to propel missiles, or to rend substances apart, except in accordance with a
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    permit from the board of fire commissioners; nor shall any person send or carry through the
    public streets any such substance, except in the manner and in the quantities allowed by statute
    or ordinance.

    Revised Ordinances of the City of Woburn. Revised Woburn, Massachusetts Page 91 Image 91
    (1898) available at The Making of Modem Law: Primary Sources. 1898
    License to Sell Gunpowder in the City of Wobum. No person shall sell any gunpowder within
    the city, without such license. Every license shall be in force one year from the date thereof;
    provided, that any license may be rescinded by the City Council, at their discretion. § 3. Every
    person so licensed shall keep a sign over and outside of the principal entrance from the street of
    the building in which the powder is kept, in which shall be printed in capitals the words:
    “License to keep and sell gunpowder” § 4. The city clerk shall keep a record of all licenses, and
    of the places designated therein, which places shall not be changed, unless by consent of the City
    Council, in writing. Every person who receives a license shall sign his name to a copy of the
    rules prescribed in this chapter, as evidence of his assent thereto. §5. The provisions of the
    foregoing four sections shall not apply or extend to the keeping or storing of metallic cartridges
    in fire proof magazines, nor to cartridge manufacturers, so long as they shall keep their powder
    in canisters, as prescribed in section one, and in fire proof magazines, located and built to the
    satisfaction of the City Council so long as such manufacturers allow no more than one hundred
    pounds of gunpowder in any magazine, or five pounds of gunpowder not made into cartrdiges, in
    any workshop at any one time.

    1906 Mass. Acts 150, ch. 172, An Act to Regulate by License the Carrying of Concealed
    Weapons
    Section 2. Whoever, except as provided by the laws of this Commonwealth, carries on his person
    a loaded pistol or revolver, without authority or permission as provided in section one of this act,
    or whoever carries any stiletto, dagger, dirk-knife, slung-shot or metallic knuckles, shall upon
    conviction be punished by a fine of not less than ten nor more than one hundred dollars, or by
    imprisonment for a term not exceeding one year, or by both such fine and imprisonment.

    1922 Mass. Acts 563, ch. 485, An Act Relative to the Sale and Carrying of Firearms, ch. 485, § 8
    (amending § 130)
    § 8 (amending § 130). Whoever sells or furnishes to a minor under the age of fifteen, or to an
    unnaturalized foreign born person who has who has not a permit to carry firearms under section
    one hundred and thirty-one, any firearm, air gun or other dangerous weapon or ammunition
    therefor shall be punished by a fine of not less than ten nor more than fifty dollars, but instructors
    and teachers may furnish military weapons to pupils for instruction and drill.

    1927 Mass. Acts 413, An Act Relative to Machine Guns and Other Firearms, ch. 326, §§ 1-2
    (amending §§ 121, 123)
    In sections one hundred and twenty-two to one hundred and twenty-nine, inclusive, “firearms”
    includes a pistol, revolver or other weapon of any description, loaded or unloaded, from which a
    shot or bullet can be discharged and of which the length of barrel, not including any revolving,
    detachable or magazine breach, does not exceed twelve inches, and a machine gun, irrespective
    of the length of the barrel. Any gun of small arm calibre designed for rapid fire and operated by a
    mechanism, or any gun which operates automatically after the first shot has been fired, either by
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   gas action or recoil action, shall be deemed to be a machine gun for the purposes of said sections,
   and of sections one hundred and thirty-one and one hundred and thirty one B... § 2... Eighth,
   That no pistol or revolver shall be sold, rented or leased to a person who has not a permit, then in
   force, to purchase, rent or lease the same issued under section one hundred and thirty-one A, and
   that no machine gun shall be sold, rented or leased to a person who has not a license to possess
   the same issued under section one hundred and thirty-one...

   MICHIGAN

   The Revised Charter and Ordinances of the City of Detroit Page 150, Image 151 (1848) available
   at The Making of Modern Law: Primary Sources. 1848
   [Ordinances of Detroit,] Prevention of Fires, § 9. No person shall fire or set off any squib,
   cracker, gunpowder or fire works, or fire any gun or pistol in any part of this city, unless by
   written permission of the Mayor or two Aldermen, which permission shall limit the time of such
   firing, and shall be subject to be revoked at any time by the Common Council; and any person or
   persons violating any of the provisions of this section, shall forfeit the penalty of five dollars for
   each and every offence. § 10. Every person firing a cannon within this city, unless by permission
   of the Mayor or two Aldermen, shall forfeit the penalty of twenty-five dollars: Provided, that
   nothing in this or the preceding section shall be construed to prohibit any military company from
   firing any gun or cannon when authorized by their commanding officer or officers.

   1895 Mich. Local Acts 596, § 44
   SEC. 44. No person shall fire or discharge any gun or pistol firearms or fireworks, or carry
   firearms, or throw stones or other missiles within said park or boulevard, nor shall any person
   fire, discharge or set off any rocket, cracker, torpedo, squib or other fireworks or things
   containing any substance of any explosive character on said park or boulevard, without the
   permission of said commissioners, and then only under such regulations as they shall prescribe.

   1913 Mich. Pub. Acts 472, An Act Providing for the Registration of the Purchasers of Guns,
   Pistols, Other Fire-arms and Silencers for Fire-arms and Providing a Penalty for Violation, § 1-2.
   Every person, firm or corporation engaged in any way or to any extent in the business of selling
   at retail guns, pistols, other fire-arms and silencers for fire-arms shall keep a register in which
   shall be entered the name, age, occupation and residence (if residing in the city with the street
   number of such residence) of each and every purchaser of such guns, pistols, other fire-arms or
   silencers for fire-arms together with the number or other mark of identification, if any, on such
   gun, pistol, other fire-arms or silencer for firearms which said register shall be open to the
   inspection of all peace officers at all times. § 2. Every person violating any of the provisions of
   this act shall be deemed guilty of a misdemeanor and shall upon conviction be subject to a fine of
   not more than fifty dollars or to imprisonment in the county jail for not more than ten days or to
   both such fine and imprisonment in the discretion of the court.

   1925 Mich. Pub. Acts 473, An Act to Regulate the Possession and Sale of Pistols, Revolvers and
   Guns; to Provide a Method of Licensing Those Carrying Such Weapons Concealed; and to
   Provide Penalties for Violations of Such Regulations, § 2-4.
   § 2. Any person who shall commit or attempt to commit a felony when armed with a pistol,
   revolver or gun, as defined in section one, shall, in addition to the punishment provided for
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   committing the crime, be punished by imprisonment for not less than two nor more than five
   years within the discretion of the court. § 3. The court shall have power to sentence any person
   who may be convicted of a second offense to double the addition penalty imposed under section
   two thereof for carrying such concealed weapon without a license. § 4. In the trial of a person for
   the commission of murder, assault with intent to do great bodily harm, robbery, larceny, or any
   attempt to commit any of such offenses, the fact that he was armed with a pistol, revolver or gun
   as herein defined and had no permit to carry the same, shall be prima facie evidence of his
   intention to commit the crime with which he is charged[.]
   No person shall carry a pistol, revolver or gun concealed on or about his person or in any vehicle
   owned or operated by him, except in his dwelling house, place of business or on his premises,
   without a license therefor, as hereinafter provided. The provisions of this section, however, shall
   not apply to the regular and ordinary transportation of pistols, revolvers or guns as merchandise,
   or to any member of the army, navy or marine corps of the United States, or to the national guard
   when on duty, or organizations by law authorized to purchase or receive such weapons from the
   United States or from this state, nor to duly authorized military organizations when on duty, nor
   to the members thereof when going to or returning from their customary places of assembly, nor
   to wholesale or retail dealers therein, nor to peace officers of the state.

   1925 Mich. Pub. Acts 47, An Act to Regulate the Possession and Sale of Pistols, Revolvers and
   Guns; to Provide a Method of Licensing Those Carrying Such Weapons Concealed; and to
   Provide Penalties for Violations of Such Regulations, § 7.
   No person shall deliver or otherwise transfer a pistol, revolver or gun as defined in this act, to a
   person unless it be securely wrapped and unloaded. Before the same is delivered to the
   purchaser, he shall sign in triplicate and deliver to the seller a statement containing his full name,
   address, occupation, nationality, the date of sale, the caliber, make, model and manufacturer’s
   number of the weapon. The seller shall, within thirty days thereafter, sign and mail by registered
   letter one copy thereof to the secretary of state, one copy to the chief of police of the city or
   village in which the same was sold or to the sheriff of the county of which the seller is a resident
   and shall retain the other copy. This section shall not apply to sales at wholesale. Any person
   convicted of wilfully violating the provisions of this section shall be punished by a fine of not
   less than one hundred dollars or by imprisonment of not more than one year or by both such fine
   and imprisonment in the discretion of the magistrate.

   1927 Mich. Pub. Acts 888-89, An Act to Regulate and License the Selling, Purchasing,
   Possessing and Carrying of Certain Firearms, § 3.
   It shall be unlawful within this state to manufacture, sell, offer for sale, or possess any machine
   gun or firearm which can be fired more than sixteen times without reloading, or any muffler,
   silencer or device for deadening or muffling the sound of a discharged firearm, or any bomb or
   bombshell, or any blackjack, slung shot, billy, metallic knuckles, sandclub, sandbag or bludgeon.
   Any person convicted of a violation of this section shall be guilty of a felony and shall be
   punished by a fine not exceeding one thousand dollars or imprisonment in the state prison not
   more than five years, or by both such fine and imprisonment in the discretion of the court....

   1927 Mich. Pub. Acts 891, An Act to Regulate and License the Selling, Purchasing, Possessing
   and Carrying of Certain Firearms, § 9.
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   SEC. 9. On or before the first day of November, nineteen hundred twenty-seven, any person
   within this state who owns or has in his possession a pistol as defined in this act, shall, if he
   reside in an incorporated city or an incorporated village having an organized police department,
   present such weapon for safety inspection to the commissioner or chief of police of such city or
   village; if such person reside in a part of the county not included within the corporate limits of
   such city or village he shall so present such pistol for safety inspection to the sheriff of such
   county. Any person owning or coming into possession of a pistol after the first day of November,
   nineteen hundred twenty-seven, shall forthwith present such pistol for safety inspection in the
   manner provided in this section. A certificate of inspection shall thereupon be issued in triplicate
   on a form provided by the commissioner of public safety, containing the name, age, address,
   description and signature of the person presenting such pistol for inspection, together with a full
   description thereof; the original of such certificate shall be delivered to the registrant; the
   duplicate thereof shall be mailed to the commissioner of public safety and field and indexed by
   him and kept as a permanent official record for a period of six years, and the triplicate of such
   certificate shall be retained and filed in the office of said sheriff, or commissioner or chief of
   police, as the case may be. The provisions of this section shall not apply to wholesale or retail
   dealers in firearms or to collections of pistols kept solely for the purpose of display, as relics,
   souvenirs, curios or antiques, nor to weapons heretofore registered under the provisions of
   section eleven of act number three hundred thirteen of the public acts of nineteen hundred
   twenty-five. Any person who fails to comply with the provision of this section shall be guilty of
   a misdemeanor and shall be punished by a fine not exceeding one hundred dollars or
   imprisonment in the county jail not exceeding ninety days, or by both such fine and
   imprisonment in the discretion of the court.

   MINNESOTA

   Henry John Horn, The Charter and Ordinances of the City of St. Paul, Together with Legislative
   Acts Relating to the City, and the State Constitution, in an Appendix Page 113, Image 114
   (1858) available at The Making of Modem Law: Primary Sources. 1858
   Revised Ordinances [of the City of St. Paul], An Ordinance to Restrain the Use of Fire Arms and
   the Exhibition of Fire Works. The Common Council of the City of Saint Paul do ordain as
   follows: § 1. It shall not be lawful for any person to fire or discharge any cannon, gun, fowling
   piece, pistol or fire arms of any description, or fire, explode or set off any squib, cracker or other
   thing containing powder or other combustible or explosive material, or to exhibit any fire works
   or make or exhibit any bonfire, within the limits of said city, without permission from the
   Common Council or written permission from the Mayor, which permission shall limit the time of
   such firing, and shall be subject to be revoked by the Common Council at any time after it has
   been granted. §2. Any person violating any provision of this ordinance, shall on conviction
   thereof, be punished by a fine not exceeding one hundred dollars.

   The Charter and Ordinances of the City of St. Paul, (To August 1st, 1863, Inclusive,) Together
   with Legislative Acts Relating to the City. Page 166-167, Image 167-168 (1863) available at The
   Making of Modem Law: Primary Sources. 1858
   Ordinances of the City of St. Paul, An Ordinance to Regulate the Sale of Gunpowder, § 1. No
   person shall keep, sell or give away gunpowder or guncotton in any quantity without first having
   paid into the City Treasurer the sum of five dollars, and obtain from the Common Council a
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  permission in writing, signed by the Mayor and Clerk, and sealed with the corporate seal, under a
  penalty not exceeding fifty dollars, for every offence, provided any person may keep for his own
  use not exceeding one pound of powder or one pound of gun cotton, at one and the same time. §
  2. All applications for permits shall be addressed to the Common Council, in writing, signed by
  the applicant. Not exceeding four permits shall be granted in any one block; when the number of
  applications in any block shall at any time exceed the numbers to be granted, the requisite
  number shall by chosen by ballot. When issued, the Clerk shall make an entry thereof in a
  register to be provided for the purpose which entry shall state the name and place of business,
  and date of permits. Persons to whom permits may be issued, shall not have or keep at their place
  of business or elsewhere within the city, a greater quantity of gunpowder or guncotton than fifty
  pounds at one time, and the same shall be kept in tin canisters or cans, or kegs securely looped
  and headed, containing not to exceed twenty-five pounds each and in a situation remote from
  fires or lighted lamps, candles or gas, from which they may be easily removed in case of fire.
  Nor Nor shall any person sell or weigh any gunpowder or guncotton, after the lighting of lamps
  in the evening, unless in sealed canisters or cans. It shall be the duty of every person to whom a
  permit shall be given to keep a sign at the front door of his place of business, with the word
  “gunpowder” painted or printed thereon in large letters. Any person violating any clause of this
  section, shall, upon conviction therof be punished by a fine of not less than ten, nor more than
  one hundred dollars. § 3. No person shall convey or carry any gunpowder or guncotton,
  exceeding (one pound in quantity) through any street or alley in the city, in any cart, carriage,
  wagon, dray, wheelbarrow, or otherwise, unless the said gunpowder or guncotton be secured in
  tight cans or kegs well headed and hooped, sufficient to prevent such gunpowder or guncotton
  from being spilled or scattered, under a penalty of fifty dollars. § 4. All permissions granted
  under this ordinance shall expire on the second Tuesday of May in each year; and no permit shall
  be granted to any retailer of intoxicating liquors, or to any intemperate person. The clerk shall be
  entitled to a fee of one dollar for every permit which may be issued.

   W. P. Murray, The Municipal Code of Saint Paul: Comprising the Laws of the State of
   Minnesota Relating to the City of Saint Paul, and the Ordinances of the Common Council;
   Revised to December 1, 1884 Page 289, Image 295 (1884) available at The Making of Modem
   Law: Primary Sources. 1882
   Concealed Weapons - License, § 1. It shall be unlawful for any person, within the limits of the
   city of St. Paul, to carry or wear under his clothes, or concealed about his person, any pistol or
   pistols, dirk, dagger, sword, slungshot, cross-knuckles, or knuckles of lead, brass or other metal,
   bowie-knife, dirk-knife or razor, or any other dangerous or deadly weapon. § 2. Any such
   weapons or weapons, duly adjudged by the municipal court of said city to have been worn or
   carried by any person, in violation of the first section of this ordinance, shall be forfeited or
   confiscated to the said city of St. Paul, and shall be so adjudged. § 3. Any policeman of the city
   of St. Paul, may, within the limits of said city, without a warrant, arrest any person or persons,
   whom such policeman may find in the act of carrying or wearing under their clothes, or
   concealed about their person, any pistol or pistols, dirk, dagger, sword, slungshot, cross­
   knuckles, or knuckles of lead, brass or other metal, bowie-knife, dirk-knife or razor, or any other
   dangerous or deadly weapon, and detain him, her or them in the city jail, until a warrant can be
   procured, or complaint made for the trial of such person or persons, as provided by the charter of
   the city of St. Paul, for other offenses under said charter, and for the trial of such person or
   persons, and for the seizure and confiscation of such of the weapons above referred to, as such
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   person or persons may be found in the act of carrying or wearing under their clothes, or
   concealed about their persons.

   George Brooks Young. General Statutes of the State of Minnesota in Force January 1, 1889 Page
   1006, Image 1010 (Vol. 2,1888) available at The Making of Modem Law: Primary Sources.
   1888.
   Making, Selling, etc., Dangerous Weapons, § 333. A person who manufactures, or causes to be
   manufactured, or sells, or keeps for sale, or offers or gives or disposes of any instrument or
   weapon of the kind usually known as slung-shot, sand-club, or metal knuckles, or who, in any
   city of this state, without the written consent of a magistrate, sells or gives any pistol or fire-arm
   to any person under the age of eighteen years, is guilty of a misdemeanor. Carrying, using, etc.,
   certain Weapons, § 334. A person who attempts to use against another, or who, with intent so to
   use, carries, conceals, or possesses any instrument or weapon of the kind commonly known as a
   slung-shot, sand-club, or metal knuckles, or a dagger, dirk, knife, pistol or other fire-arm, or any
   dangerous weapon, is guilty of a misdemeanor.

   Harry Toulmin, Ordinances of the City of Saint Paul, from May, 1887, to July, 1889 Page 90,
   Image 90 (1889) available at The Making of Modem Law: Primary Sources. 1889
   Ordinances of the City of St. Paul, [Establishing and Fixing the License to be Paid to the City of
   St. Paul for Conducting, Managing or Carrying on Either or any of the Different Branches of
   Business Hereinafter Mentioned and Limiting the Duration Thereof, and Also Repealing Certain
   Ordinances Herein Named,] § 2. The different and various kinds of business, employments and
   avocations for which licenses are hereby fixed and established, and the sum and amount of the
   license for each separate one are as follows, to wit: Gun powder.....................$15.00.

   MISSISSIPPI

    1804 Miss. Laws 90-91, An Act Respecting Slaves, § 4.
    [Slaves not to carry offensive or defensive weapons], [N]o Slave shall keep or carry any gun,
   powder, shot, club or other weapon whatsoever offensive or defensive, except tools given him to
   work with, or that he is ordered by his master, mistress or overseer to carry the said articles from
   one place to another, but all, and every gun, weapon or ammunition found in the possession or
   custody of any slave, may be seized by any person, and upon due proof thereof made before any
   justice of the peace of the county or corporation, where such seizure shall be made, by his order,
   be forfeited to the seizer for his own use; and moreover, every such offender shall have and
   receive by order of such justice, any number of lashes not exceeding thirty nine, on his bare back
   for every such offence: Provided nevertheless, That any justice of the peace may grant, in his
   proper county, permission in writing, to any slave, on application of his master, or overseer to
   carry and use a gun and ammunition within the limits of his said master’s or owner’s plantation,
   for a term not exceeding one year, and recoverable, at any time within such term, at the
   discretion of said justice.

   [REGULATORY TAX] 1867 Miss. Laws 327-28, An Act To Tax Guns And Pistols in The
   County Of Washington, ch. 249, § 1.
   [A] tax of not less than five dollars or more than fifteen dollars shall be levied and assessed
   annually by the board of Police of Washington county upon every gun and pistol which may be
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  in the possession of any person in said county, which tax shall be payable at any time on
  demand, by the Sheriff, and if not so paid, it shall be the duty of the Sheriff to forthwith distrain
  and seize such gun or pistol, and sell the same for cash at the door of the Court House, after
  giving ten days notice by advertisement, posted in front of said Court House, and out of the
  proceeds of such sale, there shall be paid the amount of such tax and the cost of sale, and if any
  surplus remains, it shall be paid to the owner of such gun or pistol. The amount of the tax so
  assessed and collected, shall be paid to the county Treasurer, and shall constitute a part of the
  bridge fund of said county.

  1906 Miss. Laws 367, Privilege Taxes, eh. 114, § 3887.
  Dealers in Deadly Weapons: On each person or firm dealing in pistols, dirk knives, sword canes,
  brass or metallic knuckles, or other deadly weapons (shotguns and rifles excepted) - 100.00. And
  which shall be in addition to all and any other taxes or privileges paid. On each firm or dealer
  selling air guns, target or flobert rifles (and this shall apply even if the same has a license to sell
  merchandise, pistols or cartridges) - $25.00.

  MISSOURI

  Henry S. Geyer, A Digest of the Laws of Missouri Territory. Comprising: An Elucidation of the
  Title of the United States to Louisiana:-Constitution of the United States:-Treaty of Session:-
  Organic Laws:-Laws of Missouri Territory, (Alphabetically Arranged):-Spanish Regulations for
  the Allotment of Lands:- Laws of the United States, for Adjusting Titles to Lands, &c. to Which
  are Added, a Variety of Forms, Useful to Magistrates Page 374, Image 386 (1818) available at
  The Making of Modem Law: Primary Sources. 1818
  Slaves, § 3. No slave or mulatto whatsoever, shall keep or carry a gun, powder, shot, club or
  other weapon whatsoever, offensive or defensive; but all and every gun weapon and ammunition
  found in the possession or custody of any negro or mulatto, may be seized by any person and
  upon due proof made before any justice of the peace of the district [county] where such seizure
  shall be, shall by his order be forfeited to the seizor, for his own use, and moreover, every such
  offender shall have and receive by order of such justice any number of lashes not exceeding
  thirty nine on his or her bare back well laid on for every such offence. § 4. Every free negro or
  mulatto, being a housekeeper may be permitted to keep one gun, powder and shot; and all
  negroes or mulattoes bond or free, living at any frontier plantation, may be permitted to keep and
  use guns, powder shot and weapons, offensive and defensive, by license from a justice of the
  peace of the district [county] wherein such plantation lies, to be obtained upon the application of
  free negroes or mulattoes or of the owners of such as are slaves.

   Adam B. Chambers, The Revised Ordinances of the City of Saint Louis, Revised and Digested
   by the Fifth City Council during the First Session, Begun and Held in the City of St. Louis, on
   the Second Monday of May, A. D. 1843. with the Constitutions of the United States and the
   State of Missouri, and the City Charter Page 304, Image 305 (1843) available at The Making of
   Modem Law: Primary Sources. 1843
   [Ordinances of Kansas City,] Misdemeanors, § 10. Every person who shall discharge any cannon
   or other ordinance, or fire off any carbine, fusil, rifle, musket, gun, pistol, or other arms, or set
   off any squib or cracker, or fly any kite in the air, within the city, shall be deemed guilty of a
   misdemeanor. This section shall not apply to the firing of salutes by any military corps, or to the
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  firing of salutes upon any occasion of general public interest. Provided, such firing be caused by
  persons, associations or companies, volunteers or otherwise, who may be engaged in lawful
  celebrations of public rejoicings, or in the lawful military exercises of said companies or
  volunteers; nor to prevent any manufacturer from trying or proving the articles manufactured by
  him within the limits of the city, provided the same be done without danger or injury to the
  neighborhood. §11. Every person who shall fire any heavy cannon, or set off any rockets or fire
  works, or illuminate in any unusual manner any house or building, without first having obtained
  written permission from the Mayor, specifying the time and place, when and where the same
  shall be allowed, shall be deemed guilty of a misdemeanor.

  1844 Mo. Laws 577, An Act To Restrain Intercourse With Indians, ch. 80, § 4.
  No person shall sell, exchange or give, to any Indian, any horse, mule, gun, blanket, or any other
  article or commodity whatever, unless such Indian shall be traveling through the state, and leave
  a written permit from the proper agent, or under the direction of such agent in proper person.

  1854 Mo. Laws 1094, An Act Concerning Free Negros and Mulattoes, ch. 114, §§ 2-3.
  § 2. No free negro or mulatto shall be suffered to keep or carry any firelock, or weapon of any
  kind, or any ammunition, without license first had and obtained for the purpose, from a justice of
  the peace of the county in which such free negro or mulatto resides, and such license may be
  revoked at any time by the justice granting the same or by any justice of the county. § 3. Any
  gun, firelock, or weapon of any kind, or any ammunition, found in the possession of any free
  negro or mulatto not having a license, as required by the last preceding section, may be seized by
  any person, and upon due proof thereof, before any justice of the peace of the county in which
  such seizure shall have been made, shall be forfeited by order of such justice, to the person
  making the seizure, for his own use.

  Everett Wilson Pattison, The Revised Ordinance of the City of St. Louis, Together with the
  Constitution of the United States, and of the State of Missouri; the Charter of the City; and a
  Digest of the Acts of the General Assembly, Relating to the City Page 491-492, Image 499-500
  (1871) available at The Making of Modem Law: Primary Sources. 1871
  Ordinances of the City of St. Louis, Misdemeanors, § 9. Hereafter it shall not be lawful for any
  person to wear under his clothes, or concealed about his person, any pistol, or revolver, colt,
  billy, slung shot, cross knuckles, or knuckles of lead, brass or other metal, bowie knife, razor,
  dirk knife, dirk, dagger, or any knife resembling a bowie knife, or any other dangerous or deadly
  weapon, within the City of St. Louis, without written permission from the Mayor; and any person
  who shall violate this section shall be deemed guilty of a misdemeanor, and, upon conviction
  thereof, be fined not less than ten nor more than five hundred dollars for each and every offence.
  § 10. Nothing in the preceding section shall be so construed as to prevent any United States,
  State, county or city officer, or any member of the city government, from carrying or wearing
  such weapons as may be necessary in the proper discharge of his duties.

  An Ordinance in the Revision of the Ordinances Governing the City of Kansas (Kansas City,
  MO; Isaac P. Moore’s Book and Job, 1880), p. 264, Sec. 3. 1880
  Chapter XXXIV. Public Safety....
  Sec. 3. No person shall, in this city, wear under his clothes or concealed about his person, any
  pistol or revolver, except by special permission from the Mayor; nor shall any person wear under
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  his clothes, or concealed about his person, any slung-shot, cross knuckles, knuckles of lead, brass
  or other metal, or any bowie knife, razor, billy, dirk, dirk-knife or dagger, or any knife
  resembling a bowie knife, or any other dangerous or deadly weapon. Any person, violating any
  provision or requirement of this section, shall be deemed guilty of a misdemeanor, and, upon
  conviction thereof before the City Recorder, shall be fined not less than fifty dollars nor more
  than five hundred dollars : Provided, however. That this section shall not be so construed as to
  prevent any United States, State, County or City officer, or any member of the City government,
  from carrying such weapons as may be necessary in the proper discharge of his duties.

  Henry Smith Kelley, Laws Applicable to and Governing the City of Saint Joseph, Mo., As a City
  of the Second Class, Contained in the Revised Statutes of 1879, and Subsequent Legislative
  Enactments; Also the General Ordinances Now in Force, Revised and Made to Conform to the
  Laws Governing Such Cities Page 192, Image 222 (1888) available at The Making of Modem
  Law: Primary Sources. 1888
  General Ordinances [of the City of St. Joseph], [Amusement-Shows,] Shooting Gallery; license
  for. — § 3. No person shall carry on or take part in carrying on, any pistol gallery or shooting
  gallery, without a license therefor from said city; and the charge for such license shall be five
  dollars per month.

  The Municipal Code of St. Louis (St. Louis: Woodward 1901), p.738. Sec. 1471. 1892
  Chapter 18. Of Misdemeanors.
  Sec. 1471. Concealed weapons - carrying of, prohibited.
  Hereafter it shall not be lawful for any person to wear under his clothes, or concealed about his
  person, any pistol or revolver, colt, billy, slung shot, cross knuckles, or knuckles of lead, brass or
  other metal, bowie knife, razor, dirk knife, dirk, dagger, or any knife resembling a bowie knife or
  any other dangerous or deadly weapon, within the City of St. Louis, without written permission
  from the mayor; and any person who shall violate this section shall be deemed guilty of a
  misdemeanor, and upon conviction thereof, be fined not less than ten nor more than five hundred
  dollars for each and every offense.

  The Revised Ordinances of the City of Huntsville, Missouri, of 1894. Collated, Revised, Printed
  and Published by Authority of the Mayor and Board of Aldermen of the City of Huntsville,
  Missouri, Under an Ordinance of the Said City, Entitled: “An Ordinance in Relation to
  Ordinances, and the Publication Thereof.” Approved on the 11th Day of June, 189 Page 58-59,
  Image 58-59 (1894) available at The Making of Modem Law: Primary Sources. 1894
  Ordinances of the City of Huntsville, An Ordinance in Relation to Carrying Deadly Weapons, §
  1. If within the city any person shall carry concealed upon or about his person any deadly or
  dangerous weapon, or shall go into any church or place where people have assembled for
  religious worship, or into any school room or place where people are assembled for educational,
  literary or social purposes, or to any election precinct on any election day, or into any court room
  during the sitting of court, or into any other public assemblage of persons met for any lawful
  purpose other than for militia drill or meetings called under militia law of the state, having upon
  or about his person any kind of fire arms, bowie-knife, dirk, dagger, sling-shot, or other deadly
  weapon or shall in the presence of one or more persons exhibit any such weapon in a mde, angry
  or threatening manner, or shall have or carry any such weapon upon or about his person when
  intoxicated or under the influence of intoxicating drinks, he shall be deemed guilty of a
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   misdemeanor, and upon conviction thereof, shall be punished by a fine of not less than five nor
   more than one hundred dollars, or by imprisonment in the city prison not exceeding thirty days
   nor less than five days or by both such fine and imprisonment; provided, the Mayor may grant
   permission to any person to discharge gun, pistol or other firearms under the proper
   circumstances shown to him. § 2. The next preceding section shall not apply to police officers,
   nor to any officer or person whose duty it is to exercise process or warrants, or to suppress
   breaches of the peace or to make arrests, nor to persons moving or travelling peaceably through
   this state; and it shall be good defense to the charge of carrying such weapon, if the defendant
   shall show that he has been threatened with great bodily harm, or had good reason to carry the
   same in the necessary defense of his home, person or property.

   Francis M. Wilson, The Revised Statutes of the State of Missouri, 1899. To This Volume are
   Annexed the Acts of Congress in Relation to the Election of United States Senators, in Relation
   to Fugitives from Justice, Concerning Naturalization and the Authentication of Public Records;
   an Appendix Containing the Scheme and Charter of and Laws Specially Applicable to the City
   of St. Louis and the Acts Establishing the Criminal Court of the Fifteenth Circuit, the Criminal
   Court of Jackson County, the Criminal Court of Buchana County, the Criminal Court of Greene
   County, the Louisiana Court of Common Pleas, the Hannibal Court of Common Pleas, the Cape
   Girardeau Court of Common Pleas and the Sturgeon Court of Common Pleas. Revised and
   Promulgated by the Fortieth General Assembly Page 1752, Image 645 (Vol. 2, 1899) available at
   The Making of Modem Law: Primary Sources. 1899
   [Permit to Keep Explosives, § 7457. No person, corporation or joint-stock company shall, on and
   after ten days after this article shall take effect, have retain or keep in his possession or under his
   or her control, nor sell, give away or in any manner or way dispose of dynamite, giant powder,
   nitro-glycerine or any explosive substance, except gunpowder and blasting powder for ordinary
   purposes, without first obtaining a permit authorizing the same from the clerk of the county
   court, or mayor of the city of St. Louis, in whichever county or city such applicant may desire to
   do such business, nor without first making and delivering the affidavit required by the next
   succeeding section of this article.]

   1921 Mo. Laws 691, 692
   Section 1. Pistol, revolver or firearms to be plainly marked. No wholesaler or dealer therein shall
   have in his possession for the purpose of sale, or shall sell, any pistol, revolver, or other firearm
   of a size which may be concealed upon the person, which does not have plainly and permanently
   stamped ,upon the metallic portion thereof, the trademark or name of the maker, the model and
   the serial factory number thereof, which number shall not be the same as that of any other such
   weapon of the same model made by the same maker, and the maker, and no wholesale or retail
   dealer therein shall have in his possession for the purpose of sale, or shall sell, any such weapon
   unless he keep a full and complete record of such description of such weapon, the name and
   address of the person from whom purchased and to whom sold, the date of such purchase or sale,
   and in the’ case of retailers the date of the permit and the name of the circuit clerk granting the
   same, which record shall be open to inspection at all times by any police officer or other peace
   officer of this state.
   Sec. 2. Shall secure permit to acquire weapon.-No person, other than a manufacturer or
   wholesaler thereof to or from a wholesale or retail dealer therein, for the purposes of commerce,
   shall directly or indirectly buy, sell, borrow, loan, give away, trade, barter; deliver or receive, in
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   this state, any pistol, revolver or other firearm of a size which may be concealed upon the person,
   unless the buyer, borrower or person receiving such weapon shall first obtain and deliver to, and
   the same be demanded and received by, the seller, loaner, or person delivering such weapon,
   within thirty days after the issuance thereof, a permit authorizing such person to acquire such
   weapon. Such permit shall be issued by the circuit clerk of the county in which the applicant for
   a permit resides in this state, if the sheriff be satisfied that the person applying for the same is of
   good moral character and of lawful age, and that the granting of the same will not endanger the
   public safety. The permit shall recite the date of the issuance thereof and that the same is invalid
   after thirty days after the said date, the -name and address of the person to whom granted and of
   the person from whom such weapon is to be acquired, the nature of the transaction, and a full
   description of such weapon, and shall be countersigned by the person to whom granted in the
   presence of the circuit clerk. The circuit clerk shall receive therefor a fee of $0.50. If the permit
   be used, the person receiving the same shall return it to the circuit clerk within thirty days after
   its expiration, with a notation thereon showing the date and manner of the disposition of such
   weapon. The circuit clerk shall keep a record of all applications for such permits and his action
   thereon, and shall preserve all returned permits. No person shall in any manner transfer, alter or
   change any such permit or make a false notation thereon or obtain the same upon any false
   representation to the circuit clerk granting the same, or use or attempt to use a permit granted to
   another.
   Sec. 3. Weapons must be stamped.-No person within this state shall lease, buy or in anywise
   procure the possession from any person, firm or corporation within or without the state, of any
   pistol, revolver or other firearm of a size which may be concealed upon the person, that is not
   stamped as required by section 1 of this act; and no person shall buy or otherwise acquire the
   possession of any such article unless he shall have first procured a written permit so to do from
   the circuit clerk of the county in which such person resides, in the manner as provided in section
   2 of this act.
   Sec. 4. Manufacture not prohibited.-Nothing herein contained shall be considered or construed as
   forbidding or making it unlawful for a dealer in or manufacturer of pistols, revolvers or other
   firearms of a size which may be concealed upon the person, located in this state, to ship into
   other states or foreign countries, any such articles whether stamped as required by this act or not
   so stamped.

   MONTANA

   Decius Spear Wade, The Codes and Statutes of Montana. In Force July 1st, 1895. Including the
   Political Code, Civil Code, Code of Civil Procedure and Penal Code. As Amended and Adopted
   by the Fourth Legislative Assembly, Together with Other Laws Continued in Force Page 873,
   Image 914 (Vol. 2, 1895) available at The Making of Modem Law: Primary Sources. 1895
   Crimes Against the Public Peace, § 759: Every person who brings into this state an armed person
   or armed body of men for the preservation of the peace or the suppression of domestic violence,
   except at the solicitation and by the permission of the legislative assembly or of the governor, is
   punishable by imprisonment in the state prison not exceeding ten years and by a fine not
   exceeding ten thousand dollars.

   1913 Mont. Laws 53, An Act to Provide that Aliens Shall Pay a Gun License, and Providing a
   Penalty for Failure to Obtain License; to Provide for and Regulate the Duties of the Game and
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   Fish Warden and His Deputies, and to Provide for the Disposition of the Fines so Collected, ch.
   38, §1.
   There is hereby created a gun license for aliens. No person not a bona fide citizen of the United
   States shall own or have in his possession, in the State of Montana, any gun, pistol or other
   firearm without first having obtained from the Game and Fish Warden a license therefor, which
   said license shall cost the owner of said firearm the sum of Twenty-five ($25) Dollars, and shall
   expire one year from date of issuance thereof; provided, however, that this section shall not
   apply to one who has obtained the Twenty-five ($25) Dollar hunting license required by the laws
   of Montana; provided, further, that the provisions of this section shall not apply to any alien who
   is a bona fide resident of the State of Montana and the owner of not less than one hundred and
   sixty acres of land therein, nor shall it apply to any settler on the public lands of the State of
   Montana who shall have begun to acquire land under the laws of the United States by filing
   thereon, nor shall it apply to persons engaged in tending or herding sheep or other animals, held
   in herd.

   1918 Mont. Laws 6-7,9, An Act Entitled “An Act Providing for the Registration of All Fire
   Arms and Weapons and Regulating the Sale Thereof and Defining the Duties of Certain County
   Officers and Providing Penalties for a Violation of the Provisions of This Act,” ch. 2, §§ 1, 3, 8.
   § 1. Within thirty days from the passage and approval of this Act, every person within the State
   of Montana, who owns or has in his possession any fire arms or weapons shall make a full, true,
   and complete verified report upon the form hereinafter provided to the sheriff of the County in
   which such person lives, of all fire arms and weapons which are owned or possessed by him or
   her or are in his or her control, and on sale or transfer into the possession of any other person
   such person shall immediately forward to the sheriff of the County in which such person lives the
   name and address of that purchaser and person into whose possession or control such fire arm or
   weapon was delivered. § 3. Any person signing a fictitious name or address or giving any false
   information in such report shall be guilty of misdemeanor, and any person failing to file such
   report as in this Act provided, shall be guilty of a misdemeanor. § 8. For the purpose of this Act a
   fire arm or weapon shall be deemed to be any revolver, pistol, shot gun, rifle, dirk, dagger, or
   sword.

   NEBRASKA

   1869 Neb. Laws 53, An Act to Incorporate Cities of the First Class in the State of Nebraska, §
   47.
   The City Council shall have power to license all... vendors of gunpowder [.]

   1895 Neb. Laws 210, Laws of Nebraska Relating to the City of Lincoln, An Ordinance
   Regulating and Prohibiting the Use of Fire-arms, Fire-works and Cannon in the City of Lincoln .
   . . Prescribing Penalties for Violation of the Provisions of This Ordinance, and Repealing
   Ordinances in Conflict Herewith, Art. XVI, § 6.
   The Mayor may grant to so many and such persons as he may think proper, licenses to carry
   concealed weapons, and may revoke any and all of such licenses at his pleasure. Every such
   license shall state the name, age, occupation, and residence, of the person to whom granted, and
   shall be good for one year. A fee of fifty cents shall be paid therefor to the City Treasurer, and by
   him placed in the police fund.
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   NEW HAMPSHIRE

   1820 N.H. Laws 274-76, An Act to Provide for the Appointment of Inspectors and Regulating
   the Manufacture of Gunpowder, eh. 25, §§ 1-9.
   § 1. [T]he Governor ... is hereby authorized to appoint an inspector of gunpowder for every
   public powder magazine, and at every manufactory of gunpowder in this state, and such other
   places as may by him thought to be necessary [.] § 2. [F]rom and after the first day of July next,
   all gunpowder which shall be manufactured within this state shall be composed of the following
   proportions and quality of materials ... § 3. It shall be the duty of each of said inspectors to
   inspect, examine and prove all gunpowder which after the first day of July shall not be deposited
   at any publick [sic] powder magazine, or manufactory of this state ... § 4. [N]o gunpowder
   within this state shall be considered to be of proof unless one ounce thereof, placed in a chamber
   of a four and an half inch howitzer, with the howitzer elevated so as to form an angle of forty-
   five degrees with the horizon, will, upon being fired throw a twelve pound shot seventy-five
   yards at the least. § 5. [W]henever any of said inspectors shall discover any gunpowder,
   deposited at any public powder magazine, or any other place within this state, which is not well
   manufactured or which is composed of impure materials ... the inspector in such case, shall
   mark each cask containing such impure, ill manufactured, or deficient gunpowder, with the word
   “Condemned” on both heads of the cask ... § 6. [I]f any person shall knowingly sell any
   condemned gunpowder ... every such person, so offending, shall forfeit and pay not less than
   two hundred nor more than five hundred dollars ... § 7. [E]ach inspector ... be sworn to the
   faithful and impartial discharge of the duties of his office, and each inspector shall be allowed
   one cent for each pound of gunpowder, by him examined, inspected and proved ... to be paid by
   the owner or owners of the gunpowder. § 8. [I]f any manufacturer of gunpowder shall sell or
   dispose of, or shall cause or permit to be sold or disposed of, or shall export or cause to be
   exported withou the limits of this state, any powder of his manufacture, before the same has been
   inspected and marked agreeably to the provisions of this act, he shall forfeit and pay the sum of
   fifty cents for every pound of powder so sold, disposed of, or exported, to be recovered in the
   manner provided in the sixth section of this act. § 9. [I]f any person with within this state .. shall
   knowingly sell, expose, or offer for sale, within this state, any gunpowder which is not well
   manufactured, or which is composed of impure materials, and which shall not be composed of
   the proof herein before required, shall forfeit and pay not less than five dollars nor more than
   fifty dollars for each and every offence, to be recovered in the manner provided in the sixth
   section of this act.

   1823 N.H. Laws 73-74, An Act to Establish a System of Police in the Town of Portsmouth, and
   for Other Purposes, ch. 34, § 4.
   That if any person or persons shall within the compact part of the town of Portsmouth, that is to
   say, within one mile of the courthouse, fire or discharge any cannon, gun, pistol or other fire
   arms, or beat any drum, (except by command of a military officer, having authority therefor) or
   fire or discharge any rockets, squibs, crackers, or any preparation of gunpowder, (except by the
   permission of the police officers, or of a major part of them first had in writing) ... every such
   person, for every such act shall be taken and deemed to be an offender against the police of
   Portsmouth, and shall be liable to the penalties hereinafter expressed.
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   The Charter, with Its Amendments and the General Ordinances of the City of Dover Page 32,
   Image 32 (1870) available at The Making of Modem Law: Primary Sources. 1870
   General Statutes [Ordinances of the City of Dover, [New Hampshire] Offences Against the
   Police of Towns,] § 5. No person shall, within the compact part of any town, fire or discharge
   any cannon, gun, pistol, or other fire-arms, or beat any drum, except by command of a military
   officer having authority therefor, or fire or discharge any rockets, squibs, crackers, or any
   preparation of gunpowder, except by permission of a majority of the police officers or selectmen
   in writing, or make any bonfire, or improperly use or expose any friction matches, or knowingly
   raise or repeat any false cry of fire.

   1917 N.H. Laws 727-28, An Act for the Regulation of the Sale and Use of Explosives and
   Firearms, ch. 185, §§ 1-3, 6.
   § 1. No person shall manufacture, sell, or deal in firearms or in gunpowder, dynamite, nitro­
   glycerine, or other form of high explosive, unless he shall first obtain, from the selectmen of the
   town or the chief of police of the city where such business is to be conducted, a written license
   therefor, and no person shall conduct such business within the state but outside the limits of any
   organized town or city, unless he shall first obtain such license from the county commissioners
   of the county in which such business is to be conducted; which license shall specify the building
   where such business is to be carried on or material deposited or used. § 2. No such licensed
   person shall sell or deliver firearms to any person not a citizen of the United States, unless he
   shall have legally declared his intention of becoming a citizen, or any such explosive material or
   compound to any person, except upon presentation of a permit such as is hereinafter provided
   for, nor unless satisfied that the same is to be used for a lawful purpose. § 3. Every person so
   licensed shall keep, on blanks to be furnished by the secretary of state, a record of the names and
   residences of all persons to whom he shall sell or deliver firearms or any such explosive material
   or compound, the purpose of which the same is to be used, the date of sale, the amount paid, the
   date of the purchaser’s permit, the name and title of the person by whom the permit was issued,
   and, within five days after such sale or delivery, shall file such record thereof with the clerk of
   the city or town wherein he sale or delivery was made, or with the county commissioners in case
   of sales or deliveries within the state, but outside the limits of any organized city or town. The
   records thus filed shall at all times be open to the inspection of the police departments, or other
   public authorities. He shall also affix to the receptacle containing such explosive material or
   compound a label with the name of the compound, his own name, and the date of sale.
   § 6. No person not a citizen of the United States or one who has legally declared his intention of
   becoming such a citizen shall have in his possession any firearm or firearms of whatsoever kind
   or description unless he has a written permit to have such possession issued and signed as
   hereinafter provided. Any such person desiring to possess a firearm or firearms for any lawful
   purpose shall first make written application to the chief of police or selectmen of the town
   wherein he resides ... stating the purposes for which the possession of the firearm or firearms is
   desired and a description of the firearm or firearms. The applicant shall also state his full name,
   occupation, place of residence and if in a city the street and number. If such chief of police or
   selectmen or county commissioners are satisfied that the applicant intends to use the firearm or
   firearms in a lawful manner and as set forth in his application, a permit shall be issued, signed by
   the chief of police of the city, a selectmen of the town, or county commissioners, as the case may
   be, giving to the applicant the right to have in his possession such firearm or firearms. The holder
   of any such permit shall keep the permit on his person at all times when he is in possession of the
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   firearm or firearms as authority for such possession and shall exhibit the same when so requested
   by any person.

   1917 N.H. Laws 728-29, An Act for the Regulation of the Sale and Use of Explosives and
   Firearms, ch. 185, § 6.
   No person not a citizen of the United States or one who has legally declared his intention of
   becoming such a citizen shall have in his possession any firearm or firearms of whatsoever kind
   or description unless he has a written permit to have such possession issued and signed as
   hereinafter provided. Any such person desiring to possess a firearm or firearms for any lawful
   purpose shall first make written application to the chief of police or selectmen of the town
   wherein he resides ... stating the purposes for which the possession of the firearm or firearms is
   desired and a description of the firearm or firearms. The applicant shall also state his full name,
   occupation, place of residence and if in a city the street and number. If such chief of police or
   selectmen or county commissioners are satisfied that the applicant intends to use the firearm or
   firearms in a lawful manner and as set forth in his application, a permit shall be issued, signed by
   the chief of police of the city, a selectmen of the town, or county commissioners, as the case may
   be, giving to the applicant the right to have in his possession such firearm or firearms. The holder
   of any such permit shall keep the permit on his person at all times when he is in possession of the
   firearm or firearms as authority for such possession and shall exhibit the same when so requested
   by any person.

   1923 N.H. Laws 138
   SECTION 1. Pistol or revolver, as used in this act shall be construed as meaning any firearm
   with a barrel less than twelve inches in length.
   SECT. 2. If any person shall commit or attempt to commit a crime when armed with a pistol or
   revolver, and having no permit to carry the same, he shall in addition to the punishment provided
   for the crime, be punished by imprisonment for not more than five years.
   SECT. 3. No unnaturalized foreign-bom person and no person who has been convicted of a
   felony against the person or property of another shall own or have in his possession or under his
   control a pistol or revolver, except as hereinafter provided. Violations of this section shall be
   punished by imprisonment for not more than two years and upon conviction the pistol or
   revolver shall be confiscated and destroyed.
   SECT. 4. No person shall carry a pistol or revolver concealed in any vehicle or upon his person,
   except in his dwelling house or place of business, without a license therefor as hereinafter
   provided. Violations of this section shall be punished by a fine of not more than one hundred
   dollars or by imprisonment not exceeding one year or by both fine and imprisonment.
   SECT. 5. The provisions of the preceding sections shall not apply to marshals, sheriffs,
   policemen, or other duly appointed peace and other law enforcement officers, nor to the regular
   and ordinary transportation of pistols or revolvers as merchandise, nor to members of the army,
   navy, or marine corps of the United States, nor to the national guard when on duty, nor to
   organizations by law authorized to purchase or receive such weapons, nor to duly authorized
   military or civil organizations when parading, or the members thereof when at or going to or
   from their customary places of assembly.
   SECT. 6. The selectmen of towns or the mayor or chief of police of cities may, upon application
   of any person issue a license to such person to carry a loaded pistol or revolver in this state, for
   not more than one year from date of issue, if it appears that the applicant has good reason to fear
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   an injury’ to his person or property or for any other proper purpose, and that he is a suitable
   person to be licensed. The license shall be in duplicate and shall bear the name, address,
   description, and signature of the licensee. The original thereof shall be delivered to the licensee,
   the duplicate shall be preserved by the selectmen of towns and the chief of police of the cities
   wherein issued for a period of one year.
   SECT. 7. Any person or persons who shall sell, barter, hire, lend or give to any minor under the
   age of twenty-one years any pistol or revolver shall be deemed guilty of a misdemeanor and shall
   upon conviction thereof be fined not more than one hundred dollars or be imprisoned not more
   than three months, or both. This section shall not apply to fathers, mothers, guardians,
   administrators, or executors who give to their children, wards, or heirs to an estate, a revolver.
   SECT. 8. No person shall sell, deliver, or otherwise transfer a pistol or revolver to a person who
   is an unnaturalized foreign-bom person or has been convicted of a felony against the person
   property of another, except upon delivery of a written permit to purchase, signed by the
   selectmen of the town or the mayor or chief of police of the city. Before a delivery be made the
   purchaser shall sign in duplicate and deliver to the seller a statement containing his full name,
   address, and nationality, the date of sale, the caliber, make, model, and manufacturer’s number of
   the weapon. The seller shall, within seven days, sign and forward to the chief of police of the city
   or selectmen of the town one copy thereof and shall retain the other copy for one year. This
   section shall not apply to sales at wholesale. Where neither party to the transaction holds a
   dealer’s license, no person shall sell or otherwise transfer a pistol or revolver to any person not
   personally known to him. Violations of this section shall be punished by a fine of not more than
   one hundred dollars or by imprisonment for not more than one year, or by both such fine and
   imprisonment.
   SECT. 9. Whoever, without being licensed as hereinafter provided, sells, advertises, or exposes
   for sale, or has in his possession with intent to sell, pistols or revolvers, shall be punished by
   imprisonment for not more than two years.
   SECT. 10. The selectmen of towns and the chief of police of cities may grant licenses, the form
   of which shall be prescribed by the secretary of state, effective for not more than one year from
   date of issue, permitting the licensee to sell at retail pistols and revolvers subject to the following
   conditions, for breach of any of which the license shall be subject to forfeiture:
   1. The business shall be carried on only in the building designated in the license.
   2. The license or a copy thereof, certified by the issuing authority, shall be displayed on the
   premises where it can easily be read.
   3. No pistol or revolver shall be delivered (a) to a purchaser not personally known to the seller or
   who does not present clear evidence of his identity; nor (b) to an unnaturalized foreign-bom
   person or a person who has been convicted of a felony and has no permit as required by section 8
   of this act.
   A true record, in duplicate, shall be made of every pistol or revolver sold, said record to be made
   in a book kept for the purpose, the form of which shall be prescribed by the secretary of state and
   shall be signed by the purchaser and by the person effecting the sale, and shall include the date of
   sale, the caliber, make, model, and manufacturer’s number of the weapon, the name, address, and
   nationality of the purchaser. One copy of said record shall, within seven days, be forwarded to
   the selectmen of the town or the chief of police of the city and the other copy retained for one
   year.
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  SECT. 11. If any person in purchasing or. otherwise securing delivery of a pistol or revolver
  shall give false information or offer false evidence of his identity he shall be punished by
  imprisonment punished, for not more than two years.
  SECT. 12. No person shall change, alter, remove, or obliterate the name of the maker, model,
  manufacturer’s number, or other mark of identification on any pistol or revolver. Possession of
  any such firearms upon which the same shall have been changed, altered, removed, or
  obliterated, shall be presumptive evidence that such possessor has changed, altered, removed or
  obliterated the same. Violations of this section shall be punished by a fine of not more than two
  hundred dollars or by imprisonment for not more
  than one year, or both.
  SECT. 13. All licenses heretofore issued within the state permitting the carrying of pistols or
  revolvers upon the person shall expire at midnight of July 31,1923.
  SECT. 14. This act shall not apply to antique pistols or revolvers incapable of use as such.
  SECT. 15. All acts and parts of acts inconsistent herewith are hereby repealed, and this act shall
  take effect upon its passage.

  NEW JERSEY

  Ordinances of Jersey City, Passed By The Board Of Aldermen since May 1, 1871, under the Act
  Entitled “An Act to Re-organize the Local Government of Jersey City,” Passed March 31, 1871,
  and the Supplements Thereto Page 46, Image 46 (1874) available at The Making of Modem
  Law: Primary Sources. 1871
  [Ordinances of Jersey City, NJ, In Relation to the Sidewalks, Public Grounds and Streets in
  Jersey City,] § 26. No person shall, within this city, fire or discharge any gun, pistol, cannon, or
  fowling piece or other fire-arms, unless in defense of his property or person; nor let off any
  squibs, crackers or other fireworks, unless by permission of the city authorities, under the penalty
  of ten dollars for each and every offense; provided, however, that this section of the ordinance
  shall not apply to the Fourth of July.

  Ordinances of Jersey City, Passed By The Board Of Aldermen since May 1, 1871, under the Act
  Entitled “An Act to Re-organize the Local Government of Jersey City,” Passed March 31, 1871,
  and the Supplements Thereto Page 86- 87, Image 86-87 (1874) available at The Making of
  Modem Law: Primary Sources. 1873
  An Ordinance In Relation to the Carrying of Dangerous Weapons. The Mayor and Aldermen of
  Jersey City do ordain as follows: § 1. That with the exceptions made in the second section of this
  ordinance, no person shall, within the limits of Jersey City, carry, have or keep on his or her
  person concealed, any slung-shot, sand-club, metal knuckles, dirk or dagger not contained as a
  blade of a pocket knife, loaded pistol or other dangerous weapon. § 2. That policemen of Jersey
  City, when engaged in the performance of police duty, the sheriff and constables of the County
  of Hudson, and persons having permits, as hereinafter provided for, shall be and are excepted
  from the prohibitions of the first section of this ordinance. § 3. The Municipal Court of Jersey
  City may grant permits to carry any of the weapons named in the first section to such persons as
  should, from the nature of their profession, business or occupation, or from peculiar
  circumstances, be allowed so to do; and may, in granting such permits, impose such conditions
  and restrictions in each case as to the court shall seem proper. All applications for permits shall
  be made in open court, by the applicant in person, and in all cases the court shall require a
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  written endorsement of the propriety of granting a permit from at least three reputable
  freeholders; nor shall any such permit be granted to any person until the court is satisfied that
  such person is temperate, of adult age, and capable of exercising self-control. Permits shall not
  be granted for a period longer than one year, and shall be sealed by the seal of the court. The
  possession of a permit shall not operate as an excuse unless the terms of the same are strictly
  complied with. In cases of emergency, permits may be granted by a single Justice of the
  Municipal Court, or by the Chief of Police, to be in force not longer than thirty days, but such
  permit shall not be renewable. §4. That no person shall, within the limits of Jersey City, carry
  any air gun or any sword cane. § 5. The penalty for a violation of this ordinance shall be a fine
  not exceeding fifty dollars, or imprisonment in the city prison not exceeding ten days, or both
  fine and imprisonment not exceeding the aforesaid amount and time, in the discretion of the
  court.

  1902 N.J. Laws 780, An Act to Require Non-residents to Secure Licenses before Hunting or
  Gunning within the State of New Jersey and Providing Penalties for Violation of Its Provisions,
  ch. 263, § 1.
  Every non-resident of this state shall be required to take out a license before he shall begin
  hunting or gunning in this state, which license the several county clerks of this state, and each of
  them, are hereby authorized and required to issue upon the payment by the applicant of a license
  fee of ten dollars, and an issuance fee of fifty cents to the county clerk issuing the same; such
  license shall be a certificate of permission to hunt and gun within the state of New Jersey and
  shall include the name, age and place of residence and business of the applicant with his
  description as nearly as may be[.]

  1905 N.J. Laws 324-25, A Supplement to an Act Entitled “An Act for the Punishment of
  Crimes,” ch. 172, § 1.
  Any person who shall carry any revolver, pistol or other deadly, offensive or dangerous weapon
  or firearm or any stiletto, dagger or razor or any knife with a blade of five inches in length or
  over concealed in or about his clothes or person, shall be guilty of a misdemeanor, and upon
  conviction thereof shall be punishable by a fine not exceeding two hundred dollars or
  imprisonment at hard labor, not exceeding two years, or both; provided, however, that nothing in
  this act shall be construed to prevent any sheriff, deputy sheriff, police officer, constable, state
  detective, member of a legally organized detective agency or any other peace officer from
  carrying weapons in the discharge of his duty; nor shall this act apply to any person having a
  written permit to carry such weapon, firearm, stiletto, razor, dagger or knife, from the mayor of
  any city, borough or other municipality, having a mayor, or from the township committee or
  other governing body of any township or other municipality not having a mayor, which permits
  such officers and governing bodies are hereby authorized to grant; said permits shall be issued at
  the place of residence of the person obtaining the same and when issued shall be in force in all
  parts of the state for a period of one year from date of issue unless sooner revoked by the officer
  or body granting the same; and provided further, that nothing contained herein shall prevent any
  person from keeping or carrying about his or her place of business, dwelling house or premises
  any such weapon, firearm, stiletto, dagger, razor or knife, or from carrying the same from any
  place of purchase to his or her dwelling house, or place of business, or from his or her dwelling
  house or place of business to any place where repairing is done to have the same repaired and
  returned; and provided further, that nothing in this act shall be construed to make it unlawful for
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   any person to carry a gun, pistol, rifle or other firearm or knife in the woods or fields or upon the
   waters of this state for the purpose of hunting; a fee of twenty-five cents may be lawfully
   charged by such officer or body granting such permit.

   1914 N.J. Laws 65, Supplement to an Act Entitled “An Act to License Citizens of this State to
   Hunt and Pursue Wild Animals and Fowl,” ch. 43, § 1.
   No license to hunt, pursue or kill with a gun or any fire-arm any of the game birds, wild animals
   or fowl of this State, shall be issued to any person under the age of fourteen years, and if any
   applicant for license shall misrepresent his age he shall be liable to a penalty of twenty dollars, to
   be sued for and recovered as other penalties under the fish and game laws.

   1916 N.J. Laws 275-76, An Act to Prohibit Any Person from Going into the Woods or Fields
   with a Gun or Other Firearm when Intoxicated, or under the Influence of any Drug or
   Intoxicating Liquor, ch. 130, §§ 1-2.
   1. It shall be unlawful for any person to go into the woods or fields at any time with a gun or
   firearm when intoxicated or under the influence of any drug or drugs or of intoxicating liquor. 2.
   Any person violating any of the provisions of this act shall be liable to a penalty of fifty dollars
   for each offense, to be sued for and recovered in the manner provided and by the persons
   authorized to sued for and recover penalties.... Upon the conviction of any person for violating
   the provisions of this act, the license to hunt and fish of such person issued to him ... shall
   become void, and the justice of the peace, District Court judge, or police magistrate before whom
   such conviction is had, shall take from the person so convicted the license, mark the same
   “revoked” and send it to the Board of Fish and Game Commissioners. If such conviction is
   reversed on appeal the license shall be restored to the defendant. Any license to hunt or fish
   issued to any person convicted of a violation of this act during the calendar year in which such
   offense occurred shall be null and void.

   1927 N.J. Laws 180-81, A Supplement to an Act Entitled “An Act for the Punishment of
   Crimes,” ch. 95, §§ 1-2.
   1. The term “machine gun or automatic rifle,” as used in this act, shall be construed to mean any
   weapon, mechanism or instrument not requiring that the trigger be pressed for each shot and
   having a reservoir, belt or other means of storing and carrying ammunition which can be loaded
   into the said weapon, mechanism or instrument and fired therefrom at a rate of five or more shots
   to the second. 2. Any person who shall sell, give, loan, furnish or deliver any machine gun or
   automatic rifle to another person, or any person who shall purchase, have or possess any machine
   gun or automatic rifle, shall be guilty of a high misdemeanor; provided, the provisions of this
   section shall not apply to any person who has procured and possesses a license to purchase, have
   and possess a machine gun or automatic rifle as hereinafter provided for; nor to the authorized
   agents and servants of such licensee; or to the officers and members of any duly authorized
   military organization; nor to the officers and members of the police force of any municipality,
   nor to the officers and members of the State Police force; nor to any sheriff or undersheriff; nor
   to any prosecutor of the pleas, his assistants, detectives and employees.

   1927 N.J. Laws 742
     No retail dealer shall sell or expose for sale, or have in his possession with intent to use, any of
   the firearms or instruments enumerated in section one hereof without being licensed as hereafter
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   provided. The Common Pleas judge of any court of this State, by the Secretary of State, effective
   for not more than one year from date of issue, permitting the licensee to sell at retail within the
   said city or town or political-division, pistols or revolvers, subject to the follow-ing conditions,
   for breach of any of which the license shall be subject to forfeiture:
   1. The business shall be carried on only in the building or buildings designated in the license.
   2. The license or a copy thereof certified by the issuing authority shall be displayed in a
   conspicuous place on the premises where it can be easily read.
   3. No pistol or revolver, or imitation thereof, or placard advertising the sale thereof, shall be
   placed in any window or in any part of said premises where it can be readily seen from the
   outside.
   4. No pistol or revolver shall be delivered (a) unless the purchaser shall have obtained a permit to
   purchase days shall have elapsed after the application for the permit; (c) unless the purchaser
   either is personally known to the seller or shall present evidence of his identity; (d) unless the
   pistol or revolver shall be unloaded and securely wrapped; provided, however, a permit to cover
   a pistol or revolver shall, for the purposes of this section and of section nine of this act, be
   equivalent to a permit to purchase a pistol or revolver. 5. A true record of every pistol shall be
   made in a book kept for the purpose, the form of which shall be prescribed by the Secretary of
   State and shall be personally signed by the person effecting the sale, and shall contain the date of
   the sale, the calibre, make, model, and manufacturer’s number of the weapon, and the name,
   address and permit number of the purchaser.
      Any person who shall knowingly sell any of the firearms or instruments enumerated in section
   one hereof to a minor under the age of eighteen years, or to a person not of sound mind, or to a
   drug addict, or to a person who has been convicted of committing or attempting to commit any of
   the crimes enumerated in section two hereof when armed with any of the firearms or instruments
   enumerated in section one hereof, shall he guilty of misdemeanor.
      No person shall sell a pistol or revolver to another person unless the purchaser has first
   secured a permit to purchase or carry a pistol or revolver. No person of good character and who
   is of good repute in the community in which he lives, and who is not subject to any of the
   disabilities set forth in other sections of this act, shall be denied a permit to purchase a pistol or
   revolver. The judge of any court within this State (except, however, justices of the peace), the
   sheriff of a county or the chief of police of a city, town or municipality shall upon application
   issue-to any person qualified under the provisions of this section a permit to purchase a pistol or
   revolver, and the Secretary of State shall have concurrent jurisdiction to issue such permit in any
   case, notwithstanding it has been refused by any other licensing official, if in his opinion the
   applicant is qualified.
   Applications for such permits shall be in form as prescribed by the Secretary of State and shall
   set forth the name, residence, place of business, age, occupation, sex, color, and physical
   description of the applicant, and shall state whether the applicant is a citizen, and whether he has
   ever been convicted of any of the crimes enumerated in section two hereof as defined in this act.
   Such application shall he signed by the applicant and shall contain as reference the names and
   addresses of two reputable citizens personally acquainted with him. Application blanks shall be
   obtainable from the Secretary of State and from any other officers authorized to grant such
   permit., and may be obtained from licensed retail dealers. The application, together with a fee of
   fifty cents, shall be delivered or forwarded to the licensing authority who shall investigate the
   same, and unless food cause for the denial thereof shall appear, shall rant said permit within
   seven days from the date of the receipt of the application. The permit shall be in form prescribed
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   by the Secretary of State and shall be issued to the applicant in triplicate. The applicant shall
   deliver to the seller the permit in triplicate and the seller shall indorse on the back of each copy
   the make, model, calibre and serial number of the pistol or revolver, sold tinder the permit. One
   copy shall then be returned to the purchaser with the pistol or revolver, one copy shall be kept by
   the seller as a permanent record, and the third copy shall be forwarded by the seller within three
   days to the Secretary of State. If the permit is not granted, the fee shall be returned to the
   applicant.
   All fees for permits shall be paid into the general fund of the State if the permit be issued by the
   Secretary of State; to the municipality if the permit be issued by a municipal officer; in all other
   instances to the general fund of the county wherein the officer acts or the licensee resides or does
   business.
   A person shall not be restricted as to the number of pistols or revolvers he may purchase, if he
   applies for and obtains permits to purchase the same, but only one pistol or revolver shall be
   purchased or delivered on each permit.

   1934 N.J. Laws 394-95, A Further Supplement to an Act Entitled “An Act for the Punishment of
   Crimes,” ch. 155, §§ 1-5.
   1. A gangster is hereby declared to be an enemy of the state. 2. Any person in whose possession
   is found a machine gun or a submachine gun is declared to be a gangster; provided, however,
   that nothing in this section contained shall be construed to apply to any member of the military
   or naval forces of this State, or to any police officer of the State or of any county or municipality
   thereof, while engaged in his official duties. 3. Any person, having no lawful occupation, who is
   apprehended while carrying a deadly weapon, without a permit so to do and how has been
   convicted at least three times of being a disorderly person, or who has been convicted of any
   crime, in this or in any other State, is declared to be a gangster. 4. Any person, not engaged in
   any lawful occupation, known to be a member of any gang consisting of two or more persons,
   who has been convicted at least three times of being a disorderly person, or who has been
   convicted of any crime, in this or in any other State, is declared to be a gangster; provided,
   however, that nothing in this section contained shall in any wise be construed to include any
   participant or sympathizer in any labor dispute. 5. Any person convicted of being a gangster
   under the provisions of this act shall be guilty of a high misdemeanor, and shall be punished by a
   fine not exceeding ten thousand dollars ($10,000.00), or by imprisonment not exceeding twenty
   years, or both.

   NEW MEXICO

   1915 N.M. Law 153, An Act to Amend Sections ... of Chapter 85 of the Laws of 1912 Relative
   to the Protection of Game and Fish, ch. 101, §7.
   ... No person shall at any time shoot, hunt or take in any manner any wild animals or birds or
   game fish as herein defined in this state without first having in his or her possession a hunting
   license as hereinafter provided for the year in which such shooting, fishing or hunting is done.
   The presence of any person in any open field, prairie or forest, whether enclosed or not with
   traps, gun or other weapon for hunting, without having in possession a proper hunting license as
   herein provided, shall be prima facie evidence of the violation of this section.

   NEW YORK
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   The Colonial Laws Of New York From The Year 1664 To The Revolution, Including The
   Charters To The Duke Of York, The Commissions And Instructions To Colonial Governors, The
   Dukes Laws, The Laws Of The Dongan And Leisler Assemblies, The Charters Of Albany And
   New York And The Acts Of The Colonial Legislatures From 1691 To 1775 Inclusive Page 40-
   41, Image 62-63 (1896) available at The Making of Modem Law: Primary Sources. 1680.
   Laws of the Colony of New York, Indians. No person shall sell, give or barter directly or
   indirectly any gun or guns, powder, bullet, shot, lead nor any vessel or burthen, or row boat,
   canoes only excepted without license first had and obtained under the governors hand and seal to
   any Indian whatsoever, nor to any person inhabiting out of this Government, nor shall amend or
   repair any gun belonging to any Indian, nor shall sell any armor or weapons, upon penalty of ten
   pounds for every gun, armor, weapon, vessel, or boat so sold given or bartered, five pounds for
   every for every pound of powder, and forty shillings for every pound of shot or lead and
   proportionately for any greater or lesser quantity.

   Laws of the State of New-York, Relating to the City of Schenectady: And the Laws and
   Ordinances of the Common Council of the City of Schenectady Page 58, Image 58 (1824)
   available at The Making of Modem Law: Primary Sources. 1824
   [Ordinances of the City of Schenectady,] XL And be it further ordained, That if any person shall
   fire or discharge any gun, pistol, rocket, cracker, squib or other fire works, in any street, lane or
   alley, or in any yard, garden or other enclosure, or in any place which persons frequent to walk
   within the limits aforesaid, without permission of the mayor or one of the aldermen or assistants
   of this city, such person shall forfeit for every such offence the sum of one dollar...

   Elliott Fitch Shepard, Ordinances of the Mayor, Aldermen and Commonalty of the City of New
   York, in Force January 1, 1881; Adopted by the Common Council and Published by Their
   Authority Page 214-215, Image 214-215 (1881) available at The Making of Modem Law:
   Primary Sources. 1881
   Carrying of Pistols, § 264. Every person except judges of the federal, state and city courts, and
   officers of the general, state and municipal governments authorized by law to make arrests, and
   persons to whom permits shall have been issued, as hereinafter provided, who shall have in his
   possession within the city of New York a pistol of any description concealed on his person, or
   not carried openly, shall be deemed guilty of a misdemeanor, and shall be punished, on
   conviction by a fine not exceeding ten dollars, or, in default of payment of such fine by
   imprisonment not exceeding ten days. § 265. Any person, except as provided in this article, who
   has occasion to carry a pistol for his protection, may apply to the officer in command at the
   station-house of the precinct where he resided, and such officer, if satisfied that the applicant is a
   proper and law abiding person, shall give said person a recommendation to the superintendent of
   police, or the inspector in command at the central office in the absence of the superintendent,
   who shall issue a permit to the said person allowing him to carry a pistol of any description. Any
   non-resident who does business in the city of New York, and has occasion to carry a pistol while
   in said city, must make application for permission to do so to the officer in command of the
   station-house of the police precinct in which his so does business, in the same manner as is
   required by residents of said city, and shall be subject to the same conditions and restrictions.
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  Charles Wheeler, By-Laws of the Village of Mechanicville. Adopted by the Trustees October 18,
  1881 Page 7, Image 8 (1881) available at The Making of Modem Law: Primary Sources. 1881
  [Ordinances of the Village of Mechanicville, NY,] Fires and Their Prevention, Fire Arms and
  Fire Works, § 20. No person, except on the anniversary of our national independence, and on that
  day only, at such place or places as the President or Trustees shall permit, shall fire, discharge or
  set off, in the village, any gun, cannon, pistol, rocket, squib, cracker or fire ball, under the
  penalty of five dollars for each offense.

  George R. Donnan, Annotated Code of Criminal Procedure and Penal Code of the State of New
  York as Amended 1882-5 Page 172, Image 699 (1885) available at The Making of Modem Law:
  Primary Sources. 1884
  Carrying, Using, Etc., Certain Weapons, § 410. A person who attempts to use against another, or
  who, with intent so to use, carries, conceals or possesses any instrument or weapon of the kind
  commonly known as the slung-shot, billy, sand -club or metal knuckles, or a dagger, dirk or
  dangerous knife, is guilty of a felony. Any person under the age of eighteen years who shall
  have, carry or have in his possession in any public street, highway or place in any city of this
  state, without a written license from a police magistrate of such city, any pistol or other fire-arm
  of any kind, shall be guilty of a misdemeanor. This section shall not apply to the regular and
  ordinary transportation of fire-arms as merchandise, or for use without the city limits. § 411.
  Possession, Presumptive Evidence. The possession, by any person other than a public officer, of
  any of the weapons specified in the last section, concealed or furtively carried on the person, is
  presumptive evidence of carrying, or concealing, or possessing, with intent to use the same in
  violation of that section.

  George R. Donnan, Annotated Code of Criminal Procedure and Penal Code of the State of New
  York as Amended 1882-5. Fourth Edition Page 298, Image 824 (1885) available at The Making
  of Modem Law: Primary Sources. 1885
  An Act to Limit the Carrying and Sale of Pistols and other fire arms in the cities of this state.
  Chap. 375, § 1. No person under the age of eighteen years shall have, carry or have in his
  possession in any public street, highway or place in any of the cities of this state, any pistol or
  other firearms of any kind, and no person shall in such cities sell or give any pistol or other fire­
  arms to any person under such age. § 2. Any person violating any of the provisions of this act
  shall be guilty of a misdemeanor, and in all trials or examinations for said offense the appearance
  of the person so alleged or claimed to be under the age of eighteen years shall be evidence to the
  magistrate or jury as to the age of such person. § 3. Nothing herein contained shall apply to the
  regular and ordinary transportation of pistols or fire-arms as articles of merchandise in said
  cities, or to the carrying of a gun or rifle through a street or highway of any city, with the intent
  to use the same outside the said city; nor to any person under such age carrying an pistol or
  firearms under license given by the mayor of said cities; but no license so given shall be in force
  more than one year from its date; and all such licenses may be revoked at the pleasure of the
  mayor, and a full complete and public record shall be kept by the mayor of said cities of all such
  licenses and the terms and date thereof.

   Charter and Ordinances of the City of Syracuse: Together with the Rules of the Common
   Council, the Rules and Regulations of the Police and Fire Departments, and the Civil Service
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   Regulations Page 184, Image 185 (1885) available at The Making of Modem Law: Primary
   Sources. 1885
   Ordinances of [the City of Syracuse,] Gunpowder, Etc. § 1. No person except when on military
   duty in the public service of the United States, or of this State, or in case of public celebration
   with permission of the mayor or common council, shall have, keep or possess in any building, or
   carriage, or on any dock, or in any boat or other vessel, or in any other place within the city
   limits, gun-powder, giant- powder, nitro-glycerine, dynamite or other explosive material, in
   quantity exceeding one pound, without written permission from the chief engineer of the fire
   department. Any person violating any of the provisions of this section shall be liable to a fine of
   not less than ten nor more than one hundred dollars, or to imprisonment in the penitentiary of the
   county for not less than thirty days nor more than three months, for each offense.

   Mark Ash, The New York City Consolidation Act, as in Force in 1891: With Notes Indicating
   the Statutory Sources, References to Judicial Decisions, and All Laws Relating to New York
   City, Passed Since January 1,1882, Together with an Appendix of the Royal English Colonial
   Charters of New York City Page 209, Image 233 (Vol. 1, 1891) available at The Making of
   Modem Law: Primary Sources. 1890
   Ordinances of the City of New York, § 455. No person shall manufacture, have, keep, sell, or
   give away any gunpowder, blasting powder, gun-cotton, niro-glycerine, dualin, or any explosive
   oils or compounds, within the corporate limits of the city of New York, except in the quantities
   limited, in the manner, and upon the conditions herein provided, and under such regulations as
   the board of fire commissioners shall prescribe : and said board shall make suitable provision for
   the storage and safe keeping of gunpowder and other dangerous and explosive compounds or
   articles enumerated under this title, beyond the interior line of low water-mark in the city and
   county of New York. The said board may issue licenses to persons desiring to sell gunpowder or
   any of the articles mentioned under this section at retail, at a particular place in said city to be
   named in said license (provided that the same shall not be in a building used in any part thereof
   as a dwelling unless specially authorized by said license), and persons so licensed may on their
   premises, if actually kept for sale, persons so licensed may have on their premises, if actually
   kept for sale, a quantity not exceeding at any one time, of nitro-glycerine, five pounds; of gun­
   cotton, five pounds of gunpowder, fourteen pounds; blasting powder, twenty-five pounds...

   1891 N.Y. Laws 129, 177, An Act to Revise the Charter of the City of Buffalo, ch. 105, tit. 7, ch.
   2, § 209.
   No person other than members of the police force, regularly elected constables, the sheriff of
   Erie county, and his duly appointed deputies, shall, in the city, carry concealed upon or about his
   person, any pistol or revolver, or other dangerous weapon or weapons, without first obtaining a
   permit, as hereinbefore provided; and such permit shall be produced and exhibited by any person
   holding the same, upon the request of a member of the police force. A violation of any of the
   provisions of this section shall be a misdemeanor and punishable as such; and all fines imposed
   and collected for such violations shall be deposited to the credit of said pension fund by the clerk
   of the court imposing the same.

   Rules, By-Laws and Ordinances of the Village of Wappingers Falls. Adopted September 13,
   1898 Page 34, Image 32.(Wappingers Falls, 1898) available at The Making of Modem Law:
   Primary Sources. 1898
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   Ordinances of Wappinger Falls. Park Ordinances. § 1. No person or persons shall fire or
   discharge any gun or pistol or other firearm, or any rocket torpedo, or other fireworks of any
   description, nor send up any balloon, nor throw stones or missiles, nor play ball within the limits
   of Mesier Park, without the permission obtained of the Park Commissioners at a meeting of the
   Board.

   An Ordinance to regulate the government of parks and other public pleasure grounds of The City
   of New York, at 600 (1903). 1903
   Be it Ordained by the Board of Aldermen of The City of New York, as follows: All persons are
   forbidden...
   XXIV. No one shall fire or carry any firearm, fire cracker, torpedo or fire-works, nor make a fire,
   nor make any oration, nor conduct any religious or other meeting or ceremony within any of the
   parks, parkways, squares or places in The City of New York under the jurisdiction of the
   Department of Parks without special permission from the Commissioner having jurisdiction.

   1911 N.Y. Laws 442-43, An Act to Amend the Penal Law, in Relation to the Sale and Carrying
   of Dangerous Weapons, ch. 195, §1.
   Section ... eighteen hundred and ninety-seven .. . [is] hereby amended to read as follows: §
   1897. Carrying and use of dangerous weapons. A person who attempts to use against another, or
   who carries, or possesses any instrument or weapon of the kind commonly known as a blackjack,
   slunghsot, billy, sandclub, sandbag, metal knuckles or bludgeon, or who with intent to use the
   same unlawfully against another, carries or possesses a dagger, dirk, dangerous knife, razor,
   stiletto, or any other dangerous or deadly instrument or weapon, is guilty of a felony. Any person
   under the age of sixteen years, who shall have, carry, or have in his possession, any of the
   articles named or described in the last section, which is forbidden therein to offer, sell, loan,
   lease or give to him, shall be guilty of a misdemeanor.... Any person over the age of sixteen
   years, who shall have or carry concealed upon his person in any city, village, or town of this
   state, any pistol, revolver, or other firearm without a written license therefor, theretofore issued
   to him by a police magistrate of such city or village, or by a justice of the peace of such town, or
   in such manner as may be prescribed by ordinance of such city, village or town, shall be guilty of
   a felony.

   1911 N.Y. Laws 443, An Act to Amend the Penal Law, in Relation to the Sale and Carrying of
   Dangerous Weapons, ch. 195, §1.
   Any person over the age of sixteen years, who shall have in his possession in any city, village or
   town of this state, any pistol, revolver or other firearm of a size which may be concealed upon
   the person, without a written license therefor, issued to him by a police magistrate of such city or
   village, or by a justice of the peace of such town, or in such manner as may be prescribed by
   ordinance in such city, village or town, shall be guilty of a misdemeanor.

   1911 N.Y. Laws 444-45, An Act to Amend the Penal Law, in Relation to the Sale and Carrying
   of Dangerous Weapons, ch. 195, § 2.
   Such chapter is hereby amended ... § 1914. Sale of pistols, revolvers and other firearms. Every
   person selling a pistol, revolver or other firearm of a size which may be concealed upon the
   person whether such seller is a retail dealer, pawnbroker or otherwise, shall keep a register in
   which shall be entered at the time of sale, the date of sale, name, age, occupation and residence
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   of every purchaser of such a pistol, revolver or other firearm, together with the calibre [sic],
   make, model, manufacturer’s number or other mark of identification on such pistol, revolver or
   other firearm. Such person shall also, before delivering the same to the purchaser, require such
   purchaser to produce a permit for possessing or carrying the same as required by law, and shall
   also enter in such register the date of such permit, the number thereon, if any, and the name of
   the magistrate or other officer by whom the same was issued. Every person who shall fail to kep
   a register and enter therein the facts required by this section, or who shall fail to exact the
   production of a permit to possess or carry such pistol, revolver or other firearm, if such permit is
   required by law, shall be guilty of a misdemeanor. Such register shall be open at all reasonable
   hours for the inspection of any peace officer. Every person becoming the lawful possessor of
   such pistol, revolver or other firearm, who shall sell, give or transfer the same to another person
   without first notifying the police authorities, shall be guilty of a misdemeanor. This section shall
   not apply to wholesale dealers.

   1923 N.Y. Laws 140-141, An Act to Amend the Conservation Law in Relation to Aliens, eh.
   110, §2.
   2. It shall be unlawful for any unnaturalized foreign bom person to hunt for, or capture or kill, in
   this state any wild bird or animal, either game or otherwise, of any description except in defense
   of person or property or except under a special license issued directly by the conservation
   commission; and to that end it shall be unlawful for any unnaturalized foreign bom person within
   this state, to own or be possessed of a shotgun or rifle of any make, unless he possess such
   special license.


   NORTH CAROLINA

   James Iredell, A Digested Manual of the Acts of the General Assembly of North Carolina, from
   the Year 1838 to the Year 1846, Inclusive, Omitting All the Acts of a Private and Local Nature,
   and Such as were Temporary and Whose Operation Has Ceased to Exist Page 73, Image 73
   (1847) available at The Making of Modem Law: Primary Sources. 1840
   Crimes and Punishments, 1840 - 1. - Ch. 30, If any free negro, mulatto, or free person of color
   shall wear, or carry about his or her person, or keep in his or her house, any shot gun, musket,
   rifle, pistol, sword, dagger, or bowie knife, unless he or she shall have obtained a license therefor
   from the Court of Pleas and Quarter Sessions of his or her county, within one year preceding the
   wearing, keeping or carrying thereof, he or she shall be guilty of a misdemeanor and may be
   indicted therefor.

   1909 N.C. Sess. Laws 777, Priv. Laws, An Act for a New Charter for the City of Southport,
   North Carolina, ch. 345, § 23, pt. 14.
   [0]n dealers in pistols, guns, dirks, bowie knives, sling shots, brass or metal knuckles or other
   like deadly weapons, in addition to all other taxes, a license tax not exceeding fifty dollars; on
   dealers in firecrackers, Roman candles, skyrockets, toy pistols or fireworks of any kind, a tax not
   exceeding fifty dollars.

   1919 N.C. Sess. Laws 397-99, Pub. Laws, An Act to Regulate the Sale of Concealed Weapons in
   North Carolina, ch. 197, §§1, 5.
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   § 1. That it shall be unlawful for any person, firm, or corporation in this State to sell, give away
   or dispose of, or to purchase or receive, at any place within the State from any other place within
   or without the State, without a license or permit therefor shall have first been obtained by such
   purchaser or receiver from the clerk of the Superior Court of the county in which such purchase,
   sale, or transfer is intended to be made, any pistol, so-called pump-gun, bowie knife, dirk, dagger
   or metallic knucksn[sic]. .. § 5. That each and every dealer in pistols, pistol cartridges and other
   weapons mentioned in section one of this act shall keep and accurate record of all sales thereof,
   including the name, place of residence, date of sale, etc., of each person, firm, or corporation, to
   whom or which any and all such sales are made, which said record shall be open to the
   inspection of any duly constituted State, county or police officer, within this State.

   NORTH DAKOTA

   1915 N.D. Laws 96, An Act to Provide for the Punishment of Any Person Carrying Concealed
   Any Dangerous Weapons or Explosives, or Who Has the Same in His Possession, Custody or
   Control, unless Such Weapon or Explosive Is Carried in the Prosecution of a Legitimate and
   Lawful Purpose, ch. 83, §§ 1-3, 5.
   § 1. Any person other than a public officer, who carries concealed in his clothes any instrument
   or weapon of the kind usually known as a black-jack, slung-shot, billy, sand club, sand bag,
   bludgeon, metal knuckles, or any sharp or dangerous weapon usually employed in attack or
   defense of the person, or any gun, revolver, pistol or other dangerous fire arm loaded or
   unloaded, or any person who carries concealed nitro-glycerin, dynamite, or any other dangerous
   or violent explosive, or has the same in his custody, possession or control, shall be guilty of a
   felony, unless such instrument weapon or explosive is carried in the prosecution of or to effect a
   lawful and legitimate purpose. § 2. The possession, in the manner set forth in the preceeding
   Section, of any of the weapons or explosives mentioned therein, shall be presumptive evidence
   of intent to use the same in violation of this act. § 3. Penalty - Any person upon conviction of
   violating the provisions of this Act, shall, in the discretion of the court, be imprisoned in the
   State Penitentiary nor more than two years, or in the county jail not more than one year, or by a
   fine of not more than one hundred dollars, or by both such fine and imprisonment. Provided,
   however, that any citizen of good moral character may, upon application to any district court,
   municipal, or justice of the court, be granted the permission to carry a concealed weapon upon
   the showing of reasonable cause.... § 5. Emergency. An emergency is hereby declared to exist
   in that professional criminals are frequently found to carry concealed about their persons, the
   dangerous weapons or explosives mentioned in Section 1 of this Act. And, whereas, the present
   law is inadequate to prevent such criminals from carrying concealed weapons or explosives;
   therefore, this Act shall take effect and be in force from and after its passage and approval.

   1923 N.D. Laws 379, 380-82 ch. 266
   Sec. 2. Commiting Crime When Armed. If any person shall commit or attempt to commit a
   crime when armed with a pistol or revolver, and having no permit to carry the same, he shall be
   in addition to the punishment provided for the crime, be punished by imprisonment for not less
   than ten years.
   Sec. 6. Carrying Pistol Concealed. No person shall carry a pistol or revolver concealed in any
   vehicle or in any package, satchel, grip, suit case or carry in any way or upon his person, except
   in his dwelling house or place of business, without a license therefor as hereinafter provided.
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   Violations of this section shall be punished by imprisonment for not less than one year, and upon
   conviction the pistol or revolver shall be confiscated or destroyed.
   Sec. 8. Issue of Licenses to Carry. The justice of a court of record, the chief of police of a city or
   town and the sheriff of a county, or persons authorized by any of them shall upon the application
   of any person having a bonafide residence or place of business within the jurisdiction of said
   licensing authority, or of any person having a bona fide residence or place of business within the
   United States and license to carry a fire arm concealed upon his person issued by the authorities
   of any State or sub-division of the United States, issue a license to such person to carry a pistol
   or revolver within this State for not more than one year from date of issue, if it appears that the
   applicant has good reason to fear an injury to his person or property or for any other proper
   purpose, and that he is a suitable person to be so licensed ...
   Sec. 10. SALES REGULATED. No person shall sell, deliver, or otherwise transfer a pistol or
   revolver to a person who he has reasonable cause to believe either is an unnaturalized foreign
   bom person or has been convicted of a felony against the person or property of another, or
   against the Government of the United States or any State or subdivision thereof, nor in any event
   shall he deliver a pistol or revolver on the day of the application for the purchase thereof, and
   when delivered, said pistol or revolver shall be securely wrapped and shall be unloaded. Before a
   delivery be made the purchaser shall sign in triplicate and deliver to the seller a statement
   containing his full name, address, occupation, and nationality, the date of sale, the caliber, make,
   model, and manufacturer’s number of the weapon. The seller shall, within seven days, sign and
   forward by registered mail one copy thereof to the Secretary of State, and one copy thereof to the
   chief of police of the city or town, or the sheriff of the county of which the seller is a resident,
   and shall retain the other copy for six years. This section shall not apply to sales at wholesale.
   Where neither party to the transaction holds a dealer’s license, no person shall sell or otherwise
   transfer a pistol or revolver to any person not personally known to him. Violations of this section
   shall be punished by a fine of not less than $100 or imprisonment for not less than one year, or
   by both such fine and imprisonment.
   Sec. 11. DEALERS TO BE LICENSED. Whoever, without being licensed as hereinafter
   provided, sells, or otherwise transfers, advertises, or exposes for sale, or transfers or has in his
   possession with intent to sell, or otherwise transfer, pistols or revolvers, shall be punished by
   imprisonment for not less than two years.
   Sec. 12. DEALERS’ LICENSES: By WHOM GRANTED, AND CONDmoNs THEREOF.) The
   duly constituted licensing authorities of any city, town or subdivision of this state, may grant
   licenses in form prescribed by the Secretary of State, effective for not more than one year from
   date of issue, permitting the licensee to sell at retail within the said city or town or political
   subdivision, pistols and revolvers, subject to the following conditions, for breach of any of which
   the license shall be subject to forfeiture:
      The business shall be carried on only in the building designated in the license.
      The license or a copy thereof, certified by the issuing authority, shall be displayed on the
   premises where it can easily be read.
      No pistol or revolver shall be delivered-
   (a) On the day of the application for the purchase, and when delivered shall be unloaded and
   securely wrapped; nor
   (b) Unless the purchaser either is personally known to the seller or shall present clear evidence of
   his identity; nor
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   (c) If the seller has reasonable cause to believe that the purchaser either is an unnaturalized
   foreign bom person or has been convicted of a felony against the person or property of another,
   or against the Government of the United States or any State or subdivision thereof.
      A true record, in triplicate, shall be made of every pistol or revolver sold, said record to be
   made in a book kept for the purpose, the form of which may be prescribed by the Secretary of
   State, and shall be personally signed by the purchaser and by the person affecting the sale, each
   in the presence of the other, and shall include the date of sale, the caliber, make, model, and
   manufacturer’s number of the weapon, the name, address, occupation, and nationality of the
   purchaser. One copy of said record shall, within seven days, be forwarded by registered mail to
   the Secretary of State and one copy thereof to the chief of police of the city or town or the sheriff
   of the county of which the seller is a resident, and the other copy retained for six years.
      No pistol or revolver, or imitation thereof, or placard advertising the sale or other transfer
   thereof, shall be displayed in any part of said premises where it can readily be seen from the
   outside.

   1925 N.D. Laws 216-17, Pistols and Revolvers, ch. 174, § 2.
   § 2 Committing Crime When Armed. If any person shall commit, or attempt to commit, a crime
   when armed with a pistol or revolver, and has no permit to carry the same, he may be punished
   by imprisonment for not more than ten years, in addition to the punishment provided for the
   crime. Such imprisonment, if not exceeding one year, to be in the County jail, and if exceeding
   one year to be in the State Penitentiary.

   1931 N. D. Laws 305-06, An Act to Prohibit the Possession, Sale and Use of Machine Guns,
   Sub-Machine Guns, or Automatic Rifles and Defining the Same . .., ch. 178, §§ 1-2.
   § 1. The term “machine gun, sub-machine gun or automatic rifle” as used in this act shall be
   construed to mean a weapon mechanism or instrument not requiring the trigger be pressed for
   each shot and having a reservoir, belt or other means of storing and carrying ammunition which
   can be loaded into the said weapon, mechanism or instrument and fired therefrom at a rate of five
   or more shots to the second. § 2. Any person who shall sell, give, loan, furnish or deliver any
   machine gun, sub-machine gun, automatic rifle of a caliber larger than twenty-two, or a bomb
   loaded with explosives or poisonous or dangerous gases to another person, or any person who
   shall purchase, have or possess any machine gun, sub-machine gun, automatic rifle, or a caliber
   larger than twenty-two or a bomb loaded with explosives or poisonous or dangerous gases, shall
   be guilty of a felony and shall be punished by imprisonment in the state penitentiary not to
   exceed ten years, or by a fine of not more than three thousand dollars, or both. Provided, that the
   provisions of this act shall not apply to any person who has procured and possesses a license to
   purchase, sell, have or possess a machine gun, sub-machine gun, automatic rifle, of a caliber
   larger than twenty-two, or bomb loaded with explosives or poisonous or dangerous gases, as
   hereinafter provided for, nor to the authorized agents and servants of such licensee or to the
   officers and members of any duly authorized military organization, nor to the officers and
   members of the police force of any municipality, nor to any Sheriff, deputy sheriff, nor any other
   officer having police powers under the laws of the State.


   OHIO
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   The Act of Incorporation, and the Ordinances and Regulations of the Town of Marietta,
   Washington County, Ohio Page 17-18, Image 17-18 (1837) available at The Making of Modem
   Law: Primary Sources. 1823
   [Ordinances of Marietta, Ohio; An Ordinance For Preventing the Wanton Use of Fire Arms, Etc.,
   § 1. Be it ordained by the Town of Marietta, in Town meeting legally assembled, and by the
   authority thereof it is ordained and enacted , That if any person, after this ordinance takes effect,
   shall discharge or explode, or aid or assist in discharging or exploding any gun powder, from
   guns, fire arms, or by any other means, within the limits of the town plot of Marietta, where by
   the quiet of any of the inhabitants may be disturbed, or their lives and safety endangered (unless
   such firing shall by authorized by permission in writing from the town council then in office, or
   by the command of some military officer in discharge of his duty as such,) the person so
   offending may be complained of before any justice of the peace for the town and upon
   conviction, shall be fined by such justice not than less one dollar (sic), nor more than five dollars
   for the first offence, and for the second and all subsequent offences against this ordinance, such
   person shall be fined not less than five, nor more than ten dollars, and pay all costs, to be
   collected as other penalties by law are...

   An Act Incorporating the City of Cincinnati: And a Digest of the Ordinances of Said City, of a
   General Nature, Now in Force, with an Appendix Page 57-58, Image 58-59 (1835) available at
   The Making of Modem Law: Primary Sources. 1835
   Ordinances of the City of Cincinnati, An Ordinance to Regulate the Keeping of Gunpowder, § 1.
   Be it ordained by the City Council of the City of Cincinnati, That no person or persons in the city
   of Cincinnati, shall keep, have, or possess, in any house, warehouse, shop, shed, or other
   building, nor in any street, side walk, lane, alley, passage, way, or yard, nor in any cellar, wagon,
   cary, or carriage, of any kind whatever; nor in any other place, within said city, Gun Powder, in
   any way or manner, other than as provided for by this ordinance; nor in any quantity exceeding
   twenty-five pounds, to be divided into six equal parts. § 2. Be it further ordained, That it shall not
   be lawful for any person or persons to sell gun powder by retail within said city, without having
   first obtained a license from the city council for that purpose; and every person obtaining a grant
   for a license to sell gun powder, shall receive a certificate of such grant from the city clerk, and
   pay into the city treasury, a sum not exceeding one hundred dollars, nor less than ten dollars;
   besides fifty cents to the Mayor for issuing the same; Provided that license be granted to not
   more than four persons in any one ward, and so that they be separated from each other, by at
   least two entire blocks or squares; and all applications for such license, shall be in writing,
   stating the situation where such gunpowder is to be kept. § 3. Be it further ordained. That every
   person who obtains a license as aforesaid to retail gun powder, shall keep the same in tin
   canisters, well secured with good and sufficient covers; and shall place on the store or building
   containing the same, a sign with the words, LICENSED TO SELL GUN POWDER, Provided
   that nothing in this ordinance shall be so construed to prevent any person from carrying gun
   powder through the streets in its exportation, or to some place of deposit, without the limits of
   the corporation, if the same be put up in tight and well secured kegs or vessels. § 4. Be it further
   ordained, That it shall be the duty of the city marshal and his deputies, and any of the fire
   wardens, on any day, (Sundays excepted) between sun rising and setting, to enter into any house
   or building, or any other place within said city, where gun powder is kept or suspected to be
   kept, and examine the premises, and if they or either of them shall find any gun powder, contrary
   to the provisions of this ordinance, they or either of them shall seize such powder, together with
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   the vessel containing the same, in the name of the city of Cincinnati; and the officer making such
   seizure, if he be other than the marshal, shall forthwith report such seizure to the marshal, who
   shall immediately take charge of the gun powder so seized, as if in case of seizure by himself;
   and in either case he shall immediately take charge of the gun powder so seized; to be conveyed
   to some safe place of deposit without the limits of the city. And the marshal shall, moreover,
   forthwith report such seizure to the mayor, with the name of the person in whose possession such
   gun powder was seized, or with the name of the owner, if his name be known, whereupon the
   mayor shall issue a citation against the owner, if known and within his jurisdiction, and if not,
   then against the person whose possession such gunpowder was seized, citing the defendant to
   appear on a day to be named in such citation, and show cause, if any he have, why the gun
   powder so seized should not be forfeited to the city, and a fine imposed agreeably to the
   provisions of this ordinance; upon which citation proceedings shall be had as in other cases upon
   the city ordinances, and if a final judgment of forfeiture be pronounced against the gun powder
   so seized, the marshal shall proceed to sell and dispose of the same for the benefit of said city,
   after having given three days notice of such sale, by advertisement in at least three public places
   in the city, and at one of the market houses on market day, to the highest bidder; and the net
   proceeds thereof shall be credited on the execution against the person fined for keeping the same
   contrary to the provisions of this ordinance: Provided, that, of any lot of powder seized according
   to the provisions of this ordinance, not more shall be sold by the marshal than will pay the fine
   and costs of suit and expense attending the seizure.

   George W. Malambre, Laws and General Ordinances of the City of Dayton, Containing the Laws
   of the State upon Municipal Government; All the General Ordinances in Force August 30th,
   1855; a List of the Officers of the City under the New Act of Incorporation, Together with the
   Amount of Taxes Levied in Each Year for General and Special Purposes, since 1851, and the
   Total Amount in Each Year, of Property Subject to Taxation Page 214, Image 219 (1855)
   available at The Making of Modem Law: Primary Sources. 1855
   Ordinances of the City of Dayton. Offenses. § 38. Sec. XXXIX. If any person, or persons, shall
   fire any cannon, gun, or other firearms, within the bounds of the building lots, or cemetery
   ground in this city, or within one hundred yards of any public road, within this corporation,
   except by permission of council, and except in proper situations for firing salutes, or by
   command of a military officer in performance of military duty, every person, so offending, on
   conviction thereof, shall pay a fine not exceeding ten dollars, and costs.

   W. H. Gaylord, Standing Rules of Order of the Cleveland City Council: With a Catalogue of the
   Mayors and Councils of the City of Cleveland, from Its Organization, April, 1836, to April,
   1871, and Officers of the City Government for 1872 Page 101, Image 124 (1872) available at
   The Making of Modem Law: Primary Sources. 1856
   [Ordinances of the City of Cleveland,] An Ordinance to Prevent the Firing of Guns and Fire­
   works, § 1. Be it ordained by the City Council of the City of Cleveland, That no person shall fire
   any cannon, gun, rifle, pistol, or fire-arms of any kind, or fire or explode any squib, rocket,
   cracker, Roman candle, or other combustible fire-works within the city. § 2. This ordinance shall
   not apply to any military company, when drilling under command of any officer thereof, or to the
   use of fire-arms in the lawful defense of the person, family or property of any person, or to the
   killing of any dog whose owner or possessor has not complied with the provisions of the
   ordinance relating to dogs. § 3. The board of city improvements may, at its discretion, give
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   permission to any person or persons to discharge fire-arms or fire-works on the fourth day of
   July; such permission may be given through any public paper of the city, or otherwise. § 4. That
   any person violating any provision of this ordinance shall, on conviction thereof, be fined in any
   sum not exceeding twenty dollars.

   1878 Ohio Laws 199, An Act to Amend, Revise, and Consolidate the Statutes Relating to
   Municipal Corporations, to Be Known as Title Twelve, Part One, of the Act to Revise and
   Consolidate the General Statutes of Ohio, div. 3, ch. 3, § 1, pt. 14.
   To regulate the transportation and keeping of gunpowder, and other explosive and dangerous
   combustibles, and to provide or license magazines for the same.

   M. Augustus Daugherty, Supplement to the Revised Statutes of the State of Ohio Containing All
   the Statutes Amendatory of or Supplementary to the Revised Statutes, Together with the
   Miscellaneous Acts, General or Permanent in Their Nature, In Force January 1, 1884. 3d ed.
   Edited by James M. Williams Page 633, Image 641 (1884) available at The Making of Modem
   Law: Primary Sources. 1884
   Licenses, § 24. All vendors of gunpowder shall pay a license fee of fifteen (15) dollars per
   annum. All keepers or owners of gunpowder magazines shall pay a license fee of one hundred
   (100) dollars per annum.

   1889 Ohio Laws 164, An Act to Amend Section 2669 of the Revised Statutes, as Amended April
   22, 1885, § 1.
   The council of the city or village may provide by ordinance for licensing all exhibiters of shows
   or performances of any kind, not prohibited by law, hawkers, peddlers, auctioneers of horses and
   other animals on the highways or public grounds of the corporation, venders [sic] of gun powder
   and other explosives, taverns and houses of public entertainment, and hucksters in the public
   streets or markets, and in granting such license, may extract and receive such sum of money as it
   may think reasonable[.]

   1900 Ohio Laws 730, An Act to Provide a License on Trades, Business and Professions Carried
   on..., §§24-25.
   § 24. All keepers or owners of gun powder magazines shall pay a license fee of one hundred
   dollars ($100) per annum, and shall notify the chief of the fire department, in writing, of the
   place where the same is kept or stored; but no license shall be issued under this section without
   the consent of the mayor. § 25. All keepers of shooting galleries shall pay a license fee of fifty
   dollars ($50) per annum, or for a less period of one year at a rate of ten dollars ($10) per month,
   no license to be issued for a less period than one month.

   1902 Ohio Laws 23, Extraordinary Sess., An Act to Provide for the Organization of Cities and
   Incorporated Villages ... and to Repeal All Sections of the Revised Statutes Inconsistent
   Herewith, § 7, pt. 11.
   To regulate the transportation, keeping and sale of gunpowder and other explosives or dangerous
   combustibles and materials and to provide or license magazines for the same.

   1933 Ohio Laws 189-90, Reg. Sess., An Act... Relative to the Sale and Possession of Machine
   Guns, § 1.
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   That § 12819 of the General Code be supplemented ... to read as follows: Definitions. § 12819-
   3. For the purpose of this act, a machine gun, a light machine gun or a sub-machine gun shall be
   defined as any firearm which shoots automatically, or any firearm which shoots more than
   eighteen shots semi-automatically without reloading. Automatically as above used means that
   class of firearms which, while the trigger on the firearm is held back continues to fire successive
   shots. Semi-automatically means that class of firearm which discharges one shot only each time
   the trigger is pulled, no manual reloading operation being necessary between shots. Machine gun
   permit; application; bond or applicant; exceptions. § 12819-4. No person shall own, possess,
   transport, have custody of or use a machine gun, light machine gun or sub-machine gun, unless
   he first procures a permit therefor from and at the direction of the adjutant general of Ohio, who
   shall keep a complete record of each permit so issued. A separate permit shall be obtained for
   each gun so owned, possessed or used. The adjutant general shall require each applicant for such
   permit to give an accurate description of such weapon, the name of the person from whom it was
   or is to be obtained, the name of the person or persons to have custody thereof and the place of
   residence of the applicant and custodian. Before obtaining such permit each applicant shall give
   bond to the state of Ohio, to be approved by the adjutant general in the sum of five thousand
   dollars, conditioned to save the public harmless by reason of any unlawful use of such weapon
   while under the control of such applicant or under the control of another with his consent; and
   any person injured by such improper use may have recourse on said bond. Provided, however,
   that this section shall not affect the right of the national guard of Ohio, sheriffs, regularly
   appointed police officers of incorporated cities and villages, regularly elected constables,
   wardens and guards of penitentiaries, jails, prisons, penal institutions or financial institutions
   maintaining their own police force and such special officers as are now or may be hereafter
   authorized by law to possess and use such weapons when on duty. Any person who owns,
   possesses or has custody of a machine gun, light machine gun or sub-machine gun at the time
   when this section shall become effective, shall have thirty days thereafter in which to comply
   with the provisions of this section. Penalty for possession, transportation, etc., without permit. §
   12819-5. Whoever owns, possesses, transports or has custody of or uses a machine gun, light
   machine gun or sub-machine gun without a permit, as provided by section 12819-4 of the
   General Code, or whoever having such permit, uses or consents to the use by another of such
   weapon in an unlawful manner, shall be guilty of a felony and upon conviction thereof, shall be
   imprisoned in the penitentiary not less than one nor more than ten years. [War trophies
   excepted].

   OKLAHOMA

   General Laws Relating to Incorporated Towns of Indian Territory Page 43, Image 39 (1890)
   available at The Making of Modem Law: Primary Sources. 1890
   Revised Ordinances of the Town of Checotah, [An Ordinance Requiring Persons Engaged in
   Certain Businesses or Avocations to Procure a License for so Doing and Providing of Penalty for
   Failure so to do, § 1. That the licenses hereinafter named shall be fixed, imposed and collected at
   the following rates and sums, and it shall be unlawful for any person or persons to exercise or
   pursue any of the following avocations or businesses within the corporate limits of Checotah
   without having first obtained a license therefor from the proper authority, having paid for the
   same in lawful money of the united States as hereinafter provided,] 29th. Pistol or shooting
   Gallery - For each and every pistol and shooting gallery, per month, five dollars.
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   OREGON

   Charter of the City of Portland, Street and Fire Department Laws, Ordinances, Regulations &C.
   Page 205-206, Image 206-207 (1872) available at The Making of Modem Law: Primary Sources.
   1868
   [Concerning Offences and Disorderly Conduct, § 2. That any person or persons who shall fire
   any pistol, gun or rifle, or any other species of fire-arms within the following limits: the
   Willamette river on the east and (10) Tenth Street on the west, Caruther’s Addition on the south
   nd F Street on Couch’s Addition on the north, shall on conviction thereof before the Recorder, be
   subject to a penalty of not less than five nor more than fifty dollars, or imprisonment, at the
   discretion of the Recorder, not exceeding twenty days. Provided that the Marshal shall permit
   upon the national holidays and other days of public celebration, any appropriate display of fire­
   arms and other instruments named in this section.]

   Charter of the City of Portland, Street and Fire Department Laws, Ordinances, Regulations &C.
   Page 225-227, Image 226-228 (1872) available at The Making of Modem Law: Primary Sources.
   1872
   Ordinances of the City of Portland, To Regulate the Storage and Sale of Gunpowder, and Other
   Explosive Materials, § 1. No person shall keep for sale any gunpowder in any building, store or
   place in the City of Portland, without having first obtained a license therefor. § 2. The license for
   selling gunpowder shall be five dollars per quarter, to be issued as other licenses are issued under
   the provisions of Ordinance 984, entitled “An Ordinance to impose and regulate licenses in the
   City of Portland.” § 3. No person shall receive, keep or store, or aid or assist any person in
   receiving, keeping or storing gunpowder in a larger quantity than five pounds, in or into any
   building, or upon any premises, unless the person receiving, keeping or storing the same is duly
   licensed to sell gunpowder. § 4. No person or persons duly authorized to sell gunpowder, as
   hereinbefore provided, shall keep, store, or have in any one place more than twenty five pounds
   of powder, which shall be kept in any air-tight metallic vessel marked with the word
   “Gunpowder,” in plain Roman letters, not less than three inches in height, and of proportionate
   width, which vessel shall be placed or kept at all times, conspicuously in view near the entrance
   of the premises where kept, and convenient for removal therefrom. § 5. Upon the front of every
   building or premises where powder is kept in a conspicuous place a sign with the word
   “gunpowder” painted thereon in Roman letters, not less than three inches in height. § 6. No
   person shall convey, cause to be conveyed, or assist in conveying in any vehicle and gunpowder,
   unless the same shall be securely packed in close packages, nor unless such packages shall be
   securely covered while on the vehicle. § 7. No vessel shall be allowed to remain at any wharf
   more than twenty-four hours with gunpowder on board, except such as may be kept for ship’s
   use, and if such vessel shall be at the wharf overnight, a watchman shall be kept on duty on
   board all night. All gunpowder landed or placed on a wharf, sidewalk, street or public way for
   forwarding or shipment shall be forwarded or shipped immediately after it shall be so landed or
   placed. § 8. The provisions of this Ordinance shall be deemed to apply to “giant powder” “gun
   cotton” or any other explosive substance having an explosive power equal to that of ordinary
   gunpowder. § 9. Any person or persons violating any of the provisions of this ordinance, shall be
   deemed guilty of a misdemeanor, and on conviction before the Police Judge, shall be fined not
   less than ten nor more than one hundred dollars, or by imprisonment in the city jail not less than
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   two nor more than twenty days, or both, at the discretion of the Police Judge. § 10. The officers
   of the Fire Department and Police are directed to see that the provisions of this Ordinance are
   enforced, and to make complaint before the Police Judge for the violation of its provisions.

   J.C. Moreland, Charter and Ordinances of the City of Portland and Table of Grades: Together
   with the Rules of Order, Reports of officers, etc. Page 207, Image 212 (1879) available at The
   Making of Modem Law: Primary Sources. 1879
   Ordinances [of the City of Portland], Concerning Offenses and Disorderly Conduct, § 2. The
   City of Portland does ordain as follows... That any person or persons who shall fire any pistol,
   gun or rifle, or any other species of fire-arms, within the corporate limits of the city, shall, on
   conviction thereof before the Police Court, be fined not less than five dollars nor more than fifty
   dollars: Provided, That all circumstances of necessity may be plead as a defense to the offense
   described in this section; and, provided further, that the Chief of Police may permit upon the
   national holidays and other days of public celebration any appropriate display of firearms named
   in this section.

   The Charter of Oregon City, Oregon, Together with the Ordinances and Rules of Order Page
   259, Image 261 (1898) available at The Making of Modem Law: Primary Sources.
   Carrying Weapons | Oregon | 1898
   An Ordinance Providing for the Punishment of Disorderly Persons, and Keepers and Owners of
   Disorderly Houses, § 2.
   It shall be unlawful for any person to carry any sling shot, billy, dirk, pistol or any concealed
   deadly weapon or to discharge any firearms, air gun, sparrow gun, flipper or bean shooter within
   the corporate limits of the city, unless in self-defense, in protection of property or an officer in
   the discharge of his duty; provided, however, permission may be granted by the mayor to any
   person to carry a pistol or revolver when upon proper representation it appears to him necessary
   or prudent to grant such permission.

   1913 Or. Laws 497
   Section 1. It shall be unlawful for any person, firm or corporation to display for sale at retail any
   pocket pistol or revolver or to sell at retail, barter, give away or dispose of the same to any
   person whomsoever, excepting a policeman, member of the militia or peace officer of the State
   of Oregon, unless the purchaser or person attempting to procure the same shall have a permit for
   the purpose of procuring such pocket pistol or revolver signed by the municipal judge or city
   recorder of the city or county judge or a justice of the peace of the county wherein such person
   resides.
   Section 2. Provided, that no judge, city recorder or justice of the peace shall issue such permit
   until said applicant has furnished him with an affidavit from at least two reputable freeholders as
   to the applicant’s good moral character.
   Section 3. All persons, firms or corporations engaged in the retail sale of pocket pistols or
   revolvers shall keep a record of the sale of such pocket pistols or revolvers by registering the
   name of the person or persons and the number of the pocket pistol or revolver and shall transmit
   same to the sheriff of the county in which purchase is made on the 1st and 15th day of each
   calendar month.
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   1917 Or. Sess. Laws 804-808, An Act Prohibiting the manufacture, sale, possession, carrying, or
   use of any blackjack, slungshot, billy, sandclub, sandbag, metal knuckles, dirk, dagger or stiletto,
   and regulating the carrying and sale of certain firearms, and defining the duties of certain
   executive officers, and providing penalties for violation of the provisions of this Act, § 9.
   Section 1. No person shall carry in any city, town, or municipal corporation of this State any
   pistol, revolver or other firearm concealed upon his or her person, or of a size which may be
   concealed upon his or her person, without a license or permit therefor, issued to him or her by a
   chief of police or sheriff of such city, town or municipal corporation, or in such manner as may
   be prescribed by ordinance of such city, town or municipal corporation. This section, however,
   shall not apply to sheriffs and their deputies, constables, marshals, police officers or any other
   duly appointed peace officers, nor to any person or persons summoned by such officers to assist
   in making arrest or preserving the peace while said person or persons are engaged in assisting
   such officers; nor to duly authorized military organizations when parading, nor to members
   thereof when going to and from places of meeting of their respective organizations.
   Section 3-A. Any person who violates the provisions of Section 1, Section 2, or Section 3 of this
   Act, shall be fined in a sum no greater than $100.00, or be imprisoned in the county jail for a
   term no longer than three months, or by both such fine and imprisonment.
   Section 4. Any person who violates the provisions of Section 1, Section 2 or Section 3 of this
   Act, who theretofore has once been convicted of a violation of any of said sections, is guilty of a
   misdemeanor, and upon conviction thereof shall be imprisoned in a county jail or reformatory for
   not less than thirty days nor for more than one year.
   Section 4-A. Any person who violates the provisions of Section 1, Section 2 or Section 3 of this
   Act, who theretofore has more than once been convicted of a violation of any of said sections, is
   guilty of a felony, and shall be punished by imprisonment in the State prison for a term not
   exceeding three years.
   Section 4-B. Any person who violates any of the provisions of Section 1, Section 2 or Section 3
   of this Act, who theretofore has been convicted of a felony, upon conviction thereof shall be
   imprisoned in the penitentiary of this State for a period not exceeding five years.
   Section 4-C. For the purposes of this Act any pistol, revolver, or other firearm of a size which
   may be concealed upon his or her person shall be deemed a dangerous weapon.
   Section 9. It shall be lawful for the sheriff of any county, chief of police, city or town marshal, or
   other head of the police department of any city, town or other municipal corporation of this State,
   upon proof before him that the person applying therefor is of good moral character, and that
   proper cause exists for the issuance thereof, to issue to such person a license for one year, to have
   and carry concealed a pistol, revolver or other firearm; provided, however, that no such license
   shall be issued to any person under the age of twenty-one years.
   The person obtaining a permit to carry a concealed pistol or revolver shall pay to the officer
   issuing such permit the sum of One Dollar. Said license for carrying a concealed pistol or
   revolver is revocable at any time and must be immediately surrendered on demand. The license
   while in force entitles the holder to carry the said arm in any county in the State of Oregon.

   1925 Or. Laws 468,469-471
   Section 5. Except as otherwise provided in this act, it shall be unlawful for any person within this
   state to carry concealed upon his person or within any vehicle which is under his control or
   direction any pistol, revolver or other firearm capable of being concealed upon the person
   without having a license to carry such firearm, as hereinafter provided in section 8 hereof. Any
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   person who violates the provisions of this section shall be guilty of a misdemeanor, and if he has
   been convicted previously of any felony, or of any crime made punishable by this act, he is
   guilty of a felony. This section shall not be construed to prohibit any citizen of the United States,
   over the age of eighteen years, who resides or is temporarily sojourning within this state, and
   who is not within the excepted classes prescribed by section 2 hereof, from owning, possessing
   or keeping within his place of residence or place of business any pistol, revolver or other firearm
   capable of being concealed upon the person, and no permit or license to purchase, own, possess
   or keep any such firearm at his place of residence or place of business shall be required of any
   such citizen. Firearms carried openly in belt holsters shall not be deemed to be concealed within
   the meaning of this section.

   PENNSYLVANIA

   Charter To William Penn, And Laws Of The Province Of Pennsylvania, Passed Between The
   Years 1682 And 1700 Page 32, Image 37 (1879) available at The Making of Modem Law:
   Primary Sources. 1676
   Laws of the Duke of York, Indians (1676). No person shall sell give or barter directly or
   indirectly any gun or guns powder, bullet, shot, lead nor any vessel of burthen, or row boat
   canoes only excepted without license first had and obtained under the Governor’s hand and Seal,
   to any Indian whatsoever, nor to any person inhabiting out of this government nor shall amend or
   repair any gun belonging to any Indian, nor shall sell any armor or weapons, upon penalty of ten
   pounds for every gun, armor, weapons, vessel or boat, so sold given or bartered, five pounds for
   every pound of shot or lead and proportionally for any greater or lesser quantity.

   Pennsylvania Archives. Selected And Arranged From Original Documents In The Office Of The
   Secretary Of The Commonwealth, Conformably To Acts Of The General Assembly, February
   15,1851, & March 1, 1852 Page 160, Image 162 (1852) available at The Making of Modem
   Law: Primary Sources. 1713
   Pennsylvania Archives 1713, The Act for the Better Government of the City of Philadelphia
   (1713), This Act inflicts 5 s penalty on persons riding a gallop and 10s for persons trotting, with
   Drays or their Teams in the streets, and 5th for suffering a Dog or a Bitch going at large; or firing
   a Gun without license, or if a Negro be found in any disorderly practices or other Misbehaviors
   may be whipped 21 lashes for any one offence or committed to prison, which words “other
   misbehaviors,” are very uncertain and give very arbitrary power where the punishment is great.
   [(Summary of Statute from Archive compilation)].

   Act of 26th August 1721. 1721
   [An Act of 9th of Febmary, 1750-51, § 1. If any person or persons whatsoever, within any
   county, town or within any other town or borough in this province, already built and settled, or
   hereafter to be built and settled , not hitherto restricted nor provided for by our laws, shall set on
   fire their chimneys to cleanse them, or shall suffer them or any of them to take fire, and blaze out
   at the top, or shall fire any gun or other fire arm, or shall make or cause to be made, or sell or
   utter, or offer to expose to sale, and squibs, rockets, or other fire works, or shall cast, throw or
   fire any squibs, rockets, or other fire works within any of the said towns or boroughs without the
   governor’s special license for the same, every such person or persons so offending shall be
   subject to the like penalties and forfeitures, and be recovered in like manner, as in and by an act,
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   passed in the eighth year of the reign of king George the first, entitled ‘An act for preventing
   accidents that may happen by fire are directed to be levied and recovered.]

   John C. Lowber, Ordinances of the Corporation of the City of Philadelphia; to Which are
   Prefixed, the Original Charter, the Act of Incorporation, and Other Acts of Assembly Relating to
   the City; with an Appendix, Containing the Regulation of the Bank of the River Delaware, the
   Portraiture of the City, as Originally Laid Out by the Proprietor, &c. &c. Page 15-16, Image 18-
   19 (1812) available at The Making of Modem Law: Primary Sources. 1721
   [An Act for Preventing Accidents that may Happen by Fire, § IV. And whereas much mischief
   may happen by shooting of guns, throwing casting and firing of squibs, serpents, rockets, and
   other fire-works, within the city of Philadelphia, if not speedily prevented: Be it therefore
   enacted, That if any person or persons, of what sex, age, degree or quality soever, from and after
   publication hereof, shall fire any gun or other fire-arms, or shall make, or cause to be made, or
   sell or utter, or offer to expose to sale, any squibs, rockets or other fire works, or shall cast, throw
   or or fire, any squibs, rockets, or other fire works, within the city of Philadelphia, without the
   governor’s special license for the same, of which license due notice shall first be given to the
   mayor of the said city, such person or persons so offending, and being thereof convicted before
   any one justice of the peace of the said city, either by confession of the party so offending, or by
   the view of any of the said justices, or by the oath or affirmation of one or more witnesses, shall
   for every such offence forfeit and pay the sum of five shillings; one half to the use of the poor of
   the said city, and the other half to the use of him or them who shall prosecute, and cause such
   offender to be as aforesaid convicted; which forfeitures shall be levied by distress and sale of the
   offenders goods as aforesaid; and for want of such distress, if the offender refuse to pay the said
   forfeiture, he shall be committed to prison, for every such offence the space of two days without
   bail or main-prize; Provided, that such conviction be made within ten days after such offence
   committed [ and if such offender be a negro or Indian slave, he shall instead of imprisonment be
   publically whipped, at the discretion of the magistrate.]

   1750 Pa. Laws 208, An Act For The More Effectual Preventing Accidents Which May Happen
   By Fire, And For Suppressing Idleness, Drunkenness, And Other Debaucheries
   That if any persons or persons whatsoever, within any county town, or within any other town or
   borough, in this province, already built and settled, or hereafter to be built and settled ... shall
   fire any gun or other fire-arm, or shall make or cause to be made, or sell or utter, or offer or
   expose for sale, any squibs, rockets or other fire-works,... within any of the said towns or
   boroughs without the Governor’s special license for the same, every such person or persons, so
   offending shall be subject to the like penalties and forfeitures, and to be recovered in like
   manner, as in and by an act, passed in the eighth year of the reign of King George the first,
   entitled. An act for preventing accidents that may happen by fire, are directed to be levied and
   recovered.

   Ordinances of the Corporation of the District of Southwark and the Acts of Assembly Relating
   Thereto Page 49, Image 47 (1829) available at The Making of Modem Law: Primary Sources.
   1750
   [Ordinances of the District of Southwark,] An Act for the More Effectual Preventing [of]
   Accidents, etc. § 1. Be it enacted, That if any person shall fire any gun or other fire-arm, or shall
   make, or cause to be made, or sell or utter, or offer to expose to sale, any squibs, rockets or other
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   fire-works, or shall cast, throw or fire any squibs, rockets or other fire-works, within any of the
   said towns or boroughs, without the Governor’s special license for the same, every such person
   or persons, so offending, shall be subject to the like penalties and forfeitures, and to be recovered
   in like manner, as in and by an act, passed in the eighth year of the reign of King George the
   first, entitled, “ An Act for Preventing Accidents, Etc

   1763 Pa. Laws 319, An Act to Prohibit the Selling of Guns, Gunpowder or Other Warlike Stores
   to the Indians, § 1.
   If any person or persons whatsoever shall directly or indirectly give to, sell barter or exchange
   with any Indian or Indians whatsoever any guns, gunpowder, shot, bullets, lead or other warlike
   stores without license ... every such person or persons so offending, being thereof legally
   convicted ... shall forfeit and pay the sum of five hundred pounds ... and shall be whipped with
   thirty-nine lashes on his bare back, well laid on, and be committed to the common gaol(jail) of
   the county, there to remain twelve months without bail or mainprise.

   An Act of Incorporation for that Part of the Northern Liberties, Lying between the Middle of
   Sixth Street and the River Delaware, and between Vine Street and Cohocksink Creek, with
   Ordinances for the Improvement of the Same Page 51, Image 52 (1824) available at The Making
   of Modem Law: Primary Sources. 1824
   [An Ordinance for the Suppression of Nuisance, and for the regulation of drivers of carriages and
   horses, in and through the streets, lanes and alleys, within the incorporated part of the township
   of the Northern Liberties, and for enforcing useful regulations therein.] § 8. And be it further
   ordained and enacted by the authority aforesaid, That no person or persons shall fire, or
   discharge any cannon, or piece of artillery, or small arms, or prove any pistol, gun, musket
   barrels, or cannon, or illuminate, or cause to be illuminated, any house within the regulated parts,
   incorporated as aforesaid, in said township, without permission from the president of the board
   of commissioners, under the penalty of forfeiting and paying for every piece of cannon or other
   artillery, or small arms, or pistol, gun, or musket barrel so fired, or house so illuminated, the sum
   of two dollars.

   1903 Pa. Laws 178, An Act Requiring non-resident hunters, and unnaturalized, foreign bom,
   resident-hunters, to procure a license before hunting in the Commonwealth ... §§ 1 and 2
   § 1.... every non-resident and every unnaturalized foreign-bom resident of this Commonwealth
   shall be required to take out a license from the treasurer of the county in which he proposes to
   hunt... § 2. Possession of a gun, in the fields or in the forests or on the waters of this
   Commonwealth, by an unnaturalized, foreign-born resident or a non-resident of this
   Commonwealth, without having first secured the license required by this act, shall be prima facie
   evidence of a violation of its provisions; and any person so offending shall be liable to a penalty
   of twenty-five dollars for each offense...

   1929 Pa. Laws 777, An Act prohibiting the sale, giving away, transfer, purchasing, owning,
   possession and use of machine guns: §§1 and 2
   § 1. Be it enacted, etc., That the term “machine gun” as used in this act, shall mean any firearm
   that fires two or more shots consecutively at a single function of the trigger or firing device. § 2.
   It shall be unlawful for any person, copartnership, association or corporation to sell, or give, or
   transfer, any machine gun to any person, copartnership, association or corporation within this
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   Commonwealth; and it shall be unlawful for any person, copartnership, association, or
   corporation to purchase, own or have in possession any machine gun. Any person violating any
   of the provisions of this section shall be guilty of a felony, and, on conviction thereof, shall be
   sentenced to pay a fine not exceeding one thousand dollars, and undergo imprisonment by
   separate or solitary confinement at labor not exceeding five years. § 3. Any person who shall
   commit, or attempt to commit, any crime within this Commonwealth, when armed with a
   machine gun, shall, upon conviction of such crime or attempt to commit such crime, in addition
   to the punishment for the crime for which he has been convicted, be sentenced to separate and
   solitary confinement at labor for a term not exceeding ten years. Such additional penalty of
   imprisonment shall commence upon the expiration or termination of the sentence imposed for
   the crime of which he stands convicted, and shall not run concurrently with such sentence. § 4.
   Nothing contained in this act shall prohibit the manufacture for, and sale of, machine guns to the
   military forces of the United States, or of the Commonwealth of Pennsylvania, or to any police
   department of this Commonwealth, or of any political subdivision thereof, nor to the purchase or
   possession of machine guns by such governments and departments; and nothing contained in this
   act shall prohibit any organization, branch, camp or post of veterans, or any veteran of any war in
   which the United States was engaged, from owning and possessing a machine gun as a relic, if a
   permit for such ownership or possession has been obtained from the sheriff of the county, which
   permit is at all times attached to such machine gun. The sheriffs of the several counties are
   hereby authorized, upon application and the payment of a fee of one dollar, to issue permits for
   the ownership and possession of machine guns by veteran and organizations, branches, camps or
   posts of veterans and organizations, branches, camps or posts of veterans, upon production to the
   sheriff of such evidence as he may require that the organization, branch, camp or post is a bona
   fide organization of veterans, or that any such veteran applicant is a veteran of good moral
   character and reputation, and that the ownership and possession of such machine gun is actually
   desired as a relic.

   1931 PA. Laws 498, No. 158
   Sec. 4. No person who has been convicted in this Commonwealth or elsewhere of a crime of
   violence shall own a firearm, or have one in his possession or under his control.
   Sec. 5. No person shall carry a firearm in any vehicle or concealed on or about his person, except
   in his place of abode or fixed place of business, without a license therefor as hereinafter
   provided.

   RHODE ISLAND

   The Charter and Ordinances of the City of Providence, Together with the Acts of the General
   Assembly Relating to the City Page 89-96, Image 89-96 (1854) Available at The Making of
   Modem Law: Primary Sources. 1821
   An Act Regulating the Storage, Safe Keeping and Transportation of Gunpowder in the Town of
   Providence, (1821) § 2. And be it further enacted, That is shall not be lawful for any person or
   persons to sell any gunpowder which may at the time be within the town of Providence in any
   quantity, by wholesale or retail, without first having obtained from the town council of said town
   a license to sell gunpowder; and every such license shall be written or printed, and signed by the
   president of said council or their clerk, on a paper upon which shall be written or printed a copy
   of this act; and every such license shall be in force for one year from the date thereof, unless
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   annulled by said council, and no longer; but such license may, prior to the expiration of that time,
   be renewed, by endorsement thereon, for a further term of one year, and so from year to year:
   provided, always, that the said town council may annul any such license, if in their opinion the
   person or persons licensed have forfeited the right of using the same by any violation of the law
   relative thereto; and every person who shall receive a license as aforesaid shall pay therefor the
   sum of five dollars, and on having the same renewed shall pay therefor the sum of one dollar,
   which shall be paid to the clerk of said council, for their use, for the purpose of defraying the
   expense of carrying this act into execution. § 3. And be it further enacted, That any person or
   persons who shall keep, have, possess or transport any gunpowder within the town of
   Providence, contrary to the provisions of this act, or who shall sell any gunpowder therein,
   without having a license therefor, then in force, shall forfeit and pay a fine of not less than
   twenty dollars, and not exceeding five hundred dollars, for each and every offence; and if any
   gunpowder kept contrary to the provisions of this act shall explode in any shop, store, dwelling-
   house, ware-house or other building, or in any place in said town, the occupant, tenant or owner
   of which has not a license in force to keep and sell gunpowder therein, or which gunpowder shall
   have been kept in a manner contrary to the terms and conditions of such license, such occupant
   tenant or owner shall forfeit and pay a fine of not less than twenty dollars nor more than five
   hundred dollars... § 6. And be it further enacted, That the said firewards, or any of them, may
   enter the store or place of any person or persons licensed to sell gunpowder, to examine and
   ascertain whether the laws relating thereto are strictly observed; and also whenever there may be
   an alarm or fire; and in such last case may cause the powder there deposited to be removed to a
   place of safety, or to be destroyed by wetting or otherwise, as the exigency of the case may
   require; and it shall be lawful for any one or more of the firewards aforesaid to enter any
   dwelling house, store, building or other place in said town to search for gunpowder which they
   may have reason to suspect to be concealed or unlawfully kept therein; first having obtained
   from some justice of the peace of said town a search warrant therefor; which warrant any one of
   the justices of said town is hereby respectively authorized to issue, upon the complaint of such
   fireward or firewards, supported by his or their oath or affirmation... And be it further enacted.
   That all persons who wish have a license to keep and sell gunpowder within the town shall make
   application to the town council in writing, stating the place of business and whether they wish to
   sell by wholesale or retail, or both; and to each person or firm who may be approbated, a
   certificate of license shall be granted, on payment of the fee established by law. § 14. And be it
   further enacted. That every person or firm who may be licensed to sell gunpowder by retail, shall
   be allowed to keep in the place or building designated in the license, twenty-five pounds of
   gunpowder, and no more, at one time, which shall always be kept in tin or copper canisters,
   capable of containing no more than twelve and a half pounds each with a small aperture at the
   top, and a tin or copper cover thereto. § 15. And be it further enacted. That every person or firm
   who may be licensed to sell gunpowder by wholesale, shall provide and keep a tine or copper
   chest, with two handles and a tight cover, furnished with a hinge, and secured with a padlock, all
   of tin or copper chest, with two handles and a tight cover furnished with a hinge and secured
   padlock, all of tin or copper; such chest shall always be kept on the lower floor, on the right side
   of and close to the principal door or entrance from the street into the building so licensed, except
   when otherwise designated by the council and shall always be kept locked, except when powder
   is put in or taken out; and such person or firm, so licensed shall be allowed to deposit and keep,
   in such tin or copper chest, a quantity of gunpowder not exceeding four casks of twenty-five
   pounds each; the heads of each cask not to be opened, and each cask to be kept in a strong
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   leather bag, closely tied and marked as aforesaid. § 16. And be it further enacted, that every
   person or firm licensed to keep and sell gunpowder as aforesaid, by wholesale or retail, shall
   have and keep a signboard placed over the door or building in which such powder is kept, on
   which shall be painted in Roman capitals the words “Licensed to sell Gunpowder”

   1902 R.I. Pub. Laws 67, An Act in addition to chapter 40 of the General Laws, Entitled “Of the
   Town Council”: § 1.
   Town councils and city councils may from time to time make and ordain all ordinances and
   regulations for their respective towns, not repugnant to law, which they may deem necessary for
   the safety of their inhabitants from the manufacture, storage, keeping, having in possession,
   transportation, sale, or use of gunpowder, gun-cotton, dynamite, nitro-glycerine, nitro-gelatine,
   lyddite, chlorate of potash, picric acid, sodium calcium carbide, acetylene gas, gasoline gas, and
   any and all other explosives and explosive chemicals; and may prohibit the manufacture, storage,
   keeping having in possession, transportation , sale , or use by any and all persons or persons of
   any or all said substances and gases in their respective towns, unless a license for the same shall
   be first obtained from the town council or board of aldermen, which license shall be for the term
   of one years from the date thereof unless sooner revoked by order of said town council or board
   of aldermen. Any person violating any provision of any such ordinance or regulation, or any
   such prohibition, shall be fined not less than twenty dollars nor more than one hundred dollars
   for each such offense.

   1907 R.I. Pub. Laws 66, An Act for the Protection of Deer
   § 1. It shall be unlawful to pursue or shoot deer in this state except in accordance with the
   provisions of this act. § 2. Any person owning or occupying any farm or orchard and any person
   in his employ may, while on his own premises or the premises of his employer, kill any deer
   which shall be found destroying any crops, vegatables, or fruit trees belonging to such person or
   his employer: Provided, however, that no such person shall shoot any deer unless he has obtained
   from the secretary of state a permit so to do; and the secretary of state shall, upon application,
   issue to any responsible land owner, or his employees, a permit authorizing such person to shoot
   deer in accordance with the provisions of this section. No person shall pursue or shoot any deer
   except with a shot gun, or employ any missile larger than buck shot. § 3. Any person violating
   the provisions of this act shall be fined not less than one hundred dollars nor more than five
   hundred dollars for each offence.

   1927 (January Session) R.I. Pub. Laws 256, An Act to Regulate the Possession of Firearms: § §
   1, 4, 5 and 6
   § 1. When used in this act the following words and phrases shall be construed as follows:
   “Pistol” shall include any pistol or revolver, and any shot gun, rifle or similar weapon with
   overall less than twenty-six inches, but shall not include any pistol without a magazine or any
   pistol or revolver designed for the use of blank cartridges only, “machine gun” shall include any
   weapon which shoots automatically and any weapon which shoots more than twelve shots semi-
   automatically without reloading. “Firearm shall include any machine gun or pistol... “Crime of
   violence” shall mean and include any of the following crimes or any attempt to commit any of
   the same, viz.: murder, manslaughter, rape, mayhem, assault or battery involving grave bodily
   injury, robbery, burglary, and breaking and entering. “Sell” shall include let or hire, give, lend
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   and transfer, and the word “purchase” shall include hire, accept and borrow, and the expression
   “purchasing” shall be construed accordingly.
   § 2. If any person shall commit or attempt to commit a crime of violence when armed with or
   having available any firearm, he may in addition to the punishment provided for such crime of
   violence be punished as provided in this act. In the trial of a person for committing or attempting
   to commit a crime of violence the fact that he was armed with or had available a pistol without
   license to carry the same, or was armed with or had available a machine gun, shall be prima facie
   evidence of his intention to commit said crime of violence.
   § 4. No person shall, without a license therefor, issued as provided in section six hereof, carry a
   pistol in any vehicle or concealed on or about his person, except in his dwelling house or place of
   business or on land possessed by him, and no person shall manufacture, sell, purchase or possess
   a machine gun except as otherwise provided in this act. § 5. The provisions of section four shall
   not apply to sheriffs, deputy sheriffs, the superintendent and members of the state police, prison
   or jail wardens or their deputies, members of the city or town police force or other duly
   appointed law enforcement officers, nor to members of the army, navy or marine corps of the
   United States, or of the national guard, when on duty, or of organizations by law authorized to
   purchase or receive firearms from the United States or this state, nor to officers or employees of
   the United States authorized by law to carry a concealed firearm, nor to duly authorized military
   organizations when on duty, nor to members thereof when at or going to or from their customary
   places of assembly, nor to the regular and ordinary transportation of pistols as merchandise, nor
   to any person while carrying a pistol unloaded in a wrapper from the place of purchase to his
   home or place of business, or to a place of repair or back to his home or place of business, or in
   moving goods from one place or abode or business to another. § 6. The licensing authorities of
   any city or town shall upon application of any person having a bona fide residence or place of
   business within such city or town, or of any person having a bona fide residence or place of
   business within the United States and a license to carry a pistol concealed upon his person issued
   by the authorities of any other state or subdivision of the United States, issue a license to such
   person to carry concealed upon his person a pistol within this state for not more than one years
   from date of issue, if it appears the applicant has good reason to fear an injury to his person or
   property or has any other proper reason for carrying a pistol, and that he is a suitable person to be
   so licensed. The license shall be in triplicate, in form to be prescribed by the attorney-general and
   shall bear the fingerpring, name, address, description and signature of the licensee and the reason
   given for desiring a license. The original thereof shall be delivered to the licensee, the duplicate
   shall within seven days be sent to the attorney-general and the triplicate shall be preserved for six
   years by the licensing authorities issuing said license. A fee of two dollars may be charged and
   shall be paid for each license, to the officer issuing the same. Before issuing any such permit the
   applicant for the same shall be required to give bond to the city or town treasurer in the penal
   sum of three hundred dollars, with surety satisfactory to the authority issuing such permit, to
   keep the peace and be of good behavior. Every such permit shall be valid for one year from the
   date when issued unless sooner revoked. The fee charged for the issuing of such license or
   permit shall be applied in accordance with the provisions of section thirty-three of chapter 401 of
   the general laws.
   § 7. The attorney-general may issue a permit to any banking institution doing business in this
   state or to any public carrier who is engaged in the business of transporting mail, money,
   securities or other valuables, to possess and use machine guns under such regulations as the
   attorney general may prescribe.
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   § 8. It shall be unlawful within this state to manufacture, sell, purchase or possess except for
   military or police purposes, any muffler, silencer or device for deadening or muffling the sound
   of a firearm when discharged.

   SOUTH CAROLINA

    1731-43 S.C. Acts 168, § 23. 1740
   It shall not be lawful for any slave, unless in the presence of some white person, to carry or make
   use of firearms or any offensive weapon whatsoever, unless such negro or slave shall have a
   ticket or license in writing from his master, mistress or overseer, to hunt and kill game, cattle, or
   mischievous birds or beasts of prey, and that such license be renewed once every month, or
   unless there be some white person of the age of 16 or upwards, in the company of such slave
   when he is hunting or shooting; or that such slave be actually carrying his masters arms to or
   from his masters plantation, by a special ticket, for that purpose, or unless such slave be found in
   the day time actually keeping off rice birds, or other birds within the plantation to which such
    slave belongs, lodging the same gun at night within the dwelling house of his master, mistress or
   white overseer. And provided also that no negro or other slave shall have liberty to carry any
   guns, cutlass, pistol or other weapon abroad form at any time between Saturday evening after
   sunset and Monday morning before sunrise notwithstanding a license or ticket for so doing. And
   in case any person shall find any slave using or carrying fire-arms, or other offensive weapons,
   contrary to the true intention of this act; every such person may lawfully seize and take away
   such fire-arms or offensive weapons; but before the property of such goods shall be vested in the
   person who shall seize the same, such person shall, within 48 hours next after such seizure, go
   before the next justice of the peace, and shall make oath of the manner of the taking; and if such
   justice of the peace after such oath shall be made, or upon any other examination, he shall be
   satisfied, that the said fire-arms or other offensive weapons, shall have been seized according to
   the directions and agreeable to the true intent and meaning of this act, the said justice shall, by
   certificate under his hand and seal, declare them forfeited, and that the property is lawfully
   vested in the person who seized the same. Provided that no such certificate shall be granted by
   any justice of the peace until the owner or owners of such fire-arms or other offenisve weapons
   so to be seized as aforesaid, or the overseer or overseers who shall or may have the charge of
   such slave or slaves from, whom such fire-arms or other offensive weapons shall be taken or
   seized shall be duly summoned, to show cause (if any such they have) why the same should not
   be condemned as forfeited; or until 48 hours after the service of such summons and oath made of
   the service thereof before the said justice.

   Alexander Edwards, Ordinances of the City Council of Charleston, in the State of South-
   Carolina, Passed since the Incorporation of the City, Collected and Revised Pursuant to a
   Resolution of the Council Page 289, Image 299 (1802) available at The Making of Modem Law:
   Primary Sources. 1802
   [Ordinances of the City of Charleston, An Ordinance for Appointing Commissioners of the
   Streets, Defining their Powers, and for other Purposes therein Mentioned, § 8. And be it further
   ordained by the authority aforesaid. That no person or persons, shall fire any squibs, crackers, or
   other fireworks, except at times of public rejoicing, and at such places as the intendant for the
   time being may permit, by license under his hand; nor bum any chips, shavings, or other
   combustible matters, in any of the streets, lanes, wharves, alleys, or open or enclosed lots of the
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   city, nor fire any gun, pistol, or fire arms, within the limits of the city, except on occasion of
   some military parade, and then by the order of some officer having the command, under the
   penalty of ten dollars, for every such offense; nor shall any person or persons, raise or fly any
   paper or other kite, within the said city, under the said penalty of ten dollars.]

   John E. Breazeale, The Revised Statutes of South Carolina, Containing the Code of Civil
   Procedure, and the Criminal Statutes. Also The Constitutions of the United States and of the
   State, and the Rules of the Supreme and of the Circuit Courts of the State Page 431, Image 529
   (Vol. 2,1894) available at The Making of Modem Law: Primary Sources. 1890
   Chapter XXVIII Violations of the License Laws by Insurance and Other Companies, Emigrant
   Agents, owners or shows, etc., Persons Selling Pistols, etc. §490. No person or corporation
   within the limits of this State shall sell or offer for sale any pistol, rifle, cartridge or pistol
   cartridge less than .45 caliber, or metal knuckles, without first obtaining a license from the
   county in which such person or corporation is doing business so to do. The County Board of
   Commissioners of the several Counties of this State are authorized to issue licenses in their
   respective Counties for the sale of pistols and pistol and rifle cartridges of less than .45 caliber,
   and metal knuckles, upon the payment to the County Treasurer by the person or corporation so
   applying for said license of the sum of twenty-five dollars annually; and any person who shall
   sell or offer for sale any pistol, or pistol or rifle cartridge of less than .45 caliber, or metal
   knuckles, without having obtained the license provided in this Section shall be deemed guilty of
   a misdemeanor, and on conviction shall be punished by a fine not exceeding five hundred
   dollars, or by imprisonment not exceeding one year, or both, at the discretion of the court.

   1893 S.C. Acts 426, An Act To Amend An Act Entitled “An Act To Provide For A License For
   The Sale Of Pistols Or Pistol Cartridges Within The Limits Of This State”, § 2
   ... That the County Commissioners of the Several Counties of the State be, and they are herby,
   authorized to issue licenses in their respective Counties for the sale of pistols and pistol
   cartridges upon the payment to County Treasurer by the person or corporation so applying for
   said licenses of the sum of twenty-five dollars annually.

   1923 S.C. Acts 19-20, License Tax on Ammunition — Candy — Admissions — Regulations to
   have force of law.
   That every person, firm or corporation doing business within the State of South Carolina and
   engaging in the business of selling at retail or in any individual instance selling to the final
   consumer, such articles as are named in this section, for the privilege of carrying on such
   business, shall be subject to the payment of a license tax which shall be measured by and
   graduated in accordance with the volume of sales of such person, firm or corporation as follows:
   (a) There shall be levied, assessed, collected and paid upon all ammunition, including shells for
   shotguns and cartridges for rifles, pistols, revolvers, automatic pistols, rifles and machine guns,
   and upon such shells and cartridges partially prepared for use but lacking powder or shot or other
   necessary constituent, and upon blank shells and cartridges (but not upon powder or shot or caps
   not prepared and not in form to use in modem firearms), when sold at retail or to the ultimate
   consumer, the following: Upon all shotgun or other shells, two ($2.00) dollars per thousand
   rounds; Upon all cartridges, twenty-five (25) caliber or greater, two ($2.00) dollars per thousand
   rounds, (b) The license taxes imposed upon ammunition shall be paid by stamps to be affixed
   and cancelled by the retailer or other final seller, and said stamps shall be affixed to the smallest
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   container in which or from which articles are sold, as soon as the original packages are opened or
   broken, or if received in no other form than that in which sold, as soon as the containers are
   placed in the place of business of the retailer; in the case of articles inteneded for sale in the
   packages in which received from outside the State of South Carolina without opening or
   alteration of any sort, each package must be immediately marked with the date of receipt and the
   place from which received and no stamps need be affixed so long as such package remains
   unopened and unaltered.

   1934 S.C. Acts 1288, An Act regulating the use and possession of Machine Guns: §§ 1 to 6.
   § 1. “Machine gun” defined. - Be it enacted by the General Assembly of the State of South
   Carolina: For the purposes of this Act the word “machine gun” applies to and includes all
   firearms commonly known as machine rifles, machine guns and sub-machine guns of any caliber
   whatsoever, capable of automatically discharging more than eight cartridges successively
   without reloading, in which the ammunition is fed to such gun from or by means of clips, disks,
   belts or other separable mechanical device. § 2. Transportation of Machine Gun. - It shall be
   unlawful for any person or persons in any manner to transport from one place to another in this
   State, or from any railroad company, or express company, or other common carrier, or any
   officer, agent or employee of any of them, or any other person acting in their behalf knowingly
   to ship or to transport form one place to another in this State in any manner or by any means
   whatsoever, except as hereinafter provided, any firearm as described hereinabove or commonly
   known as a machine gun. § 3. Storing, Keeping, and/or Possessing Machine Gun. - It shall be
   unlawful for any person to store, keep, possess, or have in possession, or permit another to store,
   keep, possess, or have in possession, except as hereinafter provided, any firearem of the type
   defined above or commonly known as a machine gun. § 4. Selling, Renting or Giving away
   Machine Gun. - It shall be unlawful for any person to sell, rent, or give away, or be interested
   directly or indirectly, in the sale, renting or giving away, or otherwise disposing of any firearm of
   the type above described or commonly known as a machine gun. § 5. Exceptions - Register
   Machine Guns. - The provisions of this Act shall not apply to the army, navy or marine corps of
   the United States, the National Guard, and organizations authorized by law to purchase or
   received machine guns from the United States, or from this State, and the members of such
   corps. National Guard and organizations while on duty or at drill, may possess, carry and
   transport machine guns, and. Provided, further, That any peace officer of the State, counties or
   political sub-division thereof. State Constable, member of the Highway patrol, railway
   policemen, warden, superintendents, headkeeper or deputy of any State prison, penitentiary,
   workhouse, county jail, city jail, or other institution for detention of persons convicted or
   accused of crime, or held as witnesses in criminal cases, or persons on duty in the postal service
   of the United States, or common carrier while transporting direct to any police department,
   military or naval organization, or persons authorized by law to possess or use a machine gun,
   may possess machine guns when required in the performance of their duties, nor shall the
   provisions of this Act be construed to apply to machine guns kept for display as relics and which
   are rendered harmless and not useable. Within thirty days after the passage of this Act every
   person permiteed by this Act to possess a machine gun or immediately after any person is elected
   to or appointed to any office or position which entitles such person to possess a machine gun,
   shall file on the office of the Secretary of State on a blank to be supplied by the Secretary of
   State on application therefor, an application to be properly sworn to, which shall be approved by
   the Sheriff of the county in which the applicant resides or has its principal place of business,
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   which shall include the applicants name, residence and business address, description including
   sex, race, age weight, height, color of eyes, color of hair, whether or not ever charged or
   convicted of any crime, municipal. State or otherwise, and where, if so charged, and when same
   was disposed of. The applicant shall also give the description including the serial number and
   make the machine gun which he possesses or desires to possess. Thereupon the Secretary of
   State shall file such application in his office, registering such applicant togther with the
   information required in the application in a book or index to be kept for that purpose, and assign
   to him a number, an dissue to him a card which shall bear the signature of the applicant, and
   which he shall keep with him while he has such machine gun in his possession. Such
   registeration shall be made on the date application is received and filed iwth the Secretary of
   State, and shall expire on December 31, of the year in which said license is issued. § 6. Penalty -
   Any person violating any of the provisions of this Act shall be guilty of a felony, and, on
   conviction thereof shall be sentenced to pay a fine not exceeding One Thousand Dollars, and
   undergo imprisonment by separate or solitary confinement at labor not exceeding twenty (20)
   years.

   SOUTH DAKOTA

   1899 S.D. Sess. Laws 112, An Act For The Protection Of Game And The Appointment Of
   Wardens, And The Licensing Of Hunters And Prescribing Penalties For The Violation Of Its
   Provisions, pt. 3
   At any time kills or shoots any wild duck, goose or brant with any swivel gun or other gun,
   except as is commonly shot form the shoulder, or in hunting such birds makes us of any artificial
   light or battery...

   TENNESSEE

   William H. Bridges, Digest of the Charters and Ordinances of the City of Memphis, Together
   with the Acts of the Legislature Relating to the City, with an Appendix Page 148-149, Image
   149-150 (1863) available at The Making of Modern Law: Primary Sources. 1863
   [Ordinances of the City of Memphis, Shooting Galleries, § 1. That no person or persons shall set
   up or use any pistol gallery, or place for the discharging of pistols, guns or other firearms in the
   first story of any building in the city; nor shall any gallery be used in any manner involving risk
   or danger to any person in the city; nor shall any person setting up or using such pistol gallery be
   exempt from the ordinance and penalties now in force, for discharging or shooting any pistol,
   gun or firearms within the city limits, until such person or persons have applied and paid for
   license to set up and use such pistol gallery, according to the provisions of this ordinance. § 2.
   That the person or persons applying for license to keep such pistol gallery, shall, at the time of
   obtaining such license, enter into bond with good security, to be approved by the City Register,
   in the sum of three thousand dollars, payable as other city bonds, conditioned that no gambling
   of any kind be permitted in such pistol gallery, or in the room used for such pistol gallery, or any
   room adjacent thereto, under the control and connected with said pistol gallery, or its proprietors
   or keepers; and that all shooting or discharging of firearms shall be done only with the perfect
   security against any harm to persons or property in the vicinity of such pistol gallery; such
   penalty to be recoverable for every violation of this section of this ordinance, and of the
   conditions of said bond. § 3. That the proprietors or persons keeping such pistol gallery shall not
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   permit any minors to shoot in such gallery without the written consent of the lawful guardian of
   such minor, unless such guardian be personally present, and consenting to such shooting; nor
   shall the proprietors or keepers of such gallery permit any shooting in the same after eleven
   o’clock at night, or on Sunday, nor shall such shooting gallery be allowed to be kept open for
   shooting after eleven o’clock at night or on Sunday. Any violation of this ordinance is hereby
   declared a misdemeanor, and each offender, on conviction shall be fined in any sum not less than
   five nor more than fifty dollars for any violation of this ordinance, recoverable as other fines. § 4.
   Any person or persons shall before putting up or using such pistol or shooting gallery, first apply
   for, and obtain license, as other licenses are obtained, and shall pay for such license the sum of
   one hundred dollars per annum for each and every pistol or shooting gallery establishment under
   the provision of this ordinance. § 5. That the board of Mayor and Aldermen retain the power and
   right to, at any time, repeal this ordinance and revoke and recall any license to keep a pistol
   gallery, by refunding a pro rata part of the amount paid for any license then outstanding.]

   1879 Term. Pub. Acts 135-36, An Act to Prevent the Sale of Pistols, chap. 96, § 1.
   It shall be a misdemeanor for any person to sell, or offer to sell, or to bring into the State for the
   purpose of selling, giving away, or otherwise disposing of belt or pocket pistols, or revolvers, or
   any other kind of pistols, except army or navy pistol; Provided that this act shall not be enforced
   against any persons now having license to sell such articles until the expiration of such present
   license.

   TEXAS

   Charter and Revised Ordinances of the City of Galveston, and All Ordinances in Force to April
   2d, 1872 Page 94, Image 107 (1873) available at The Making of Modem Law: Primary Sources.
   1872
   [Ordinances of the City of Galveston, Taxes - License Tax and Ad-Valorem Tax,] Art. 418, §
   26. Every keeper of a billiard or other like table, for public use, a tax of twenty dollars for each
   and every table so kept; and every keeper of a tenpin alley, a tax of thirty dollars for each and
   every alley so kept for public use. Every keeper of a pistol or rifle gallery, a tax of twenty-five
   dollars.

   Revised Ordinances of the City of Fort Worth, Texas, 1873-1884 Page 64-65, Image 62-63
   (1885) available at The Making of Modem Law: Primary Sources. 1880
   Ordinances of the City of Fort Worth, An Ordinance prohibiting the shooting off, firing or
   discharging of Fire-arms; the firing, exploding or setting off of Squibs, Firecrackers, Torpedoes,
   Roman Candles, Sky-rockets or other things containing powder or other explosive matter, or the
   throwing of any fire balls, or making of any bon-fires in the corporate limits of the City of Fort
   Worth. Be it ordained by the City Council of the City of Fort Worth: § 1. It shall be unlawful for
   any person or persons to shoot off, fire, or discharge any gun, pistol, revolver or any firearm of
   any description, or to fire, explode or set off any squib, firecracker, torpedo, roman candle, sky­
   rocket, or other thing containing powder or other explosive matter, or to throw any fire-ball or
   make any bon-fire in the corporate limits of this city, and that any person or persons violating the
   provisions of this ordinance, shall be deemed guilty of a misdemeanor, and, on conviction
   thereof, shall be fined in any sum not less than one dollar nor more than one hundred dollars.
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   Provided that this shall not apply to any licensed shooting gallery nor to the shooting of dogs
   running at large in violation of the city ordinances

   The Laws of Texas 1822-1897. Austin’s Colonization Law and Contract; Mexican Constitution
   of 1824; Federal Colonization Law; Colonization Laws of Coahuila and Texas; Colonization
   Law of State of Tamaulipas; Fredonian Declaration of Indpendence; Laws and Decrees, with
   Constitution of Coahuila and Texas; San Felipe Convention; Journals of the Consultation;
   Proceedings of the General Council; Goliad Declaration of Independence; Journals of the
   Convention at Washington; Ordinances and Decrees of the Consultation; Declaration of
   Independence; Constitution of the Republic; Laws, General and Special, of the Republic;
   Annexation Resolution of the United States; Ratification of the Same by Texas; Constitution of
   the United States; Constitutions of the State of Texas, with All the Laws, General and Special,
   Passed Thereunder, Including Ordinances, Decrees, and Resolutions, with the Constitution of the
   Confederate States and the Reconstruction Acts of Congress Page 234-235, Image 734-735 (Vol.
   6, 1898) available at The Making of Modem Law: Primary Sources. 1898
   [An Act to Incorporate the Town of Round Top, County of Fayette,... Article Tenth. That from
   and after the passage of this act it shall be unlawful to fire any pistol, rifle, shot gun, or other
   kind of fire-arms, within the limits of the town of Round Top, and any person violating this act
   shall be guilty of a misdemeanor, and on conviction thereof shall be fined not less than five nor
   more than twenty-five dollars, to be collected by the mayor of the town; but this act shall not
   prevent any gunsmith, within the limits of the town, from discharging on the premises thereof,
   fire-arms made or repaired in his shop, for the purpose of training such fire-arms; provided, that
   none but gunsmiths shall have the privilege of being authorized to discharge fire-arms; and for
   that purpose each gunsmith shall build a rock wall, in front of which he shall cause a target to be
   placed. The mayor shall issue a permit to any gunsmith applying for the same, for the period of
   one year, which permit may be renewed after its expiration.]

   Revised Ordinances of the City of Victoria Texas Page 75, Image 77 (1899) available at The
   Making of Modem Law: Primary Sources. 1899
   [Ordinances of the City of Victoria,] Revised Penal Ordinances: Discharging Firearms, § 1. If
   any person shall discharge any gun, pistol or firearm of any description on or across any public
   square, street or alley, or elsewhere within the corporate limits of the City of Victoria, whether
   the premises on or across which such fire arm is discharged be public or private he shall be fined
   in any sum not to exceed ten dollars. § 2. Exceptions. The provisions of the foregoing section
   shall not be construed to apply to gunsmiths discharging fire arms brought to them for repairs, or
   to training guns or pistols of their own make, when done with the permission and at a place
   approved by the City Marshal; nor shall parties shooting in galleries licensed by the city come
   within the meaning of the preceding article. § 3. If any person shall discharge any gun, pistol or
   fire arm of any description as alarm for fire, or upon the discovery of any fire, or during the
   progress of any fire, he shall be fined in any sum not to exceed twenty-five dollars.

   1919 Tex. Gen. Laws 297-98, An Act to Preserve, Propagate, Distribute, and Protect the Wild
   Game, Wild Birds, Wild Fowl of the State ..., ch. 157, § 42.
   It shall be unlawful for any citizen of this State to hunt outside of the county of his residence
   with a gun without first having procured from the Game, Fish and Oyster Commissioner or one
   of his deputies or from the County Clerk of the County in which he resides a license to hunt, and
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   for which he shall pay to the officer from whom he secures such license the sum of two ($2.00)
   dollars... Any person hunting any game or birds protected by the laws of the State, and who
   shall refuse to show his license herein provided for to any sheriff... on demand shall be deemed
   guilty of a violation of the provisions of this law, and any person violating any of the provisions
   of this Section shall be deemed guilty of a misdemeanor, and upon conviction shall be fined in a
   sum of not less than ten (10.00) dollars nor more than one hundred (100.00) dollars.

   UTAH

   An Ordinance Prohibiting the Sale of Arms, Ammunition, or Spiritous Liquors to the Indians, in
   Acts, Resolutions and Memorials Passed at the Several Annual Sessions of the Legislative
   Assembly of the Territory of Utah 63 (Henry McEwan 1866). 1850
   “Sec. 1. Be it ordained by the General Assembly of the State of Deseret: That if any person shall
   hereafter trade or give any guns, rifles, pistols or any other deadly weapons, ammunition or
   spirituous liquors to any Indian, without having a license, he shall, on conviction thereof before
   any Justice of the Peace, he fined in a sum not exceeding one hundred dollars for each offense,
   and also forfeit all the property received from the Indian, which shall be sold and the proceeds
   thereof paid into the public treasury.”

   Revised Ordinances and Resolutions of the City Council of Salt Lake City, in the Territory of
   Utah, with Congressional and Territorial Laws on Townsites and Great Salt Lake City Charter,
   and Amendments Page 161-162, Image 196-197 (1875) available at The Making of Modem
   Law: Primary Sources. 1875
   Ordinances of Salt Lake City, Relating to Gunpowder, Gun Cotton and Nitro-Glycerine, § 1. Be
   it ordained, by the City Council of Salt Lake City, that it shall not be lawful for any person or
   persons to keep, sell or give away, gunpowder, gun-cotton, or nitro-glycerine, in any quantity
   without permission of the City Council; Provided, any person may keep, for his own use, not
   exceeding five pounds of gun powder, one pound of gun cotton, or one ounce of nitro-glycerine.
   § 2. All permits , when issued , shall be registered by the Recorder, and shall state the name and
   place of business, and date of permit, and the same shall not be granted for a longer time than
   one year; and no person to whom any permits may be issued, shall have or keep, at his place of
   business or elsewhere, within the city, (except in such places as may be approved by the City
   Council), a greater quantity of gunpowder or guncotton than twenty-five pounds, and the same
   shall be kept in tin canisters or cases, and nitro-glycerine not to exceed five ounces, and in a
   situation remote from fires lighted lamps or candles. Nor shall any person sell or weigh
   gunpowder, gun cotton, or nitro-glycerine, after the lighting of lamps or gas in the evening ,
   unless in sealed canisters or cases. It shall be the duty of every person to whom a permit shall be
   given to keep a sign at the front door of his place of business, with the word gunpowder painted
   or printed thereon in large letters. § 3. No person shall convey or carry any gunpowder exceeding
   one pound in quantity through any street or alley in the city, unless the said gunpowder is
   secured in tight cans, kegs or cases, sufficient to prevent the same from being spilled or scattered
   , and in no quantity exceeding one hundred pounds, except under the direction of a police officer.
   § 4. A violation of any clause of this ordinance shall subject the offender to a fine, for each
   offence, in any sum not exceeding one hundred dollars.
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   The Revised Ordinances of Salt Lake City, Utah, Chapter XXVI, Misdemeanors, p. 283 Sec. 14
   (1888)
   Dangerous and Concealed Weapons.
   SEC. 14. Any person who shall carry any slingshot, or any concealed deadly weapon, without
   the permission of the mayor first had and obtained, shall, upon conviction, be liable to a fine not
   exceeding fifty dollars.

   1905 Utah Laws 197, An Act for the Protection of Fish, Game, and Birds ..., ch. 118, § 30.
   It shall be unlawful for any non-resident person or for resident who is not a citizen of the United
   States to kill any game, animals, birds or fish in this State, without first having procured the
   license to do so hereinafter provided for. Any non-resident person or any resident who is not a
   citizen of the United States, upon the payment to the State Commissioner, of the sum of twenty-
   five dollars, shall be entitled to receive a license, from said commissioner, which will entitle him
   to hunt and kill game, animals, birds and fish, for the period of one year subject to all the laws of
   this State for the protection of fish and game.

   VERMONT

   Act of Incorporation and By-Laws of the Village of Bradford Page 14, Image 15 (1890 )
   available at The Making of Modem Law: Primary Sources. 1890
   [Ordinances of the Village of Bradford] By-laws, Miscellaneous, § 6. Any person who shall fire
   any cannon, swivel gun, pistol, torpedo, squib, cracker, or throw any fire ball, in any street, alley
   or lane, except by permission of the trustees, shall be fined five dollars.

   Act of Incorporation and By-Laws of the Village of Bradford. 1890 Page 12-13, Image 13-14
   (1891) available at The Making of Modem Law: Primary Sources.
   Ordinances of the Village of Bradford, §11. The Trustees may grant licenses, for one year or
   less, to keep gun powder or gun cotton or other explosives for sale, if in their opinion the public
   safety is not endangered thereby. Said gun powder or gun cotton or other explosive shall be kept
   in close tin canisters which shall only be opened in the day time. § 12. The license shall specify
   the quantity allowed and the place where such gun powder or gun cotton and other explosives
   shall be kept, and on every building in which such gunpowder or gun cotton or other explosives
   is kept for sale shall be placed in a conspicuous position a sign with the words, “Licensed to sell
   Powder,” printed or painted thereon. § 13. The Trustees may also grant licenses to store gun
   powder and other explosives in larger quantities in places used for no other purpose which they
   consider at a safe distance from other buildings. § 14. The Trustees may at any time inspect the
   premises where gun powder, gun cotton and other explosives are kept, in order to satisfy
   themselves that the regulations are complied with. § 15. Any person who shall without license
   keep in any building in the Village any nitro-glycerine, or more than half a pound of gun powder
   or two ounces of gun cotton, which shall be only for his own use, shall be fined five dollars for
   every day so offending. § 16. All licenses granted by the Trustees by virtue of these by-laws
   shall be signed by a majority of the Trustees and recorded in the office of the Clerk of the
   Corporation at the expense of the person licensed and shall not become valid until so recorded. §
   17. The Tmstees are authorized to revoke any license mentioned in these by-laws, whether
   granted by themselves or their predecessors in office, whenever in their opinion the public good
   requires it. Such revocation shall be recorded in the Clerk’s office, and shall become operative
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   whenever the Trustees shall deliver a written notice thereof to the person whose license is
   revoked.

   Act of Incorporation and By-Laws of the Village of Northfield Page 19-20, Image 19-20 (1894)
   available at The Making of Modem Law: Primary Sources. 1894
   Regulations for Handling Explosives, Artcle XV., § 1. No person shall at any time keep within
   the limits of said Village, any powder, or guncotton, without a written license, signed by a
   majority of the trustees, who shall have discretionary power to grant the same for retailing
   purposes ; not, however, exceeding twenty pounds shall be kept in any one building at a time,
   and that to be kept in close metal cans, or flasks, which are not to be opened except in the day
   time, Said license specify the building, or place where said powder or guncotton shall or may be
   kept, the quantity such person may keep, and shall be conditional that any Trustee may at any
   time make inspection of the quantity of powder or gun-cotton kept, and the manner of keeping
   the same; said license to be in force until revoked by a majority of the Tmstees. And it shall be
   the duty of the person or persons so licensed to procure said license to be recorded in the records
   of said Village, and to put up, in some conspicuous place on every building within the limits of
   the Village in which he has powder or guncotton stored, a sign with the words “LICENSED TO
   SELL GUNPOWDER.” Provided, that a majority of the Tmstees may grant license for storing or
   keeping larger quantities, and that any person may keep not over two pounds which shall be kept
   in a metallic flask or a powder horn. Article XVI. PENALTY FOR VIOLATION OF ABOVE
   ARTICLE. § 1. If any person shall keep, without a license therefore, or as provided in the XVth
   article, any powder, or gun cotton, or either of said articles, or shall keep either of said articles in
   any buildings or places except those mentioned in his license, he shall forfeit and pay to the
   treasurer of said Village Five dollars for each day said powder or guncotton shall be suffered to
   remain within the limits of said village.

   Quoted in Brief of Amicus Curiae Patrick J. Charles at App. 13, N.Y. State Rifle & Pistol Ass’n,
   v. City of New York (Ordinances of the City of Barre, Vermont). 1895
   CHAPTER 16, SEC. 18. No person, except on his own premises, or by the consent and
   permission of the owner or occupant of the premises, and except in the performance of some
   duty required by law, shall discharge any gun, pistol, or other fire arm loaded with ball or shot,
   or with powder only, or firecrackers, serpent, or other preparation whereof gunpowder or other
   explosive substance is an ingredient, or which consists wholly of the same, nor shall make any
   bonfire in or upon any street, lane, common or public place within the city, except by authority
   of the city council.
   CHAPTER 38, SEC. 7. No person shall carry within the city any steel or brass knuckles, pistol,
   slung shot, stilletto, or weapon of similar character, nor carry any weapon concealed on his
   person without permission of the mayor or chief of police in writing.

   1908 Vermont Session Laws 132, § 1.
   No person shall at any time hunt, shoot, pursue, take or kill any of the wild animals, wild fowl or
   birds of this state, nor use a gun for hunting the same, without having first procured a license
   therefor as hereinafter provided, and then only during the respective periods of the year when it
   shall be lawful, and subject to all the provisions of chapter 220 of the Public Statutes...

   VIRGINIA
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   Collection of All Such Acts of the General Assembly of Virginia, of a Public and Permanent
   Nature, as Are Now in Force; with a New and Complete Index. To Which are Prefixed the
   Declaration of Rights, and Constitution, or Form of Government Page 187, Image 195 (1803)
   available at The Making of Modem Law: Primary Sources. 1792
   [An Act to Reduce into one, the Several Acts Concerning Slaves, Free Negroes, and Mulattoes
   (1792),] § 8. No negro or mulatto whatsoever shall keep or carry any gun, powder, shot, club, or
   other weapon whatsoever, offensive or defensive, but all and every gun, weapon, and
   ammunition found in the possession or custody of any negro or mulatto, may be seized by any
   person, and upon due proof thereof made before any Justice of the Peace of the County or
   Corporation where such seizure shall be, shall by his order be forfeited to the seizor for his own
   use ; and moreover, every such offender shall have and receive by order of such Justice, any
   number of lashes not exceeding thirty-nine, on his or her bare back, well laid on, for every such
   offense. § 9. Provided, nevertheless, That every free negro or mulatto, being a house-keeper, may
   be permitted to keep one gun, powder and shot; and all negroes and mulattoes, bond or free,
   living at any frontier plantation, may be permitted to keep and use guns, powder, shot, and
   weapons offensive or defensive, by license from a Justice of Peace of the County wherein such
   plantation lies, to be obtained upon the application of free negroes or mulattoes, or of the owners
   of such as are slaves.

   1805 Va. Acts 51, An Act Concerning Free Negroes and Mulatoes
   That no free negro or mulato shall be suffered to keep or carry any firelock of any kind...
   without first obtaining a license from the court...

   1806 Va. Acts 51, ch. 94
   Required every “free negro or mulatto” to first obtain a license before carrying or keeping “any
   fire-lock of any kind, any military weapon, or any powder or lead.”

   The Charters and Ordinances of the City of Richmond, with the Declaration of Rights, and
   Constitution of Virginia Page 227, Image 274 (1859) available at The Making of Modem Law:
   Primary Sources. 1859
   [Ordinances of Richmond,] Nuisances Not in Streets, § 11. If any person shall sell, or expose for
   sale in this city, any torpedos, popcrackers, squibs, or other fire-works, of any kind whatever,
   except in packages containing each at least one hundred, or shall without permission in writing
   from the mayor, discharge, or set off, in any street or alley of the city, any balloon, rocket,
   torpedo, popcracker, fireworks or any combination of gunpowder, or any other combustible or
   dangerous material; or if any person shall, except under the fortieth section of the ordinance
   concerning streets, without necessity fire or discharge in this city any cannon, gun, pistol, or
   other fire-arms of any kind, or shall make therein any unusual noise, whereby the inhabitants
   thereof may be alarmed, or raise or fly a kite in this city, or if any auctioneer shall use any bell or
   herald to notify the public of any sale, except of real property, every such person herein
   offending, shall pay a fine of not less than one nor more than twenty dollars.

   1908 Va. Laws 381, An Act To Amend And Re-Enact Section 3780 Of The Code In Relation To
   Carrying Concealed Weapons, § 3780
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   If any person carry about his person, hid from common observation, any pistol, dirk, bowie
   knife, razor, slungshot, or any weapon of like kind he shall be fined not less than twenty dollars
   nor more than one hundred dollars, or be committed to jail not more than thirty days, or both, in
   the discretion of the court, or jury, trying the case: and such pistol, dirk, bowie knife, razor,
   slungshot, or any weapon of like kind, shall be forfeited to the Commonwealth and may be
   seized by an officer as forfeited. Upon conviction of the offender the said weapon shall be sold
   by the officer and the proceeds accounted for and paid over as provided in section twenty-one
   hundred and ninety; provided, that this section shall not apply to any police officer, town or city
   sergeant, constable, sheriff, conservator of the peace, collecting officer while in the discharge of
   his official duty: provided the judge of any circuit or hustings court in term time, upon a written
   application and satisfactory proof of the good character and necessity of the applicant to carry
   concealed weapon may grant such permission for one year; the order making same shall be
   entered in the order book of such court.

   1926 Va. Acts. 285-87, CHAP. 158-An ACT to improve a license tax on pistols and revolvers; to
   regulate the sale thereof and of ammunition therefor; and to provide that the proceeds of such tax
   shall be used for the establishment of a diseased and crippled children’s hospital, §§ 1-9.
   1. Be it enacted by the general assembly of Virginia, That it shall be the duty of every person
   residing in this State and owning a pistol or revolver therein, to pay on or before the first day of
   January of each year a license tax of one dollar on each pistol or revolver so owned, or in the
   event that such pistol or revolver shall be acquired by any such person on or after the first day of
   February, such license tax shall be forthwith paid thereon. The application for the license shall
   give the name of the owner, and the number, make and calibre [sic] of such pistol or revolver,
   which shall be set forth in the license. All pistol or revolver licenses shall run from the first day
   of January to the first day of the following January. Such license taxes shall be paid to the
   treasurer of the city or county whrein the said owner resides, and the said treasurer shall not
   receive more for handling the funds arising from the tax imposed by this act than he receives for
   handling other State funds. The treasurers shall not receive compensation for their services in
   issuing the license cards herein provided for. Upon payment of the tax provided for in this
   section the person paying the same shall be entitled to a license card therefor, showing the year
   for which the license is paid, the county or city issuing the card, the serial number of the license,
   and the number, calibre [sic], make and owner of the pistol or revolver. When the license card is
   issued the treasurer shall record the name of the owner of the pistol or revolver, and the number,
   calibre [sic] and make thereof with the number of the license, in a book prepared for the purpose.
   The license cards and book shall be furnished by the boards herein provided and shall be paid out
   of the funds derived from the pistol and revolver licenses. If any such card should be lost the
   owner of the card shall pay to the treasurer twenty-five cents for a duplicate card.
   2. It shall be the duty of every retailer selling a pistol or revolver in this State, at the time of such
   sale, to keep a record of the name and address of the purchaser and the number, make and calibre
   [sic] of the pistol or revolver, and to report once a month to the treasurer of his county or city the
   names of such purchasers, if any, together with the number, make and calibre [sic] of each pistol
   or revolver purchased; and all persons receiving or having in their possession a pistol or revolver
   for the purpose of repairing the same shall report to the treasurer of his county or city once a
   month giving the name and address of the owner and the calibre [sic], make and serial number of
   such pistol or revolver.
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   3. It shall be unlawful for any retailer in this State to sell ammunition for any pistol or revolver to
   any person unless the person desiring to make such purchase displays the license card for the
   current year provided for in this act.
   4. Any person violating any provision of this act or using a license card not issued to him, for the
   purpose of purchasing ammunition, or using a license card for the purchase of pistol or revolver
   ammunition unless the ammunition is intended to be used for the weapon mentioned in the
   license card shall be guilty of a misdemeanor, and upon conviction shall be fined not less than
   twenty-five nor more than fifty dollars, or sentenced to the State convict road force for not less
   than thirty or not more than sixty days, or both, in the discretion of the tribunal trying the case.
   5. The provisions of this act shall not apply to any officer authorized by law to carry a pistol or
   revolver nor to the pistol or revolver of such officer when such pistol or revolver is carried in
   discharge of his official duty, except that every officer shall list his pistol or revolver with the
   treasurer of his county or city annually by January first; nor to a pistol of an obsolete type kept as
   a souvenir, memento or relic, such as cap and ball type, etcetera, or souvenir used or captured by
   any person or relative in any war. But such pistol shall be registered as herein provided, upon
   satisfactory proof to the officer issuing such license that the pistol in question comes properly
   within this exception, in which case, no license tax shall be charged.
   6. The tax hereby imposed shall be in lieu of all other taxes on such pistols and revolvers; but
   nothing in this act shall be construed to apply to such weapons in the stocks of licensed
   wholesaler or retailers.
   7. All funds arising from pistol and revolver licenses, except as hereinbefore provided, shall be
   kept separate from other funds and shall be paid into the State treasury to establish a fund known
   as the diseased and crippled children’s hospital fund, which shall be used for the purpose of
   establishing and maintaining within the State at such place or places as may be selected by the
   board hereinafter provided for, a hospital or hospitals for the care, treatment and vocational
   training of diseased and crippled children resident in Virginia, or for any such rehabilitation
   work that the board may deem wise.
   Each treasurer shall between the first and fifteenth of July and between the first and fifteenth of
   January report to the auditor of public accounts collections, which he is required to make by this
   act, and shall at the same time pay into the State treasury the amount collected less the
   commissions which he is authorized to retain for collecting same as provided for in this act, and
   the auditor of public accounts shall keep said funds separate from other funds to be designated
   and known as “the diseased and cripple children’s hospital fund.”
   8. The adminsitration of the aid fund shall be under the direction of a board of seven physicians
   to be appointed by the governor.... [Description of board and its functions].
   9. The State treasurer shall make payments from the fund hereinabove created on warrants from
   the auditor of pulic accounts, issued on vouchers certified by the chairman of the board
   hereinabove created on authority of the board.

   WASHINGTON STATE

   1881 Wash. Sess. Laws 76, An Act to Confer a City Govt, on New Tacoma, ch. 6, § 34, pt. 15.
   [T]o regulate the transportation, storage and sale of gunpowder, giant powder, dynamite, nitro­
   glycerine, or other combustibles, and to provide or license magazines for the same, and to
   prevent by all possible and proper means, danger or risk of injury or damages by fire arising
   from carelessness, negligence or otherwise ... to regulate and prohibit the carrying of deadly
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   weapons in a concealed manner; to regulate and prohibit the use of guns, pistols and firearms,
   firecrackers, and detonation works of all descriptions[.]

   1881 Wash. Sess. Laws 93, An Act to Incorporate the City of Dayton, chap. 2, § 20.
   The city of Dayton shall have power to prevent injury or annoyance from anything dangerous,
   offensive, or unhealthy, and ... to regulate the transportation, storing and keeping of gunpowder
   and other combustibles and to provide or license magazines for the same[.]

   1881 Wash. Sess. Laws 121-22, An Act to Incorporate the City of Port Townsend, ch. 2, § 21.
   The City of Port Townsend has power to prevent injury or annoyance from anything dangerous,
   offensive, or unhealthy, and ... to regulate the transportation and keeping of gunpowder, or
   other combustibles, and to provide or license magazines for the same[.]

   1883 Wash. Sess. Laws 161, An Act to Incorporate the City of Ellensburgh, ch. 2, § 20.
   The city of Ellensburg shall have power to prevent injury or annoyance from anything
   dangerous, offensive, or unhealthy ... to regulate the transportation storing and keeping of
   gunpowder and other combustibles and to provide or license magazines for the same[.]

   Del Cary Smith, Ordinances of the City of Port Townsend, Washington, Comprising the General
   Ordinances of the City, Together with the Private Ordinances Now in Force Page 27, Image 28
   (1890) available at The Making of Modem Law: Primary Sources. 1890
   [Ordinances of Port Townsend, WA,] Division III, Offenses Against Public Safety, Convenience
   and Health, § 15. Whoever shall fire or discharge any cannon, gun, pistol revolver or any firearm
   of any description, or shall fire, or explode or set off any squib, firecracker, torpedo or other
   thing containing powder or other explosive material, without permission from the Mayor or
   common council so to do, within the city limits, shall, on conviction, be punished by a fine of not
   less than five nor more than twenty dollars; provided that such permission, when given, shall
   definitely limit the time of such firing, and may at any time be revoked. But nothing in this
   section shall prevent the ordinary and usual fireworks demonstration on National holidays;
   subject, however, to such regulation, control and orders as the City Marshal may deem proper to
   make for the protection of property from fire.

   Albert R Heilig, Ordinances of the City of Tacoma, Washington Page 334, Image 335 (1892)
   available at The Making of Modem Law: Primary Sources. 1892
   Ordinances of Tacoma, Defining Disorderly persons and Prescribing the Punishment for
   disorderly conduct within the city of Tacoma, § 1.... All persons (except police officers as
   aforesaid) who shall draw, exhibit or attempt to use any deadly weapon upon, to or against
   another person, in said city with intent to do bodily injury to such person; and All persons
   (except peace officers as aforesaid and persons practicing at target shooting in a shooting gallery
   duly licensed) who shall, within the city limits, fire off or discharge any gun, pistol or fire arm of
   any kind, or bomb, shall be deemed and are disorderly persons, and guilty of a misdemeanor.

   Rose M. Denny, ed., The Municipal Code of the City of Spokane, Washington (Spokane, WA;
   W.D. Knight, 1896), p. 309-10, Ordinance No. A544, Sec. 1. 1895
   ORDINANCE No. A544. AN ORDINANCE TO PUNISH THE CARRYING OF
   CONCEALED WEAPONS WITHIN THE CITY OF SPOKANE.
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   The City of Spokane does ordain as follows:
   SECTION I. If any person within the City of Spokane shall carry upon his person any concealed
   weapon, consisting of either a revolver, pistol or other fire-arms, or any knife (other than an
   ordinary pocket knife), or any dirk or dagger, sling-shot or metal knuckles, or any instrument by
   the use of which injury could be inflicted upon the person or property of any other person, shall
   be deemed guilty of a misdemeanor, and upon conviction thereof shall be fined not less than
   twenty dollars, nor more than one hundred dollars and costs of prosecution, and be imprisoned
   until such fine and costs are paid; provided, that this section shall not apply to police officers and
   other persons whose duty it is to execute process or warrants or make arrests, or persons having a
   special written permit from the Superior Court to carry weapons.
   SECTION 2. This ordinance shall take effect and be in force ten days after its passage.
   Passed the City Council January 2,1895.

   Rose M. Denny, The Municipal Code of the City of Spokane, Washington. Comprising the
   Ordinances of the City (Excepting Ordinances Establishing Street Grades) Revised to October
   22, 1896 Page 309-310, Image 315-316 (1896) available at The Making of Modem Law:
   Primary Sources. 1896
   Ordinances of Spokane, An Ordinance to Punish the Carrying of Concealed Weapons within the
   City of Spokane, § 1. If any person within the City of Spokane shall carry upon his person any
   concealed weapon, consisting of either a revolver, pistol or other fire-arms, or any knife (other
   than an ordinary pocket knife) or any dirk or dagger, sling-shot or metal knuckles, or any
   instrument by the use of which injury could be inflicted upon the person or property of any other
   person, shall be deemed guilty of a misdemeanor, and upon conviction thereof shall be fined not
   less than twenty dollars, nor more than one hundred dollars and costs of prosecution, and be
   imprisoned until such fine and costs are paid; provided, that this section shall not apply to police
   officers and other persons whose duty is to execute process or warrants or make arrests, or
   persons having a special written permit from the Superior Court to carry weapons.

   1911 Wash. Sess. Laws 303, An Act Relating to the Carrying of Firearms, Requiring Licenses of
   Certain Persons, and Fixing a Penalty for the Violation Thereof, ch. 52, § 1.
   It shall be unlawful for any person who is not a citizen of the United States, or who has not
   declared his intention to become a citizen of the United States, to carry or have in his possession
   at any time any shot gun, rifle or other firearm, without first having obtained a license from the
   state auditor, and said license is not to be issued by said state auditor except upon the certificate
   of the consul domiciled in the State of Washington and representing the country of such alien,
   that he is a responsible person and upon the payment for said license of the sum of fifteen dollars
   ($15.00)[.]

   WEST VIRGINIA

   J. Nelson Wisner, Ordinances and By-Laws of the Corporation of Martinsburg: Berkeley Co.,
   West Virginia, Including the Act of Incorporation and All Other Acts of a Special or General
   Nature Page 25, Image 25 (1875) available at The Making of Modem Law: Primary Sources.
   1875
   [Ordinances of Martinsburg, An Ordinance to Prevent Certain Improper Practices Therein
   Specified,] § 3. If any person shall fire or discharge within such parts of the town which are or
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   shall be laid out into lots, or within two hundred yards of said limits, any cannon, gun, pistol or
   fire-arms, or any cracker, squib, rocket or fire-works, except it be in case of necessity, or in the
   discharge of some public duty, or at a military parade by order of the officer in command, or
   with the permission of the Mayor or Council of the town, such person for every such offence
   shall forfeit any pay to the town not less than one nor more than five dollars.

   J. Nelson Wisner, Ordinances and By-Laws of the Corporation of Martinsburg: Berkeley Co.,
   West Virginia, Including the Act of Incorporation and All Other Acts of a Special or General
   Nature Page 76, Image 76 (1875) available at The Making of Modem Law: Primary Sources.
   1876
   [Ordinances of Martinsburg,] An Ordinance in Relation to Pistol Galleries, § 1. Be it ordained by
   the Council of the Corporation of Martinsburg, That no pistol gallery, in which air guns or
   pistols, or guns or pistols in which are fired powder, is used, shall be established or carried on
   within the limits of the Corporation of Martinsburg by any person or persons, until the person or
   persons desiring to establish or carry on the same shall first obtain from the Mayor, attested by
   the Clerk of the Corporation, a permit authorizing the person or persons therein named to
   prosecute said business, and designating the place at which the same is to be carried on. § 2. That
   the Mayor shall not issue the permit authorized by the first section of this ordinance, unless the
   building to be used for said pistol gallery, is so detached from adjacent or surrounding private
   dwellings, that the noise incident to the carrying on of said business, shall not render the said
   gallery a nuisance to the surrounding or adjacent dwellings. § 3. Any person or persons violating
   the provisions of this ordinance, shall be fined for the first offense, not less than two nor more
   than ten dollars, at the discretion of the Mayor, and for any subsequent offence, not less than two
   or more than thirty dollars, and commitment in the county jail not exceeding thirty days, either or
   both of said punishment, at the discretion of the Mayor.

   Laws and Ordinances for the Government of the City of Wheeling, West Virginia (Wheeling,
   WV: W. Va. Printing 1891), p.206. 1881
   An Ordinance in relation to offenses ...
   SEC. 14. It shall be unlawful for any person to carry any slung shot, colt, or knucklers of lead,
   brass or other metal or material, or to carry about his person, hid from common observation, any
   pistol, dirk, bowie knife, or weapon of the like kind, without a permit in writing from the mayor
   so to do. It shall also be unlawful for any person or persons to sell or give away to a person not
   of age, any slung shot, colt, or knuckler or knucklers of lead, brass or other metal or material, or
   any pistol, dirk, bowie knife or weapon of the like kind.

   1909 W.Va. Acts 479-80, An Act to Amend and Re-Enact Sections ... Relating to the Protection
   and Preservation of Certain Animals, Birds, and Fishes and of Forests and Streams, ch. 60, § 19.
   The carrying of any uncased gun in any of the fields or woods of this state, by any person not
   having the lawful right to hunt, pursue or kill game, birds or animals in such fields or woods
   shall, as to such person, other than the bona fide owner, or owners of such fields or woods, his or
   their child or children, tenant or tenants, lessee or lessees, be deemed prima facie evidence of a
   violation of this section; and any person claiming to hold a license to hunt in this state, having in
   his possession any gun or other hunting paraphernalia in such woods, or fields, shall, on failure
   to produce such license for inspection to any warden of this state or owner or agent of the owner
   of such woods and fields on demand, be deemed guilty of a misdemeanor and shall be punished
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   on conviction, as provided later in this section. Provided, however, that any resident owner, or
   owners, of farm lands, their resident child or children, or bona fide tenants, shall have the right to
   hunt, kill and pursue birds or game on such farm lands of which he, or they, are the bona fide
   owners or tenants, during the season when it is lawful to kill, catch or pursue birds or game,
   without securing such resident license; and provided, further, that the owners of adjoining lands
   may each have the privilege of reciprocating the non-licensed privilege, by giving each other
   written privilege to exchange hunting rights only, on land immediately joining each other, and
   upon which each party resides.

   1925 W.Va. Acts 25-30, 1st Extraordinary Sess., An Act to Amend and Re-Enact Section Seven
   ... Relating to Offenses Against the Peace; Providing for the Granting and Revoking of Licenses
   and Permits Respecting the Use, Transportation and Possession of Weapons and Fire Arms...,
   ch. 3, § 7, pt. a.
   Section 7 (a). If any person, without a state license therefor, carry about his person any revolver
   or other pistol, dirk, bowie-knife, slung shot, razor, billy, metallic or other false knuckles, or any
   other dangerous or deadly weapon of like kind or character, he shall be guilty of a misdemeanor
   and upon conviction thereof be confined in the county jail for a period of not less than six nor
   more than twelve months for the first offense; but upon conviction of the same person for the
   second offense in this state, he shall be guilty of a felony and be confined in the penitentiary not
   less than one or more than five years, and in either case fined not less than fifty nor more than
   two hundred dollars, in the discretion of the court; and it shall be the duty of the prosecuting
   attorney in all cases to ascertain whether or not the charge made by the grand jury is the first or
   second offense, and if it shall be the second offense, it shall be so stated in the indictment
   returned, and the prosecuting attorney shall introduce the record evidence before the trial court of
   said second offense, and shall not be permitted to use his discretion in charging said second
   offense nor in introducing evidence to prove the same on the trial; provided, that boys or girls
   under the age of eighteen years, upon the second conviction, may, at the discretion of the court,
   be sent to the industrial homes for boys and girls, respectively, of the state. Any person desiring
   to obtain a state license to carry any such weapon within one or more counties in this state shall
   first publish a notice in some newspaper, published in the county in which he resides, setting
   forth his name, residence and occupation, and that on a certain day he will apply to the circuit
   court of his county for such state license; and after the publication of such notice for at least ten
   days before said application is made and at the time stated in said notice upon application to said
   court, it may grant such person a license in the following manner, to-wit: The applicant shall file
   with said court his application in writing, duly verified, which said application shall show: First:
   That said applicant is a citizen of the United States of America. Second: That such applicant has
   been a bona fide resident of this state for at least one year next prior to the date of such
   application, and of the county sixty days next prior thereto. Third: That such applicant is over
   twenty-one years of age; that he is a person of good moral character, of temperate habits, not
   addicted to intoxication, and has not been convicted of a felony nor of any offense involving the
   use on his part of such weapon in an unlawful manner. Fourth: The purpose or purposes for
   which the applicant desires to carry such weapon and the necessity therefor and the county or
   counties in which said license is desired to be effective. Upon the hearing of such application the
   court shall hear evidence upon all matters stated in such application and upon any other matter
   deemed pertinent by the court, and if such court be satisfied from the proof that there is good
   reason and cause for such person to carry such weapon, and all of the other conditions of this act
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   be complied with, said circuit court or the judge thereof in vacation, may grant said license for
   such purposes, and no other, as said a circuit court may set out in the said license (and the word
   “court” as used in this act shall include the circuit judge thereof, acting in vacation); but before
   the said license shall be effective such person shall pay to the sheriff, and the court shall so
   certify in its order granting the license, the sum of twenty dollars, and shall also file a bond with
   the clerk of said court, in the penalty of three thousand five hundred dollars, with good security,
   signed by a responsible person or persons, or by some surety company, authorized to do business
   in this state, conditioned that such applicant will not carry such weapon except in accordance
   with his said application and as authorized by the court, and that he will pay all costs and
   damages accruing to any person by the accidental discharge or improper, negligent or illegal use
   of said weapon or weapons. Any such license granted after this act becomes effective shall be
   good for one year, unless sooner revoked, as hereinafter provided, and be co-extensive with the
   county in which granted, and such other county or counties as the court shall designate in the
   order granting such license; except that regularly appointed deputy sheriffs having license shall
   be permitted to carry such revolver or other weapons at any place, within the state, while in the
   performance of their duties as such deputy sheriffs and except that any such license granted to
   regularly appointed railway police shall be co-extensive with the state, and all license fees
   collected hereunder shall be paid by the sheriff and accounted for to the auditor as other license
   taxes are collected and paid, and the state tax commissioner shall prepare all suitable forms for
   licenses and bonds and certificates showing that such license has been granted and to do
   anything else in the premises to protect the state and see to the enforcement of this act. The clerk
   of the court shall immediately after license is granted as aforesaid, furnish the superintendent of
   the department of public safety a certified copy of the order of the court granting such license,
   for which service the clerk shall be paid a fee of two dollars which shall be taxed as cost in the
   proceeding; within thirty days after this act becomes effective it shall be the duty of the clerks of
   each court in this state having jurisdiction to issue pistol licenses to certify to the superintendent
   of the department of public safety a list of all such licenses issued in his county. Provided, that
   nothing herein shall prevent any person from carrying any such weapon, in good faith and not for
   a felonious purpose, upon his own premises, nor shall anything herein prevent a person from
   carrying any such weapon (unloaded) from the place of purchase to his home or place of
   residence, or to a place of repair and back to his home or residence; but nothing herein shall be
   construed to authorize any employee of any person, firm or corporation doing business in this
   state to carry on or about the premises of such employer any such pistol, or other weapon
   mentioned in this act for which a license is herein required, without having first obtained the
   license and given the bond as herein provided; and, provided, further, that nothing herein shall
   prevent agents, messengers and other employees of express companies doing business as
   common carriers, whose duties require such agents, messengers and other employees to have the
   care, custody or protection of money, valuables and other property for such express companies,
   from carrying any such weapon while actually engaged in such duties, or in doing anything
   reasonably incident to such duties; provided, such express company shall execute a continuing
   bond in the penalty of thirty thousand dollars, payable unto the state of West Virginia, and with
   security to be approved by the secretary of state of the state of West Virginia, conditioned that
   said express company will pay all damages, accruing to anyone by the accidental discharge or
   improper, negligent or illegal discharge or use of such weapon or weapons by such agent,
   messenger or other employee while actually engaged in such duties for such express company, in
   doing anything that is reasonably incident to such duties; but the amount which may be
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   recovered for breach of such condition shall not exceed the sum of three thousand five hundred
   dollars in any one case, and such bond shall be filed with and held by the said secretary of state,
   for the purpose aforesaid, but upon the trial of any cause for the recovery of damages upon said
   bond, the burden of proof shall be upon such express company to establish that such agent,
   messenger or other employee was not actually employed in such duties for such express
   company nor in doing anything that was reasonably incident to such duties at the time such
   damages were sustained; and, provided further, that nothing herein shall prevent railroad police
   officers duly appointed and qualified under authority of section thirty-one of chapter one
   hundred forty-five of Barnes’ code or duly qualified under the laws of any other state, from
   carrying any such weapon while actually engaged in their duties or in doing anything reasonably
   incident to such duties; provided, such railroad company shall execute a continuing bond in the
   penalty of ten thousand dollars payable unto the state of West Virginia and with security to be
   approved by the secretary of state of the state of West Virginia conditioned that said railroad
   company will pay all damages accruing to anyone by the accidental discharge or improper,
   negligent or illegal discharge or use of such weapon or weapons by such railroad special police
   officer whether appointed in this or some other state while actually engaged in such duties for
   such railroad company, in doing anything that is reasonably incident to such duties, but the
   amount which may be recovered for breach of such condition shall not exceed the sum of three
   thousand five hundred dollars in any one case, and such bond shall be filed with and held by the
   said secretary of state for the purpose aforesaid but upon the trial of any cause for the recovery of
   damages upon said bond, the burden of proof shall be upon such railroad company to establish
   that such raihoad police officer was not actually employed in such duties for such railroad
   company nor in doing anything that was reasonably incident to such duties at the time such
   damages were sustained; and provided, further, that in case of riot, public danger and emergency,
   a justice of the peace, or other person issuing a warrant, may authorize a special constable and
   his posse whose names shall be set forth in said warrant, to carry weapons for the purpose of
   executing a process, and a sheriff in such cases may authorize a deputy or posse to carry
   weapons, but the justice shall write in his docket the cause and reasons for such authority and the
   name of the person, or persons, so authorized, and index the same, and the sheriff or other officer
   shall write out and file with the clerk of the county court the reasons and causes for such
   authority and the name, or names of the persons so authorized, and the same shall always be
   open to public inspection, and such authority shall authorize such special constable, deputies and
   posses to carry weapons in good faith only for the specific purposes and times named in such
   authority, and upon the trial of every indictment the jury shall inquire into the good faith of the
   person attempting to defend such indictment under the authority granted by any such justice,
   sheriff or other officer, and any such person or persons so authorized shall be personally liable
   for the injury caused to any person by the negligent or unlawful use of any such weapon or
   weapons. It shall be the duty of all ministerial officers, consisting of the justices of the peace,
   notaries public and other conservators of the peace of this state, to report to the prosecuting
   attorney of the county the names of all persons guilty of violating this section, and any person
   willfully failing so to do, shall be guilty of a misdemeanor and shall be fined not exceeding two
   hundred dollars, and shall, moreover, be liable to removal from office for such willful failure;
   and it shall likewise be the duty of every person having knowledge of the violation of this act, to
   report the same to the prosecuting attorney, and to freely and fully give evidence concerning the
   same, and any one failing so to do, shall be guilty of a misdemeanor and upon conviction thereof
   shall be fined not exceeding one hundred dollars; provided, further, that nothing herein contained
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   shall be so construed as to prohibit sheriffs, their regularly appointed deputies, who actually
   collect taxes in each county, and all constables in their respective counties and districts, and all
   regularly appointed police officers of their respective cities, towns or villages, all jailors and
   game protectors who have been duly appointed as such, and members of the department of
   public safety of this state, from carrying such weapons as they are now authorized by law to
   carry, who shall have given bond in the penalty of not less than three thousand five hundred
   dollars, conditioned for the faithful performance of their respective duties, which said officers
   shall be liable upon their said official bond, for the damages done by the unlawful or careless use
   of any such weapon or weapons, whether such bond is so conditioned or not. It shall be unlawful
   for any person armed with a pistol, gun, or other dangerous or deadly weapon, whether licensed
   to carry same or not, to carry, expose, brandish, or use, such weapon in a way or manner to
   cause, or threaten, a breach of the peace. Any person violating this provision of this act shall be
   guilty of a misdemeanor, and upon conviction, shall be fined not less than fifty nor more than
   three hundred dollars or imprisoned in the county jail not less than thirty nor more than ninety
   days, or be punished by both fine and imprisonment in the discretion of the court. Any circuit
   court granting any such license to carry any of the weapons mentioned in this act, the governor,
   or the superintendent of the department of public safety, with the consent of the governor, may,
   for any cause deemed sufficient by said court, or by the governor or by the superintendent of the
   department of public safety with the approval of the governor aforesaid, as the case may be,
   revoke any such license to carry a pistol or other weapon mentioned in this act for which a
   license is required, and immediate notice of such revocation shall be given such licensee in
   person, by registered mail or in the same manner as provided by law for the service of other
   notices, and no person whose license has been so revoked shall be re-licensed within one year
   thereafter; provided, that the authority so revoking such license may, after a hearing, sooner
   reinstate such licensee.

   1925 W.Va. Acts 30-31, 1st Extraordinary Sess., An Act to Amend and Re-Enact Section Seven
   ... Relating to Offenses Against the Peace; Providing for the Granting and Revoking of Licenses
   and Permits Respecting the Use, Transportation and Possession of Weapons and Fire Arms ...,
   eh. 3, § 7, pt. b.
   (b) It shall be unlawful for any person to carry, transport, or have in his possession any machine
   gun, sub-machine gun, and what is commonly known as a high powered rifle, or any gun of a
   similar kind or character, or any ammunition therefor, except on his own premises or premises
   leased to him for a fixed term, until such person shall have first obtained a permit from the
   superintendent of the department of public safety of this state, and approved by the governor, or
   until a license therefore shall have been obtained from the circuit court as in the case of pistols
   and all such licenses together with the numbers identifying such rifle shall be certified to the
   superintendent of the department of public safety. Provided, further, that nothing herein shall
   prevent the use of rifles by bona fide rifle club members who are freeholders or tenants for a
   fixed term in this state at their usual or customary place of practice, or licensed hunters in the
   actual hunting of game animals. No such permit shall be granted by such superintendent except
   in cases of riot, public danger, and emergency, until such applicant shall have filed his written
   application with said superintendent of the department of public safety, in accordance with such
   rules and regulations as may from time to time be prescribed by such department of public safety
   relative thereto, which application shall be accompanied by a fee of two dollars to be used in
   defraying the expense of issuing such permit and said application shall contain the same
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   provisions as are required to be shown under the provisions of this act by applicants for pistol
   licenses, and shall be duly verified by such applicant, and at least one other reputable citizen of
   this state. Any such permit as granted under the provisions of this act may be revoked by the
   governor at his pleasure upon the revocation of any such permit the department of public safety
   shall immediately seize and take possession of any such machine gun, sub-machine gun, high
   powered rifle, or gun of similar kind and character, held by reason of said permit, and any and all
   ammunition therefor, and the said department of public safety shall also confiscate any such
   machine gun, sub-machine gun and what is commonly known as a high powered rifle, or any gun
   of similar kind and character and any and all ammunition therefor so owned, carried, transported
   or possessed contrary to the provisions of this act, and shall safely store and keep the same,
   subject to the order of the governor.

   1925 W.Va. Acts 31-32, 1st Extraordinary Sess., An Act to Amend and Re-Enact Section Seven
   ... Relating to Offenses Against the Peace ..., eh. 3, § 7, pt. b.
   It shall be unlawful for any person, firm or corporation to place or keep on public display to
   passersby on the streets, for rent or sale, any revolver, pistol, dirk, bowie knife, slung shot or
   other dangerous weapon of like kind or character or any machine gun, sub-machine gun or high
   powered rifle or any gun of similar kind or character, or any ammunition for the same. All
   dealers licensed to sell any of the forgoing arms or weapons shall take the name, address, age
   and general appearance of the purchaser, as well as the maker of the gun, manufacturer’s serial
   number and caliber, and report the same at once in writing to the superintendent of the
   department of public safety. It shall be unlawful for any person to sell, rent, give or lend any of
   the above mentioned arms to an unnaturalized person.

   WISCONSIN

   Charter and Ordinances of the City of La Crosse [WI], with the Rules of the Common Council
   Page 202, Image 205 (1888) available at The Making of Modem Law: Primary Sources. 1888
   An Ordinance in Relation to the Discharge of Firearms and firecrackers and to the use and
   exhibition of fireworks, § 1. No person shall fire or discharge any cannon, gun, fowling piece,
   pistol or firearms of any description, or fire, explode or set off any squib, cracker or other thing
   containing powder or other combustible or explosive material, or set off or exhibit any fireworks
   within the limits of the city of La Crosse, without having first obtained written permission from
   the mayor, which permission shall limit the time and fix the place of such firing, and shall be
   subject to be revoked at any time after the same may have been granted. Any violation of this
   ordinance shall subject the person or persons so violating the same to a fine of not less than one
   dollar nor exceeding twenty-five dollars; but this ordinance shall not be construed to prohibit the
   discharge of firearms by the chief of police or any of his subordinates or any peace officer when
   required or made necessary in the performance of any duty imposed by law.

   Charter and Ordinances of the City of La Crosse, with the Rules of the Common Council Page
   239-242, Image 242-245 (1888) available at The Making of Modem Law: Primary Sources.
   1888
   Ordinances of La Crosse, An Ordinance to Provide for Licensing Vendors of Gunpowder and
   Other Explosive Substances and to Regulate the Storing, Keeping and Conveying of all
   Dangerous and Explosive Materials and Substances within the City of La Crosse, and in relation
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   to the Storage and Sale of Lime Therein, § 1. It shall be unlawful for any person to keep for sale,
   sell or give away any gunpowder, giant powder, nitro-glycerine, gun-cotton, dynamite or any
   other explosive substance of like nature or use without having first obtained a license therefor
   from the city of La Crosse in the manner hereinafter provided. Any person convicted of a
   violation of this section shall be punished by a fine of twenty-five dollars for each offense... § 3.
   It shall be unlawful for any person licensed pursuant to the foregoing sections of this ordinance
   to have or keep at his or her place of business an amount of gunpowder or other explosive
   material greater in the aggregate than fifty pounds at any one time, or to keep the same in any
   other than cases or canisters made of tin, or other metal holding not to exceed ten pounds each.
   Such gunpowder or other explosive materials shall be kept in places remote from fires and
   lighted lamps or candles, and where the same may be easily accessible so as to be removed in
   case of fire. No person shall sell any gunpowder or other explosive material after the lighting of
   lamps in the evening unless in sealed canisters or cases; and all places where business is carried
   on under any such license shall have a sign put up in a conspicuous place at or near the front
   door thereof with the word “gunpowder” painted thereon in large letters. Any person violating
   any provision of this section shall, upon conviction, be punished by a fine of not less than five
   dollars nor more than fifty dollars for each offense; and upon any such conviction the common
   council may at its discretion by resolution duly passed revoke the license of the person so
   convicted. This ordinance shall not be construed as to prevent persons who are not vendors of the
   articles mentioned in the title thereof from keeping gunpowder in quantities not exceeding one
   pound for their own use.

   Charles H. Hamilton, ed., The General Ordinances of the City of Milwaukee to January 1,1896:
   With Amendments Thereto and an Appendix (Milwaukee, WI: E. Keough, 1896), pp.692-93,
   Sec. 25. 1896
   Chapter XX. Misdemeanors.
   Section 25. It shall be unlawful for any person except policemen, regular or special, or any
   officer authorized to serve process, to carry or wear concealed about his person, any pistol or
   colt, slung-shot, cross-knuckles, knuckles of lead, brass or other metal, or bowie -knife, dirk
   knife, or dirk or dagger, or any other dangerous or deadly weapon, within the limits of the city of
   Milwaukee; provided, however, that the chief of police of said city may upon any written
   application to him made, issue and give a written permit to any person residing within the city of
   Milwaukee, to carry within the said city a pistol or revolver when it is made to appear to said
   chief of police that it is necessary for the personal safety of such person or for the safety of his
   property or of the property with which he may be entrusted, to carry such weapon; and the
   holding of such permit by such person shall be a bar to prosecution under this ordinance. Said
   chief of police shall keep the names and residences of all persons to whom he may grant such
   permits, in a book to be kept for that purpose, and he shall have power to revoke such permit at
   any time.
   Said chief of police shall, upon granting each and every such permit, collect from the person to
   whom the same is granted, the sum of three ( 3 ) dollars, and he shall pay all moneys so collected
   by him upon granting such permits, into the city treasury.
   Any person who shall wear or carry any such pistol, slung-shot, cross-knuckles, knuckles of
   brass, lead or other metal, knife, dirk or dagger, or any other dangerous or deadly weapon, within
   the limits of the city of Milwaukee, contrary to the provisions of this chapter, shall be liable to a
   penalty of not less than ten nor more than one hundred dollars for each and every offense.
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   WYOMING

   A. McMicken, The Revised Ordinances of the City of Rawlins, Carbon County, Wyoming Page
   115-116, Image 116-117 (1893) available at The Making of Modem Law: Primary Sources.
   1893
   [Ordinances of the] City of Rawlins, Article II, Protection of Persons and Property, § 1. If any
   person shall within this city fire or discharge any cannon, gun, fowling piece, pistol or firearms
   of any description, or fire, explode, or set off any squib, cracker, or anything containing powder
   or other combustible or explosive material, without permission of the Board of Trustees, or the
   written permission of the mayor (which permission shall limit the time of the firing and shall be
   subject to be revoked by the mayor or Board of Trustees at any time after the same has been
   granted) every such person shall, on conviction, be fined in a sum of not less than five dollars
   and not exceeding one hundred dollars.

   1899 Wyo. Sess. Laws 32-33, An Act for the Better Protection of the Game and Fish of this State
   ..., ch. 19, § 14.
   Any person who is a bona fide citizen of the State of Wyoming shall, upon payment of one dollar
   to any Justice of the Peace of the county in which he resides, be entitled to receive from said
   Justice of the Peace, a gun license, which license shall permit such person to pursue, hunt and
   kill any of the animals mentioned in this Section, during the time allowed therefor.... Any
   person who is not a resident of the State of Wyoming, shall upon payment to any Justice of the
   Peace of this State of the sum of forty dollars to be entitled to receive from such Justice of the
   Peace a license, which license shall permit such person to pursue, hunt and kill any of the
   animals mentioned in this Section, during the time allowed therefor of the current year.

   1913 Wyo. Sess. Laws 165, An Act. . . Relating to the Duties of the State Game Warden,
   Assistant and Deputy Game Wardens, and the Preservation of the Game Animals and Game
   Birds and Fish of the State of Wyoming ..., ch. 121, § 38.
   That Section 20 ... be ... amended ... § 20. Any person who is not a bona fide elector of this
   state, or the child or legal ward of a bona fide elector of this state, or a soldier or sailor who is a
   bona fide elector of the United States, and has been stationed at a government post within this
   state for one year past, or non-residents having property in this state on which they pay taxes to
   the amount of $100.00 or over annually, but who shall be a citizen of the United States or a free­
   holder in this state, shall upon payment of five dollars to any Justice of the Peace ... be entitled
   to receive from such officer a gunner’s license, which license shall permit such person to kill any
   of the game birds of this state during the current season under the restrictions heretofore and
   hereinafter imposed.

   1915 Wyo. Sess. Laws 91, An Act Relating to the Preservation of the Game Animals, Game
   Birds, and Fish of the State of Wyoming ..., ch. 91, § 13.
   There is hereby created a special gun and fish license for aliens. No person, not a bona fide
   citizen of the United States, shall own or have in his possession, in the State of Wyoming, any
   gun, pistol or other firearm, or any fishing tackle, without first having obtained the specified
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   license therefor, which such special gun and fish license shall cost the owner the sum of Twenty-
   five Dollars[.]

   1933 Wyo. Sess. Laws 117, An Act Relating to the Registering and Recording of Certain Facts
   Concerning the Possession and Sale of Firearms by all Wholesalers, Retailers, Pawn Brokers,
   Dealers and Purchasers, Providing for the Inspection of Such Register, Making the Violation of
   the Provisions Hereof a Misdemeanor, and Providing a Penalty Therefor, ch. 101, §§ 1-4.
   § 1. All wholesalers, retailers, dealers and pawn brokers are hereby required to keep a record of
   all firearms which may come into their possession, whether new or second hand, which record
   shall be known as the Firearms Register. Such register shall contain the following information, to
   wit: the name of the manufacturer, person, persons, firm or corporation from whom the firearm
   was obtained, the date of its acquisition, its manufacturer’s number, its color, its caliber, whether
   the same is new or second hand, whether it is automatic, a revolver, a single shot pistol, a rifle, a
   shot gun or a machine gun, the name of the party to whom said firearm is sold in such purchasers
   handwriting and the date of such sale. § 2. Every person who purchases any firearm from any
   retailer, pawn broker or dealer, shall sign his name or make his mark properly witnessed, if he
   cannot write, on said Firearm Register, at the time of the delivery to him of any firearm so
   purchased. § 3. The firearm register, herein required to be kept, shall be prepared by every
   wholesaler, retailer, pawn broker and dealer in firearms in the state of Wyoming within 30 days
   after this Act shall become effective and shall thereafter be continued as herein provided. It shall
   be kept at the place of business of said wholesaler, retailer, pawn broker or dealer, and shall be
   subject to inspection by any peace officer at all reasonable times. § 4. Any person, firm or
   corporation who shall fail or refuse to comply with the provisions of this Act shall be deemed
   guilty of a misdemeanor and upon conviction thereof shall be fined in a sum not to exceed
   $100.00, or imprisoned in the County Jail for a period of not to exceed six months, or by both
   such fine and imprisonment.


   Source: https://firearmslaw.duke.edu/repository/search-the-repository/
